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                           EXHIBIT A

                    DOCUMENTS CONSIDERED
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Securities and Exchange Commission v. Mohammed Ali Rashid
Documents Considered
Exhibit A


I. Court Filings
Complaint, October 25, 2017 and exhibits
Civil Case Management Plan and Scheduling Order, January 24, 2018
Plaintiff's Rule 26(A)(1) Initial Disclosures, February 15, 2018
Defendant Mohammed Ali Rashid's Memorandum of Law in Support of his Motion to Dismiss the Complaint, March 7, 2018
Plaintiff Securities and Exchange Commission's Memorandum of Law in Opposition to Defendant Mohammed Ali Rashid's Motion to Dismiss the Complaint, April 2,
2018
Defendant Mohammed Ali Rashid's Answer and Affirmative Defenses, August 14, 2018
Defendant Mohammed Ali Rashid's Responses and Objections to Plaintiff Securities and Exchange Commission's First Set of Requests for Admission, August 22, 2018


II. Testimony and Exhibits
Transcript of Mohammed Ali Rashid, May 25, 2016 and exhibits
Deposition of Glen McGorty, Volume 1, October 30, 2018 and exhibits
Deposition of Erem Rashid, Volume 1, November 15, 2018 and exhibits
Deposition of Chirag Shah, Volume 1, November 16, 2018 and exhibits
Deposition of Chet Kapoor, December 14, 2018 and exhibits
Deposition of Joel Eric Lehnhoff, March 6, 2019 and exhibits
Deposition of Burke Stout, March 6, 2019 and exhibits
Deposition of Glen McGorty, March 11, 2019 and exhibits
Deposition of Daniel Zelenko, March 11, 2019 and exhibits
Deposition of Mohammed Ali Rashid - Volume I, March 19, 2019 and exhibits
Deposition of Mohammed Ali Rashid - Volume II, March 20, 2019 and exhibits
Deposition of Mohammed Ali Rashid - Volume III, March 21, 2019 and exhibits

III. Declarations
Declaration of Alexander E. Perriello, III
Declaration of Alicia Swift
Declaration of Anthony E. Hull
Declaration of Bruce Zipf
Declaration of David Martens
Declaration of Donald Casey
Declaration of Gary Enzor
Declaration of John Wilson
Declaration of Joseph Troy
Declaration of Keith Koci
Declaration of Kevin Kelleher
Declaration of Lourenco Goncalves
Declaration of Lorrel Margelowsky
Declaration of M. Ryan Gorman
Declaration of Marilyn J. Wasser
Declaration of Mark Bitting
Declaration of Melissa Ernst
Declaration of Michael Cooney
Declaration of Randall Strutz
Declaration of Richard Smith
Declaration of Robert Weinrich
Declaration of Robin Cohan
Declaration of Roger Krohn
Declaration of Seth Truwit
Declaration of Stephen Attwood
Declaration of William A. Smith II
Declaration of Paraag Marathe




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Securities and Exchange Commission v. Mohammed Ali Rashid
Documents Considered
Exhibit A



IV. Discovery Documents
            AR00000001              -         AR00000246
          RASHID0000002             -        RASHID0002675
         APOLLO00000272             -       APOLLO00000328
         APOLLO00000412             -       APOLLO00000517
         APOLLO00000630             -       APOLLO00000785
         APOLLO00001298             -       APOLLO00001317
         APOLLO00001684             -       APOLLO00001684
         APOLLO00001687             -       APOLLO00040013
         APOLLO00040015             -       APOLLO00108237
       BDO-Apollo-00000001          -      BDO-Apollo-00003371
            ECT0000001              -         ECT0003907
            QDI0000098              -         QDI0000760
      SEC-APOLLO-E-0000001          -    SEC-APOLLO-E-0000003
 SEC-INVESTIGATIVE-E-0000001        - SEC-INVESTIGATIVE-E-0000721
       SEC-TSWM-E-0000001           -     SEC-TSWM-E-0000818


V. Research and Other
Letter from Crowell Moring to United States Securities and Exchange Commission, April 25, 2016 (SEC-EXPERT-EPROD-000002679)
IRS Publication 463 - Travel, Gift, and Car Expenses
Association of Certified Fraud Examiners - 2017 Fraud Examiners Manual
Individual research on the Merchants found on Plaintiff’s Exhibit 19 – APOLLO00109357 and APOLLO000043571




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                           EXHIBIT B

                       CURRICULUM VITAE
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Kevin Pierce
Director
Transactional Dispute/Post-M&A and
Commercial Damages/Forensic Accounting Expert
                                         Kevin Pierce is a Director in the Dispute Consulting group. He has spent the
                                         last 12 years conducting forensic accounting, post-acquisition dispute,
                                         complex commercial litigation, intellectual property damages, and labor
                                         and employment engagements for trial lawyers, in-house counsel, and
                                         stakeholders in a wide variety of industries. Mr. Pierce has significant
                                         experience performing and managing various engagements involving
                                         complex contract analyses, risk assessments and related issues, and
                                         financial modeling. He has provided written testimony in many of these
                                         matters, as well as oral testimony in arbitration and court proceedings.
                                         Mr. Pierce has extensive experience in transaction/post-M&A disputes,
                                         including working capital, earnout, and breahces of representations and
Cleveland, OH USA
                                         warranties disputes. He has also advised on numerous representations and
Office: +1.216.373.2979
kpierce@stout.com                        warranties insurance claims, providing assistance on the evaluation of
                                         potential breaches and determination of the amount of loss, including
Education                                participation in mediation on multiple claims.
B.S., University of North Carolina
                                         Mr. Pierce has performed numerous complex financial analysis involving
Designations                             embezzlement and kickback schemes, false financial reporting, Ponzi
                                         schemes, and asset tracing, among others. Additionally, he has been
Certified Public Accountant (CPA)
                                         retained as expert and testified on behalf of the Securities and Exchange
Certified in Financial Forensics (CFF)
Certified Fraud Examiner (CFE)           Commission as well as by the Federal Public Defender’s Office in the
                                         Northern District of Ohio.
Practice Areas
                                         Prior to joining Stout, Mr. Pierce was a Senior Associate at The Siegfried
Complex Business Litigation              Group, LLP, a national consulting firm. Previous work experience also
Intellectual Property Disputes
                                         includes providing audit, review, compilation, internal control review and
Trade Secrets & Restrictive Covenants
Transaction Disputes                     remediation, and other accounting and consulting services at public
Investigations                           accounting firms in Ohio, Colorado, and South Carolina.

                                         Professional Memberships
Industry Focus
                                         •   American Institute of Certified Public Accountants
Business Services
Consumer, Retail, Food & Beverage        •   Association of Cerftified Fraud Examiners
Diversified Industrials                  •   Ohio Society of Certified Public Accountants




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Kevin Pierce
Director
Transactional Dispute/Post-M&A and
Commercial Damages/Forensic Accounting Expert

Testimony Experience: Testimony before Trier of Fact
Kohlberg Management VII, L.P., et al. vs. AIG Specialty Insurance, JAMS, 2018. On behalf of the Respondent,
issued an expert report and provided testimony at deposition and arbitration relating to claims on a
representations and warranties insurance policy arising from an alleged breach of an Agreement and Plan of
Merger.

TVL International LLC v. Zhejiang Shenghui Lighting Co., Ltd. and SengLED USA, Inc., American Arbitration
Association, 2018. On behalf of the Respondent, issued an expert report and provided testimony at arbitration
regarding damages relating to claims including theft of trade secrets, breach of a non-disclosure agreement, and
fraud, among others.

Let’s Go Aero, Inc., v. Cequent Performance Products, Inc., n/k/a Horizon Global Americas, American Arbitration
Association, 2018. On behalf of the Respondent, issued an expert report and provided testimony at arbitration
regarding damages relating to claims of theft of trade secrets, patent infringement (utility and design), copyright
infringement and trademark infringement.

The Matter of Stanley Jonathan Fortenberry, Respondent, United States of America before the Securities and
Exchange Commission, 2014. On behalf of the SEC in a matter involving the misuse of investor funds pursuant to
the Securities Act of 1933, the Securities Exchange Act of 1934, the Investment Advisers Act of 1940 and the
Investment Company Act of 1940.



Testimony Experience: Written Testimony
The Building Center, Inc. v. Carter Lumber, Inc. and Timothy Hurd, State Court of North Carolina, County of
Mecklenburg General Court of Justice, Superior Court Division. Issued an expert report on behalf of the
Defendants evaluating Plaintiff’s claims for damages in a theft of trade secrets matter in the building supply
industry, 2017.

Winona Diono Holdings, LLC v. Berger Family Trust U/A/D December 22, 2014 and Russ Berger, JAMS
Alternative Dispute Resolution. Issued an expert report on behalf of the Buyer pertaining to compliance with
Generally Accepted Accounting Principles as defined in a securities purchase agreement in a breach of
representations and warranties matter, 2017.

Virtela Technology Services Incorporated v. Andrew Funk, District Court for Denver County, Colorado. Issued
an expert report on behalf of Defendant evaluating Plaintiff’s claims for damages in a theft of trade secrets
matter in the telecommunications industry, 2016.

Designated as testifying expert and issued an expert report relating in a matter before the bankruptcy court
relating to disclosures in an individual’s Chapter 7 bankruptcy filings, 2016.

Designated as testifying expert and issued an expert report quantifying Plaintiff's damages associated with a
claim for delayed market entry arising from an alleged fraudulent inducement, 2016.




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Kevin Pierce
Director
Transactional Dispute/Post-M&A and
Commercial Damages/Forensic Accounting Expert

Securities and Exchange Commission v. Anthony C. Zufelt, et al., US District Court, District of Utah, Central
Division, 2016. Issued an expert report relating to the alleged misuse of investor funds pursuant to the Securities
Act of 1933 and the Securities Exchange Act of 1934.

United States of America v. Geoffrey W. Nehrenz, US District Court, Northern District of Ohio, Eastern Division,
2015. Issued multiple expert reports relating to investment losses incurred by a hedge fund and amounts
allegedly misappropriated by the hedge fund manager.

Forensic Investigation of a Construction Management and Aggregate Products Supplier, 2015. Issued an expert
report relating to the alleged embezzlement of the company’s funds by an office manager.

United States of America v. Robert Hartenstein, US District Court, Northern District of Ohio, Eastern Division,
2015. Designated as testifying expert and issued an expert report relating to the use of funds by the majority
owner of a company which was a third-party administrator for self-funded health care benefit plans.

United States of America v. Russell W. Spitz, U.S. District Court, Northern District of Ohio, Eastern Division,
2014. Issued an expert report relating to the use of funds borrowed by the defendant for the construction and
operation of an alternative energy plant.

Heritage Sportswear, Inc. v. Gerald T. Jurden, Franklin County, Ohio Court of Common Pleas, 2014.
Designated as testifying expert and issued an expert report in a post-acquisition dispute relating to the
presentation of the target company’s financial statements in accordance with GAAP and the alleged improper
inclusion of certain items in inventory. Case settled prior to deposition.

Cassio Godoy v. The Seven Park Avenue Corporation and The Lovett Company, 2014. Issued an expert report in
a wrongful termination dispute relating to the financial position of an employee at a cooperative residential
apartment building.

Hudson Financial Corporation v. TRW Automotive Inc., et al, Cuyahoga County, Ohio Court of Common Pleas,
2014. Designated testifying expert and issued an expert report relating to amounts due from a manufacturer to
a supplier as a result of the supplier’s insolvency. Case settled prior to deposition.

United States of America v. Willard C. Lee, U.S. District Court, Northern District of Ohio, Eastern Division 2013
and 2014. Issued multiple expert reports relating to the losses suffered by the victims of
embezzlement/misappropriation of insurance funds.

Forensic Investigation at a Multi-Location Dental Practice, 2013. Issued an expert report relating to the
investigation of embezzlement by an office employee.

Gerald T. Jurden, in his capacity as Shareholder’s Representative of Heritage Sportswear, Inc. v. Heritage
Acquisition, Inc., 2013. Designated as testifying expert and issued an expert report in a post-acquisition dispute
relating to the presentation of the target company’s financial statements in accordance with GAAP and the
alleged improper inclusion of certain items in inventory.



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Kevin Pierce
Director
Transactional Dispute/Post-M&A and
Commercial Damages/Forensic Accounting Expert

In RE: Samuel L. Patrick, Debtor. Richard M. Patrick v. Samuel L. Patrick, United States Bankruptcy Court,
Northern District of Ohio, Eastern Division, 2013. Designated as testifying expert and issued an expert report
relating to the alleged embezzlement of funds from a musician by his manager, accountant and business
advisor.

United States of America v. Raymond Isabella, et al., U.S. District Court, Northern District of Ohio, Eastern
Division, 2012. Issued expert reports relating to the analysis of the cash receipts and disbursements of an
accounting firm and its owner accused of embezzlement.

Kmart Corporation vs. Developers Diversified Realty Corporation, Court of Common Pleas, Cuyahoga County,
Ohio, 2010. Designated as testifying expert and issued an expert report relating to the alleged lost merchandise,
lost profits, cost of clean-up, cost of carpet replacement and lease abatement charges as a result of flooding at
one of the plaintiff’s retail locations. Case settled prior to deposition.



Publications
“Information Considered by Financial Experts in Breach of Representations and Warranties Disputes," American
Institute of Certified Public Accountants – Forensic and Valuation Services Digest (AICPA FVS), April 2017.

"The DOJ’s FCPA Pilot Program: A New Era or Business as Usual?,” The Stout Journal, Spring/Summer 2017

“Another Side of Pink Slips: Fraud Risk in a Reduced Workforce,” The Journal of Corporate Renewal, Turnaround
Management Association, November/December 2010.

“Contributing author to “A Contractor’s Guide to Michigan Construction Law,” Chapter XVII - Accounting, Tax,
& Financial Issues, Fall 2009



Speeches and Seminars
"Claims: Case Studies," AON Transactions Solutions Symposium, February 2019

“Representations and Warranties Coverage from Pre-Underwriting to Claims Settlement,” presented for Everest
Insurance and Kramer Levin Naftalis & Frankel LLP at the Transaction Liability Seminar, May 23, 2017

"Current Fraud Trends and Internal Investigations,” presented for Continuing Legal Education to Nixon Peabody
LLP, September 20, 2016

“Best Practices for Internal Investigations in 2016”, Joint Meeting of the Institute of Internal Auditors and the
Association of Certified Fraud Examiners: Fraud and Forensics Day, February 2016

“Damage to People; Damage to Business – How Do You Prove It?”, presented to the Ohio State Bar Association –
Columbus, Ohio, May 2014.



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Kevin Pierce
Director
Transactional Dispute/Post-M&A and
Commercial Damages/Forensic Accounting Expert

“Commercial Damages 101,” presented to the Federal Bar Association Northern District of Ohio Chapter –
Cleveland, Ohio, April 2013

“Red Flags: Here to Help You, Your Company and/or Your Clients,” Northeast Ohio Chapter of the Association of
Certified Fraud Examiners, October 2012

“Financial Statements: Occupational Fraud – Schemes, Statistics and What to Do,” the Ohio Society of Certified
Public Accountants, February 2011

“Calculating Damages in Labor & Employment Disputes”, Akron Bar Association, Labor & Employment Section,
June 2010

“Financial Statements and Occupational Fraud,” Akron Bar Association, Ab Initio Section, May 2010

“Mining Business Tax Returns for Information,” SRR Webinar, May 11, 2010

“The Financial Expert’s Role in Alternative Dispute Resolution,” Cleveland Metropolitan Bar Association, ADR
Section, March 2010

“Preferences in the Construction Industry: What’s Ordinary?,” Columbus Bar Association, Construction
Committee, March 2010

“Fraud and Forensic Examination,” presented at Principles of Fraud Examination, Baldwin Wallace College, May
2008

“Purchase Price and Post-Closing Disputes,” presented at the Cleveland Bar Association Litigation Institute,
December 2007

Various presentations concerning the measurement of economic damages presented at CLE programs for
Cleveland, Ohio law firms, March 2007




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                            EXHIBIT C

                SUMMARY OF RELEVANT EXPENSES
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    Securities and Exchange Commission v. Mohammed Ali Rashid
    Summary of Relevant Expenses
    Exhibit C
                                 [1]                                                                   [2]
                                   Personal         Partial Business           Business           Credit/Refund           Total
1   Travel - Airfare          $         87,896      $         47,717       $              -   $               (102)   $    135,510
2   Travel - Hotel                      19,935                 8,279                    409                      -          28,624
3   Meals & Drinks                      37,160                 2,059                  2,977                      -          42,196
4   Transportation expenses              5,934                 1,088                  1,937                      -           8,959
5   Goods & Services                    32,536                     -                      -                      -          32,536
6   Miscellaneous                        2,081                   170                     50                      -           2,301
7   Total                     $        185,542      $         59,313       $          5,373   $               (102)   $    250,126
                                     74%                  24%                    2%                    0%                 100%

[1] Absent documentation substantiating that an expense was business related, I have deemed it as personal.
[2] The Relevant Expenses included credit amounts for with there were no corresponding charges.




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                            EXHIBIT D

                  DETAIL OF RELEVANT EXPENSES
                                                                      Case 1:17-cv-08223-PKC Document 118-2 Filed 09/06/19 Page 13 of 79
Securities and Exchange Commission v. Mohammed Ali Rashid
Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                               Total: $    250,126.01
Colum     Date                           Expense Classification           Merchant                      Long Description                                                             Tran. Amount           STOUT ‐ CATEGORY          STOUT ‐ CLASSIFICATION
n1
    [1]   Saturday, January 02, 2010     Personal                         Habit burger Grill (lunch)    work lunch                                                                   $           19.70   Meals & Drinks            Personal
    [1]   Sunday, January 03, 2010       Personal                         AMERICAN AIRLINES INC         flight ‐ LAX‐JFK                                                             $        2,541.70   Travel ‐ Airfare          Personal
    [1]   Sunday, January 03, 2010       Personal                         Karachi (dinner)              worked late                                                                  $           70.00   Meals & Drinks            Personal
    [1]   Tuesday, January 05, 2010      Personal                         STARBUCKS 7378 UNION SQ       snack                                                                        $           20.00   Meals & Drinks            Personal
    [1]   Wednesday, January 06, 2010    Personal                         Dragon fly (dinner)           worked late                                                                  $           22.00   Meals & Drinks            Personal
    [1]   Thursday, January 07, 2010     Personal                         AMAZON SERVICES INC           miscellaneous                                                                $           79.00   Goods & Services          Personal
    [1]   Friday, January 08, 2010       Personal                         1431 RESTAURANT INC           late dinner with team                                                        $           62.25   Meals & Drinks            Personal
    [1]   Sunday, January 10, 2010       Personal                         TAPAS Y MAS LLC               QDI lawyers                                                                  $          127.00   Meals & Drinks            Personal
    [1]   Tuesday, January 12, 2010      Personal (prev. paid back)       LA CONTESSA INC               meal with management                                                         $          182.22   Goods & Services          Personal
    [1]   Tuesday, January 12, 2010      Personal                         LITTLE BAR Q LLC              meal with management                                                         $          210.74   Meals & Drinks            Personal
    [1]   Wednesday, January 13, 2010    Personal                         S AND S MAINTENANCE CORP      cab to or from home                                                          $           10.40   Transportation expenses   Business
    [1]   Wednesday, January 13, 2010    Personal                         STARBUCKS CORPORATION         snack                                                                        $           23.00   Meals & Drinks            Business
    [1]   Thursday, January 14, 2010     Personal                         Republic (dinner)             worked late                                                                  $           18.00   Meals & Drinks            Personal
    [1]   Sunday, January 17, 2010       Personal                         Greenwich Taxi                cab to or frommeeting                                                        $           24.00   Transportation expenses   Personal
    [1]   Sunday, January 17, 2010       Personal                         Greenwich Taxi                cab to or from meeting                                                       $           28.00   Transportation expenses   Personal
    [1]   Sunday, January 17, 2010       Personal                         Greenwich Taxi                cab to or from meeting                                                       $           26.00   Transportation expenses   Personal
    [1]   Sunday, January 17, 2010       Personal                         Spice (dinner)                worked late                                                                  $           42.00   Meals & Drinks            Personal
    [1]   Monday, January 18, 2010       Personal                         STARBUCKS CORPORATION         snack                                                                        $           23.00   Meals & Drinks            Personal
    [1]   Tuesday, January 19, 2010      Personal                         JEWEL BAKO INC                meal with bankers                                                            $          177.33   Meals & Drinks            Personal
    [1]   Wednesday, January 20, 2010    Personal                         P M HOTEL ASSOC               meal with Aleris                                                             $           78.00   Meals & Drinks            Personal
    [1]   Thursday, January 21, 2010     Personal                         MTA/NYC TRANSIT               train                                                                        $           35.00   Transportation expenses   Business
    [1]   Thursday, January 21, 2010     Personal                         WHOLE FOODS MARKET USQ        dinner with realogy                                                          $           40.21   Goods & Services          Personal
    [1]   Saturday, January 23, 2010     Personal                         OH TAISHO                     dinner with team                                                             $          113.98   Meals & Drinks            Personal
    [1]   Saturday, January 23, 2010     Personal                         STARBUCKS 7540                snacks for meeting                                                           $           24.00   Meals & Drinks            Personal
    [1]   Sunday, January 24, 2010       Personal                         FOOD 2 LEX LLC                late dinner with team                                                        $           73.06   Meals & Drinks            Personal
    [1]   Saturday, January 30, 2010     Personal                         JAPOND RSTR LLC               dinner with new hire                                                         $          108.00   Meals & Drinks            Personal
    [1]   Sunday, January 31, 2010       Personal                         ERMENEGILDO ZEGNABEV HLS      dinner with the team                                                         $          945.00   Goods & Services          Personal
    [1]   Monday, February 01, 2010      Personal                         SA MIDTOWN LLC                dinner with team                                                             $           86.00   Meals & Drinks            Personal
    [1]   Wednesday, February 03, 2010   Personal                         STARBUCKS CORPORATION         snacks for meeting                                                           $           24.00   Meals & Drinks            Personal
    [1]   Wednesday, February 03, 2010   Personal                         MYOUNGA CORP                  late meal with team                                                          $           66.54   Meals & Drinks            Personal
    [1]   Thursday, February 04, 2010    Personal                         dinner                        working dinner                                                               $           50.00   Meals & Drinks            Personal
    [1]   Thursday, February 04, 2010    Personal                         NOBU 57 LLC                   business lunch with new hire                                                 $           80.91   Meals & Drinks            Personal
    [1]   Saturday, February 06, 2010    Personal                         F & O MIDTOWN, LLC            dinner with team                                                             $          163.91   Meals & Drinks            Personal
    [1]   Tuesday, February 09, 2010     Personal                         dinner                        working dinner                                                               $           25.00   Meals & Drinks            Personal
    [1]   Wednesday, February 10, 2010   Personal                         SUTOL OPERATING CO LLC        dinner with mgmt team                                                        $          394.84   Meals & Drinks            Personal
    [1]   Thursday, February 11, 2010    Personal                         MARI VENNA                    dinner with bankers                                                          $           90.93   Meals & Drinks            Personal
    [1]   Friday, February 12, 2010      Personal                         F & O MIDTOWN, LLC            dinner with legal team                                                       $          170.00   Meals & Drinks            Personal
    [1]   Monday, February 15, 2010      Personal                         dinner                        working dinner                                                               $           32.00   Meals & Drinks            Personal
    [1]   Monday, February 15, 2010      Personal                         TANGIER LLC                   dinner with lawyers                                                          $          165.91   Meals & Drinks            Personal
    [1]   Tuesday, February 16, 2010     Personal                         STARBUCKS CORPORATION         snack                                                                        $           23.00   Meals & Drinks            Personal
    [1]   Thursday, February 18, 2010    Personal                         breakfast                     breakfast                                                                    $            5.41   Meals & Drinks            Personal
    [1]   Thursday, February 18, 2010    Personal                         MTA/NYC TRANSIT               train for new QDI sales rep                                                  $           35.00   Transportation expenses   Personal
    [1]   Friday, February 19, 2010      Personal                         dinner                        working dinner                                                               $           28.00   Meals & Drinks            Personal
    [1]   Saturday, February 20, 2010    Personal                         LUCKY 13 LLC                  dinner with team                                                             $          183.24   Meals & Drinks            Personal
    [1]   Sunday, February 21, 2010      Personal                         JACK RABBIT SPORTS INC        needed for corporate outing                                                  $          269.48   Goods & Services          Personal
    [1]   Sunday, February 21, 2010      Personal                         THE GREY DOGS COFFEE          late meal                                                                    $           34.00   Meals & Drinks            Personal
    [1]   Thursday, February 25, 2010    Personal (prev. paid back)       LA CONTESSA INC               dinner with mgmt team for realogy                                            $          180.00   Goods & Services          Personal
    [1]   Thursday, February 25, 2010    Personal                         OTTO                          working late for Aleris                                                      $           48.83   Meals & Drinks            Personal
    [1]   Friday, February 26, 2010      Personal                         50 CARMINE RESTAURANT         dinner with new saled candidate                                              $          180.00   Meals & Drinks            Personal
    [1]   Monday, March 01, 2010         Personal                         dinner                        worked late for metals usa                                                   $           42.00   Meals & Drinks            Personal
    [1]   Monday, March 01, 2010         personal                         POWER MAX                     dinner with qdi mgmt                                                         $          229.00   Goods & Services          Personal
    [1]   Monday, March 01, 2010         Personal                         Tips at a Metals Conference   tips for metals conference                                                   $            8.00   Travel ‐ Hotel            Personal
    [1]   Wednesday, March 03, 2010      Personal                         STAPLESCOM 472                new printer toner cartridge and paper                                        $          148.41   Goods & Services          Personal
    [1]   Wednesday, March 03, 2010      Personal                         STARBUCKS CORPORATION         snack                                                                        $           24.00   Meals & Drinks            Personal
    [1]   Wednesday, March 03, 2010      Personal                         tips                          hote tips                                                                    $           12.00   Travel ‐ Hotel            Personal
    [1]   Thursday, March 04, 2010       Personal                         PQ BROADWAY INC               working late for Aleris                                                      $           36.53   Meals & Drinks            Personal
    [1]   Friday, March 05, 2010         Personal                         CRAFTSTEAK                    dinner with board candidate for metals                                       $          278.35   Meals & Drinks            Personal
    [1]   Saturday, March 06, 2010       Personal                         LUCKY 13 LLC                  dinner with CFO                                                              $          167.00   Meals & Drinks            Personal
    [1]   Saturday, March 06, 2010       Personal                         STARBUCKS CORPORATION         SNACK                                                                        $           24.00   Meals & Drinks            Personal
    [1]   Tuesday, March 09, 2010        Personal (prev. paid back)       TRIPLE CROWN MAFFUCI STOR     research report needed for QDI Transportation                                $        1,900.00   Goods & Services          Personal
    [1]   Saturday, March 13, 2010       Personal                         STARBUCKS CORPORATION         snack                                                                        $           24.00   Meals & Drinks            Personal
    [1]   Sunday, March 14, 2010         Personal                         LAFAYETTE ST PARTNERS LLC     worked late for metals usa                                                   $           44.60   Meals & Drinks            Business
    [1]   Sunday, March 14, 2010         Personal                         late dinner                   worked late for Metals                                                       $           23.17   Meals & Drinks            Business
    [1]   Monday, March 15, 2010         Personal                         NYC DEPT OF FINANCE           fee for passport                                                             $           35.00   Miscellaneous             Personal
    [1]   Thursday, March 18, 2010       Personal (prev. paid back)       CITI HABITAT II               research report on real estate industry needed for latest investment         $        1,435.32   Goods & Services          Personal
    [1]   Thursday, March 18, 2010       Personal (prev. paid back)       CITI HABITAT II               research report on real estate industry needed for latest investment         $        1,385.27   Goods & Services          Personal
    [1]   Thursday, March 18, 2010       Personal                         A AND M ACQUISITIONS          dinner with metals candidate                                                 $          114.00   Meals & Drinks            Personal
    [1]   Friday, March 19, 2010         Personal                         SHUN LEE PALACE               working late with aleris team                                                $          102.08   Meals & Drinks            Personal
    [1]   Saturday, March 20, 2010       Personal                         WILD WOOD BBQ                 Working late with QDI TEAM                                                   $          121.10   Meals & Drinks            Personal
    [1]   Sunday, March 21, 2010         Personal                         dinner                        worked late for metals usa                                                   $           23.00   Meals & Drinks            Business
    [1]   Tuesday, March 23, 2010        Personal                         dinner                        worked late for metals usa                                                   $           38.00   Meals & Drinks            Personal
    [1]   Tuesday, March 23, 2010        Personal                         dinner                        worked late for metals usa                                                   $           31.50   Meals & Drinks            Business
    [1]   Wednesday, March 24, 2010      Personal (prev. paid back)       CITI HABITAT II               research                                                                     $        1,485.00   Goods & Services          Personal
    [1]   Wednesday, March 24, 2010      Personal                         STARBUCKS CORPORATION         coffee and snack while working                                               $           24.00   Meals & Drinks            Personal
    [1]   Friday, March 26, 2010         Personal                         BLISS WORLD LLC               gift for mgmt new baby (realogy) approved by Gerard                          $          400.00   Goods & Services          Personal


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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                           Total: $    250,126.01
Colum     Date                        Expense Classification           Merchant                            Long Description                                                      Tran. Amount            STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Saturday, March 27, 2010    Personal                         RAMBLA LLC                          business dinner with lawyers ‐ for Realogy                            $          113.77    Meals & Drinks            Personal
    [1]   Sunday, March 28, 2010      Personal                         WHOLE FOODS MARKET USQ              late working dinner for Aleris                                        $           33.49    Goods & Services          Personal
    [1]   Sunday, March 28, 2010      Personal                         HECHO EN DUMBO                      working lunch with Aleris team                                        $           47.72    Meals & Drinks            Personal
    [1]   Monday, March 29, 2010      Personal                         dinner                              worked late ‐ dinner                                                  $            8.00    Meals & Drinks            Personal
    [1]   Wednesday, March 31, 2010   Personal                         STANFORD BUS SCHOOL                 conference registration for QDI                                       $           40.00    Miscellaneous             Personal
    [1]   Wednesday, March 31, 2010   Personal                         CGM‐GH LLC                          Lunch with new board member for Metals                                $           93.00    Meals & Drinks            Personal
    [1]   Friday, April 02, 2010      Personal                         MONKEY BAR NEW YORK LLC             working dinner with board members of Metals USA                       $          215.63    Meals & Drinks            Personal
    [1]   Saturday, April 03, 2010    Personal                         BROTHER JIMMY'S NYC                 business dinner event with QDI mgmt team                              $          271.58    Meals & Drinks            Personal
    [1]   Saturday, April 03, 2010    Personal                         lunch                               working lunch                                                         $           59.13    Meals & Drinks            Business
    [1]   Sunday, April 04, 2010      Personal                         MTA/NYC TRANSIT                     train ‐ metro card                                                    $           24.00    Transportation expenses   Personal
    [1]   Sunday, April 04, 2010      Personal                         GRAFFITI                            working ‐ weekend lunch with QDI client                               $           83.77    Meals & Drinks            Personal
    [1]   Monday, April 05, 2010      Personal                         TEKSERVE                            IPO research service for Metals USA                                   $          652.16    Goods & Services          Personal
    [1]   Wednesday, April 07, 2010   Personal                         NOBU 57 LLC                         working lunch with CFO                                                $          102.85    Meals & Drinks            Personal
    [1]   Friday, April 09, 2010      Personal                         COOPER SQUARE HOTEL LLC             working dinner with QDI CEO                                           $          124.00    Meals & Drinks            Personal
    [1]   Saturday, April 10, 2010    Personal                         STARBUCKS CORPORATION               tea                                                                   $            2.44    Meals & Drinks            Personal
    [1]   Sunday, April 11, 2010      Personal                         lunch                               working lunch                                                         $           37.00    Meals & Drinks            Personal
    [1]   Sunday, April 11, 2010      Personal                         STARBUCKS CORPORATION               snack and coffee working on Aleris                                    $           24.00    Meals & Drinks            Personal
    [1]   Sunday, April 11, 2010      Personal                         31 UNION SQ WEST LLC                late working dinner with Aleris team                                  $           78.00    Meals & Drinks            Personal
    [1]   Monday, April 12, 2010      Personal                         JEWEL BAKO INC                      working dinner with lawyer QDI                                        $          172.07    Meals & Drinks            Personal
    [1]   Thursday, April 15, 2010    Personal (prev. paid back)       FAIRHAVEN GROUP INC                 Aleris ‐ to be credited                                               $           39.95    Goods & Services          Personal
    [1]   Thursday, April 15, 2010    Personal (prev. paid back)       LA CONTESSA INC                     Metals USA mgmt lunch                                                 $          196.33    Goods & Services          Personal
    [1]   Saturday, April 17, 2010    Personal                         dinner                              worked late ‐ dinner                                                  $            8.00    Meals & Drinks            Personal
    [1]   Sunday, April 18, 2010      Personal                         lunch                               working lunch                                                         $           33.00    Meals & Drinks            Personal
    [1]   Sunday, April 18, 2010      Personal                         RATTAN INC                          Late dinner w/ Metals team                                            $           78.93    Goods & Services          Personal
    [1]   Monday, April 19, 2010      Personal                         dinner                              worked late ‐ dinner                                                  $            9.00    Meals & Drinks            Personal
    [1]   Thursday, April 22, 2010    Partial Business Expense         AMERICAN AIRLINES INC               flight from Miami to LA ‐ trip for Metals USA                         $        1,920.70    Travel ‐ Airfare          Partial Business
    [1]   Thursday, April 22, 2010    Personal                         AMERICAN AIRLINES INC               flight from LA to JFK ‐ trip for Metals USA                           $        2,661.70    Travel ‐ Airfare          Partial Business
    [1]   Saturday, April 24, 2010    Partial Business Expense         BOCA RATON HTLCLB LTD PT            two night stay and dinner with mgmt                                   $          933.46    Travel ‐ Hotel            Partial Business
    [1]   Saturday, April 24, 2010    Personal                         MONTAGE BEVERLY HILLS               working lunch with realogy team                                       $           84.44    Meals & Drinks            Personal
    [1]   Saturday, April 24, 2010    Personal                         STARBUCKS CORPORATION               snack and coffee ‐ working on Metals USA                              $           24.00    Meals & Drinks            Personal
    [1]   Sunday, April 25, 2010      Personal                         STAPLES 90                          supplies needed while traveling for Realogy                           $           98.09    Goods & Services          Personal
    [1]   Monday, April 26, 2010      Personal                         555 EAST                            working dinner w/ Metals USA ‐ CFO                                    $          112.32    Meals & Drinks            Personal
    [1]   Tuesday, April 27, 2010     Personal                         Parking Garage in NYC               Parking garage to come to work for an early meeting ‐ Realogy         $           12.00    Transportation expenses   Personal
    [1]   Wednesday, April 28, 2010   Personal                         PANTHER BRHC LLC                    credit                                                                $          (64.97)   Travel ‐ Hotel            Partial Business
    [1]   Friday, April 30, 2010      Personal                         PAREA GROUP LLC                     working meal w/ Aleris team ‐ worked late                             $           81.30    Meals & Drinks            Personal
    [1]   Saturday, May 01, 2010      Personal                         BLACKFOOT CONSULTING LLC            research for realogy                                                  $          160.18    Goods & Services          Personal
    [1]   Saturday, May 01, 2010      Personal                         lunch on the weekend (no receipt)   lunch on weekend ‐ no receipt or date                                 $           13.00    Meals & Drinks            Personal
    [1]   Sunday, May 02, 2010        Personal                         THE HOUSE                           working dinner with Aleris team ‐ working late                        $          110.26    Meals & Drinks            Personal
    [1]   Sunday, May 02, 2010        Personal                         meal at Pulinos                     working lunch (Metals USA)                                            $           41.34    Meals & Drinks            Personal
    [1]   Monday, May 03, 2010        Personal                         STAPLESCOM 472                      printer toner                                                         $          127.88    Goods & Services          Personal
    [1]   Tuesday, May 04, 2010       Personal                         parking fee                         parking fee ‐ drove to office for early meeting                       $            8.00    Transportation expenses   Personal
    [1]   Tuesday, May 04, 2010       Personal                         STARBUCKS CORPORATION               coffee and snack while working                                        $           24.00    Meals & Drinks            Personal
    [1]   Wednesday, May 05, 2010     Personal                         MTA/NYC TRANSIT                     metro card                                                            $           24.00    Transportation expenses   Business
    [1]   Wednesday, May 05, 2010     Personal                         hotel tips (no receipt)             hotel tips no receipt or date                                         $           12.00    Travel ‐ Hotel            Personal
    [1]   Wednesday, May 05, 2010     Personal                         meal at Dos Toros                   worked late had dinner                                                $            8.00    Meals & Drinks            Personal
    [1]   Thursday, May 06, 2010      Personal                         meal at Dos Toros                   worked late had dinner                                                $           15.51    Meals & Drinks            Personal
    [1]   Friday, May 07, 2010        Personal                         TIGER DIRECTCOM                     research for QDI                                                      $          119.99    Goods & Services          Personal
    [1]   Friday, May 07, 2010        Personal                         1 IF BY LAND 2 IF BY SEA            working Dinner with QDI CEO                                           $          237.68    Meals & Drinks            Personal
    [1]   Saturday, May 08, 2010      Personal                         ARK RESTAURANTS CORP                weekend working luch with Aleris team                                 $           56.32    Meals & Drinks            Personal
    [1]   Sunday, May 09, 2010        Personal                         EL MONO/IRVING                      dinner with Realogy mgmt                                              $          188.23    Meals & Drinks            Personal
    [1]   Tuesday, May 11, 2010       Personal                         AMERICAN AIRLINES INC               travel fee for QDI trip                                               $           20.00    Travel ‐ Airfare          Personal
    [1]   Tuesday, May 11, 2010       Personal                         AMERICAN AIRLINES INC               travel fee for QDI trip                                               $           20.00    Travel ‐ Airfare          Personal
    [1]   Tuesday, May 11, 2010       Personal                         AMERICAN AIRLINES INC               Dallas business trip                                                  $        1,198.20    Travel ‐ Airfare          Personal
    [1]   Tuesday, May 11, 2010       Personal                         AMERICAN AIRLINES INC               business trip to Dallas for QDI meetings                              $        4,434.50    Travel ‐ Airfare          Personal
    [1]   Wednesday, May 12, 2010     Personal                         643 HUDSON LLC                      dinner with QDI member                                                $          102.20    Meals & Drinks            Business
    [1]   Friday, May 14, 2010        Personal                         308‐310 BLEECKER RESTAURA           working lunch w/ Metals USA ‐ CEO & CFO                               $          235.95    Meals & Drinks            Personal
    [1]   Sunday, May 16, 2010        Personal                         meal at Dos Toros                   worked late had dinner                                                $           16.26    Meals & Drinks            Personal
    [1]   Monday, May 17, 2010        Personal                         NYC DEPT OF FINANCE                 passport service                                                      $           35.00    Miscellaneous             Personal
    [1]   Monday, May 17, 2010        Personal                         KOI NY                              late at office dinner with Aleris                                     $           99.83    Meals & Drinks            Personal
    [1]   Tuesday, May 18, 2010       Personal                         Greenwich Taxi Inc                  Taxi from meeting ‐ QDI                                               $           24.00    Transportation expenses   Personal
    [1]   Tuesday, May 18, 2010       Personal                         Greenwich Taxi Inc                  Taxi to meeting ‐ Realogy                                             $           27.00    Transportation expenses   Personal
    [1]   Tuesday, May 18, 2010       Personal (prev. paid back)       LA CONTESSA INC                     Metals USA mgmt working lunch                                         $          190.00    Goods & Services          Personal
    [1]   Wednesday, May 19, 2010     Personal                         Greenwich Taxi Inc                  Taxi to meeting ‐ Realogy                                             $           21.00    Transportation expenses   Personal
    [1]   Wednesday, May 19, 2010     Personal                         Greenwich Taxi Inc                  Taxi from meeting ‐ Realogy                                           $           31.00    Transportation expenses   Personal
    [1]   Wednesday, May 19, 2010     Personal                         APPLE R095 FIFTH AVENUE             IPO gifts aproved by Gerard                                           $        1,679.76    Goods & Services          Personal
    [1]   Thursday, May 20, 2010      Personal                         APPLE R095 FIFTH AVENUE             IPO gifts approved by Gerard                                          $          793.70    Goods & Services          Personal
    [1]   Thursday, May 20, 2010      Personal                         AMERICAN AIRLINES INC               travel fee for Metals USA trip                                        $           50.00    Travel ‐ Airfare          Personal
    [1]   Thursday, May 20, 2010      Personal                         AMERICAN AIRLINES INC               travel fee for Metals USA trip                                        $           75.00    Travel ‐ Airfare          Personal
    [1]   Friday, May 21, 2010        Personal                         BLT FISH LLC                        working dinner with QDI sale manager                                  $          117.53    Meals & Drinks            Personal
    [1]   Friday, May 21, 2010        Personal                         US AIRWAYS                          travel fee for Realogy trip                                           $            5.00    Travel ‐ Airfare          Personal
    [1]   Friday, May 21, 2010        Personal                         US AIRWAYS                          Phoenix business trip for Realogy                                     $          374.40    Travel ‐ Airfare          Personal
    [1]   Friday, May 21, 2010        Personal                         US AIRWAYS                          Phoenix business trip for Realogy                                     $          374.40    Travel ‐ Airfare          Personal
    [1]   Saturday, May 22, 2010      Personal                         STARBUCKS CORPORATION               snack and coffee ‐ working on Metals USA                              $           24.00    Meals & Drinks            Personal
    [1]   Monday, May 24, 2010        Personal                         HERTZ CORPORATION                   Car rental for Realogy conference                                     $           99.19    Transportation expenses   Personal
    [1]   Tuesday, May 25, 2010       Personal                         SHERATON PHOENICIAN CORP            Hotel in Phoenix for Realogy conference                               $          927.66    Travel ‐ Hotel            Personal


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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                                                                  Total: $    250,126.01
Colum     Date                        Expense Classification           Merchant                        Long Description                                                                                                                 Tran. Amount            STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Saturday, May 29, 2010      Personal                         Phoenician Hotel in Phoenix     Tips while staying at the Phoenician in Phoenix ‐ Realogy                                                                        $           11.00    Travel ‐ Hotel            Personal
    [1]   Saturday, May 29, 2010      Personal                         STARBUCKS CORPORATION           Coffe/snack while working late                                                                                                   $           24.00    Meals & Drinks            Personal
    [1]   Monday, May 31, 2010        Personal                         American Airlines               Meal on flight from Phoenix to NY ‐ Realogy                                                                                      $           10.00    Meals & Drinks            Personal
    [1]   Monday, May 31, 2010        Personal                         HERTZ CORPORATION               Car rental for Metals USA conference                                                                                             $          169.39    Transportation expenses   Credit/Refund
    [1]   Monday, May 31, 2010        Personal                         RITZ‐CARLTON HOTEL CO LLC       Hotel for Metals USA conference                                                                                                  $        1,875.86    Travel ‐ Hotel            Personal
    [1]   Wednesday, June 02, 2010    Personal                         HERTZ CORPORATION               Refund for car rental for Metals USA conference                                                                                  $         (169.39)   Transportation expenses   Credit/Refund
    [1]   Wednesday, June 02, 2010    Personal                         Dos Toros Taqueria              Meal while working late ‐ Realogy                                                                                                $           15.51    Meals & Drinks            Personal
    [1]   Thursday, June 03, 2010     Personal                         STARBUCKS CORPORATION           Snack/coffee while working late                                                                                                  $           24.00    Meals & Drinks            Personal
    [1]   Friday, June 04, 2010       Personal                         Chipotle                        Meal while working late ‐ Realogy                                                                                                $            8.00    Meals & Drinks            Personal
    [1]   Sunday, June 06, 2010       Personal                         ABC HOME FURNISHINGS            Dinner while working late with Realogy deal team                                                                                 $           70.97    Meals & Drinks            Personal
    [1]   Thursday, June 10, 2010     Personal                         EL MONO/IRVING                  Dinner while working late with bankers on Metals USA                                                                             $          130.15    Meals & Drinks            Personal
    [1]   Friday, June 11, 2010       Personal                         Dos Toros Taqueria              Meal while working late ‐ Metals USA                                                                                             $           15.51    Meals & Drinks            Personal
    [1]   Saturday, June 12, 2010     Personal                         UNION SQUARE CAFE CORP          Dinner with CFO candidate for QDI                                                                                                $          145.75    Meals & Drinks            Personal
    [1]   Sunday, June 13, 2010       Personal                         THE GREY DOGS COFFEE            Working lunch                                                                                                                    $           38.15    Meals & Drinks            Personal
    [1]   Monday, June 14, 2010       Personal                         FRIEDFIELD BRESLIN LLC          Dinner while working late with the Metals USA deal team                                                                          $           69.11    Meals & Drinks            Personal
    [1]   Tuesday, June 15, 2010      Personal                         STARBUCKS CORPORATION           Snack/coffee while working late                                                                                                  $           24.00    Meals & Drinks            Personal
    [1]   Wednesday, June 16, 2010    Personal                         28TH ST MGMT INC                Taxi home ‐ working late                                                                                                         $           12.00    Transportation expenses   Business
    [1]   Thursday, June 17, 2010     Personal                         MTA/NYC TRANSIT                 Metrocard                                                                                                                        $           24.00    Transportation expenses   Personal
    [1]   Friday, June 18, 2010       Personal                         ERMENEGILDO ZEGNABEV HLS        Client gift ‐ approved by Gerard Cruse                                                                                           $          965.00    Goods & Services          Personal
    [1]   Friday, June 18, 2010       Personal                         The Coffee Shop                 Meal while working late                                                                                                          $           13.01    Meals & Drinks            Personal
    [1]   Friday, June 18, 2010       Personal                         DL REST DEVELOPMENT LLC         Dinner with CFO candidate for QDI                                                                                                $          227.52    Meals & Drinks            Personal
    [1]   Sunday, June 20, 2010       Personal                         1 PERRY STREET RESTAURANT       Dinner with lawyers while working late on Metals USA                                                                             $          132.39    Meals & Drinks            Personal
    [1]   Sunday, June 20, 2010       Personal                         THE LOCAL LLC                   Dinner while working late with Realogy deal team                                                                                 $           76.33    Meals & Drinks            Personal
    [1]   Tuesday, June 22, 2010      Personal                         STARBUCKS CORPORATION           Snack while working late                                                                                                         $           24.00    Meals & Drinks            Personal
    [1]   Tuesday, June 22, 2010      Personal                         SPRING CAFE LLC                 Dinner with Aleris team while working late                                                                                       $           70.00    Meals & Drinks            Business
    [1]   Wednesday, June 23, 2010    Personal (prev. paid back)       ANNUAL MEMBERSHIP RENEWAL FEE                                                                                                                                    $          395.00    Miscellaneous             Personal
    [1]   Thursday, June 24, 2010     Personal                         THE GRIFFIN                     Dinner with QDI team while working late                                                                                          $          193.20    Meals & Drinks            Personal
    [1]   Friday, June 25, 2010       Personal                         Pinche Taqueria                 Dinner while working late                                                                                                        $           10.00    Meals & Drinks            Personal
    [1]   Saturday, June 26, 2010     Personal                         BLUE MOSQUITO                   Dinner with QDI team on weekend                                                                                                  $          386.07    Meals & Drinks            Business
    [1]   Monday, June 28, 2010       Personal                         SHUN LEE PALACE                 Lunch with new CFO candidate                                                                                                     $          100.55    Meals & Drinks            Personal
    [1]   Monday, June 28, 2010       Personal (prev. paid back)       LA CONTESSA INC                 Dinner with new CFO candidate                                                                                                    $          175.20    Goods & Services          Personal
    [1]   Tuesday, June 29, 2010      Personal                         CASE ARI LLC                    Blackberry case                                                                                                                  $           44.98    Goods & Services          Personal
    [1]   Tuesday, June 29, 2010      Personal                         AMERICAN AIRLINES INC           Flight from Chicago to LA for Metals USA meetings                                                                                $        1,185.70    Travel ‐ Airfare          Partial Business
    [1]   Tuesday, June 29, 2010      Personal                         AMERICAN AIRLINES INC           Flight from LA to NY for Metals USA meetings                                                                                     $        2,681.70    Travel ‐ Airfare          Partial Business
    [1]   Wednesday, June 30, 2010    Personal                         Hotel in Santa Barbara          Tips for hotel staff in Santa Barbara                                                                                            $            9.00    Travel ‐ Hotel            Business
    [1]   Wednesday, June 30, 2010    Personal                         TRAVEL AGENCY SERVICE FEE                                                                                                                                        $           50.00    Miscellaneous             Business
    [1]   Wednesday, June 30, 2010    Personal                         AMERICAN AIRLINES INC           Flight from Chicago to LA for Metals USA meetings                                                                                $          436.00    Travel ‐ Airfare          Partial Business
    [1]   Thursday, July 01, 2010     Personal                         Greenwich Taxi Inc              Taxi from meeting                                                                                                                $           37.00    Transportation expenses   Personal
    [1]   Thursday, July 01, 2010     Personal                         Greenwich Taxi Inc              Taxi to meeting                                                                                                                  $           38.00    Transportation expenses   Personal
    [1]   Friday, July 02, 2010       Personal                         Greenwich Taxi Inc              Taxi to meeting                                                                                                                  $           28.00    Transportation expenses   Personal
    [1]   Friday, July 02, 2010       Personal                         Greenwich Taxi Inc              Taxi from meeting                                                                                                                $           34.00    Transportation expenses   Personal
    [1]   Friday, July 02, 2010       Personal                         Greenwich Taxi Inc              Taxi to meeting                                                                                                                  $           42.00    Transportation expenses   Personal
    [1]   Sunday, July 04, 2010       Personal                         BACARA RESORT & SPA             Hotel in CA for Metals USA meetings                                                                                              $        1,088.77    Travel ‐ Hotel            Personal
    [1]   Sunday, July 04, 2010       Personal                         BOA SUNSET LLC                  Dinner with Management team of Metals USA                                                                                        $          263.89    Meals & Drinks            Personal
    [1]   Monday, July 05, 2010       Personal                         STARBUCKS CORPORATION           Snack while working on the holiday                                                                                               $           24.00    Meals & Drinks            Personal
    [1]   Friday, July 09, 2010       Personal                         Rohm                            Dinner while working late                                                                                                        $           25.00    Meals & Drinks            Personal
    [1]   Sunday, July 11, 2010       Personal                         ABG STANDARD OPERATOR           Lunch on the weekend with the Aleris team                                                                                        $          100.00    Meals & Drinks            Personal
    [1]   Sunday, July 11, 2010       Personal                         BROTHER JIMMY'S NYC             Lunch with QDI lawyers                                                                                                           $          147.92    Meals & Drinks            Personal
    [1]   Sunday, July 11, 2010       Personal                         Dos Toros Taqueria              Dinner while working late                                                                                                        $           15.00    Meals & Drinks            Personal
    [1]   Tuesday, July 13, 2010      Personal                         STAPLESCOM 472                  Printer supplies                                                                                                                 $           99.82    Goods & Services          Personal
    [1]   Friday, July 16, 2010       Personal                         AJD‐NYC INC                     Dinner with Realogy bankers                                                                                                      $          161.00    Meals & Drinks            Personal
    [1]   Saturday, July 17, 2010     Personal                         98 KENMARE RESTAURANT GRO       Lunch with Realogy lawyers                                                                                                       $          147.30    Meals & Drinks            Personal
    [1]   Wednesday, July 21, 2010    Personal                         AUSTIN HOTEL OC LP              Hotel in Austin for fundraising meetings                                                                                         $          185.44    Travel ‐ Hotel            Business
    [1]   Thursday, July 22, 2010     Personal                         JAPOND RSTR LLC                 Dinner with Lourenco Goncalves, CEO of Metals USa to discuss acquisitions                                                        $          266.46    Meals & Drinks            Business
    [1]   Saturday, July 24, 2010     Personal                         Chinatown Brasserie             Dinner while working late                                                                                                        $           35.00    Meals & Drinks            Personal
    [1]   Sunday, July 25, 2010       Personal                         Diner                           Dinner while working late                                                                                                        $           46.00    Meals & Drinks            Personal
    [1]   Sunday, July 25, 2010       Personal                         ABG STANDARD OPERATOR           Lunch with Realogy team while working on weekend                                                                                 $           83.95    Meals & Drinks            Personal
    [1]   Monday, July 26, 2010       Personal                         Chipotle                        Dinner while working late                                                                                                        $            8.00    Meals & Drinks            Business
    [1]   Wednesday, July 28, 2010    Personal                         Peter Luger                     Dinner with Gary Enzor, CEO of QDI to discuss acquisitions                                                                       $          215.00    Meals & Drinks            Personal
    [1]   Thursday, July 29, 2010     Personal                         WYNN LAS VEGAS HOTEL            Deposit for conference in Las Vegas for QDI                                                                                      $          278.88    Travel ‐ Hotel            Personal
    [1]   Friday, July 30, 2010       Personal                         THESSABUL LLC                   Dinner with Metals USA team while working late                                                                                   $           84.70    Meals & Drinks            Personal
    [1]   Friday, July 30, 2010       Personal                         STARBUCKS CORPORATION           Snack while working late                                                                                                         $           24.00    Meals & Drinks            Personal
    [1]   Friday, July 30, 2010       Personal                         ERMENEGILDO ZEGNABEV HLS        Office gifts of shirts and ties for Metals USA team. Gifts went to: Tom Calhoun, Jim Collins, Bob Reilley, John Frazier, Bob     $        1,265.00
                                                                                                       Weinrich, Tom Diluilo
                                                                                                                                                                                                                                                             Goods & Services          Personal
    [1]   Saturday, July 31, 2010     Personal                         OCEAN HOUSE B & B HOTEL         Hotel in NJ for Realogy meetings                                                                                                 $          339.25    Travel ‐ Hotel            Personal
    [1]   Sunday, August 01, 2010     Personal                         Port Authority of NY/NJ         Holland Tunnel toll from meeting in NJ                                                                                           $            8.00    Transportation expenses   Personal
    [1]   Sunday, August 01, 2010     Personal                         Shalimar Sweets & Restaurant    Dinner with Tony Hull, CFO of Realogy, while working on weekend to discuss acquisitions                                          $           60.29    Meals & Drinks            Personal
    [1]   Sunday, August 01, 2010     Personal                         AVIS RENT A CAR CORP            Car rental for Realogy trip to NJ                                                                                                $           86.71    Transportation expenses   Personal
    [1]   Monday, August 02, 2010     Personal                         AIRLINES RPRTING CORPTAF                                                                                                                                         $           45.00    Travel ‐ Airfare          Personal
    [1]   Friday, August 06, 2010     Personal                         CANAS RESTAURANT INC            Dinner with Michael Friday, CFO of Aleris to discuss financing                                                                   $          139.20    Meals & Drinks            Personal
    [1]   Friday, August 06, 2010     Personal (prev. paid back)       LA CONTESSA INC                 Dinner with Joe Troy, CFO of QDI to discuss recent results                                                                       $          207.42    Goods & Services          Personal
    [1]   Saturday, August 07, 2010   Personal                         JOHN DORY LLC                   Dinner with Metals USA board members to discuss recent results                                                                   $          124.00    Meals & Drinks            Personal
    [1]   Saturday, August 07, 2010   Personal                         Maialino                        Dinner while working on weekend                                                                                                  $           37.00    Meals & Drinks            Personal
    [1]   Sunday, August 08, 2010     Personal                         EL MONO/IRVING                  Dinner with Metals USA compensation consultant to discuss acquisitions                                                           $          160.00    Meals & Drinks            Personal
    [1]   Monday, August 09, 2010     Personal                         Greenwich Taxi Inc              Taxi to Realogy meeting                                                                                                          $           34.00    Transportation expenses   Personal


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Exhibit D

                                                                                                                                                                                                                                Total: $      250,126.01
Colum     Date                            Expense Classification         Merchant                        Long Description                                                                                                               Tran. Amount            STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Monday, August 09, 2010         Personal                       Greenwich Taxi Inc              Taxi from Realogy meeting                                                                                                       $          37.00    Transportation expenses   Personal
    [1]   Tuesday, August 10, 2010        Personal                       Greenwich Taxi Inc.             Taxi to Realogy meeting                                                                                                         $          33.00    Transportation expenses   Business
    [1]   Tuesday, August 10, 2010        Personal                       Greenwich Taxi Inc.             Taxi to Realogy meeting                                                                                                         $          38.00    Transportation expenses   Business
    [1]   Wednesday, August 11, 2010      Personal                       SILVET RSTR CORP                Dinner with the Commodities fundraising team while working late                                                                 $          78.00    Meals & Drinks            Personal
    [1]   Wednesday, August 11, 2010      Personal                       Greenwich Taxi Inc.             Taxi to Realogy meeting                                                                                                         $          33.00    Transportation expenses   Personal
    [1]   Wednesday, August 11, 2010      Personal                       Greenwich Taxi Inc.             Taxi to Realogy meeting                                                                                                         $          36.00    Transportation expenses   Personal
    [1]   Friday, August 13, 2010         Personal                       STARBUCKS CORPORATION           Snack while working late                                                                                                        $          24.00    Meals & Drinks            Personal
    [1]   Friday, August 13, 2010         Personal                       BLISS WORLD LLC                 Missed appointment at Bliss due to Metals conference call that ran over ‐ no last minute cancellations allowed                  $         275.00    Goods & Services          Personal
    [1]   Saturday, August 14, 2010       Personal                       SUTOL OPERATING CO LLC          Dinner with Gary Enzor, CEO of QDI to discuss recent results.                                                                   $         179.99    Meals & Drinks            Personal
    [1]   Sunday, August 15, 2010         Personal                       BARNES & NOBLE INC              Books for Realogy research                                                                                                      $          74.75    Goods & Services          Personal
    [1]   Sunday, August 15, 2010         Personal                       Ali Baba Restaurant             Dinner while working on weekend                                                                                                 $          26.67    Meals & Drinks            Personal
    [1]   Monday, August 16, 2010         Personal                       THESSABUL LLC                   Dinner with Commodities fundraising team while working late                                                                     $         113.23    Meals & Drinks            Personal
    [1]   Wednesday, August 18, 2010      Partial Business Expense       SWISS INT.                      Flight from Zurich to Madrid for Metals meetings                                                                                $         724.75    Travel ‐ Airfare          Personal
    [1]   Wednesday, August 18, 2010      Partial Business Expense       SWISS INT.                      Flight from Zurich to Madrid for Metals meetings                                                                                $         724.75    Travel ‐ Airfare          Personal
    [1]   Friday, August 20, 2010         Personal                       Hotel Maricel                   Tips at hotel in Barcelona for business meetings                                                                                $          11.00    Travel ‐ Hotel            Personal
    [1]   Saturday, August 21, 2010       Personal                       RESTAURANTE CABALLITO DE MAR    Dinner with Robert McPherson, CFO of Metals USA to discuss acquisitions while traveling                                         $         136.99    Meals & Drinks            Personal
    [1]   Sunday, August 22, 2010         Partial Business Expense       TRAVEL AGENCY SERVICE FEE                                                                                                                                       $          50.00    Miscellaneous             Personal
    [1]   Sunday, August 22, 2010         Partial Business Expense       IBERIA LINEAS AEREAS            Flight from Barcelona to Madrid for Metals meetings                                                                             $         113.00    Travel ‐ Airfare          Personal
    [1]   Sunday, August 22, 2010         Personal                       HOTEL MARICEL                   Hotel in Barcelona for Metals meetings                                                                                          $       1,832.90    Travel ‐ Hotel            Personal
    [1]   Tuesday, August 24, 2010        Partial Business Expense       AIRLINES RPRTING CORPTAF                                                                                                                                        $          45.00    Travel ‐ Airfare          Partial Business
    [1]   Tuesday, August 24, 2010        Partial Business Expense       CONTINENTAL AIRLINES            Flight from Madrid to NY after Metals meetings                                                                                  $       4,199.60    Travel ‐ Airfare          Partial Business
    [1]   Wednesday, August 25, 2010      Personal                       Republic                        Dinner while working late                                                                                                       $          18.00    Meals & Drinks            Personal
    [1]   Wednesday, August 25, 2010      Personal                       BBUA                            Taxi from airport in Madrid on business                                                                                         $          44.66    Transportation expenses   Personal
    [1]   Wednesday, August 25, 2010      Personal                       CAREY CORP                      Car service in Barcelona for Metals meetings                                                                                    $         201.07    Transportation expenses   Personal
    [1]   Wednesday, August 25, 2010      Personal                       HOTEL RITZ MADRID               Hotel in Madrid for Metals meetings                                                                                             $         324.09    Travel ‐ Hotel            Personal
    [1]   Friday, August 27, 2010         Personal                       TRAVEL AGENCY SERVICE FEE                                                                                                                                       $          50.00    Miscellaneous             Personal
    [1]   Friday, August 27, 2010         Personal                       CAREY CORP                      Car service in Madrid for Metals meetings                                                                                       $         132.93    Transportation expenses   Personal
    [1]   Friday, August 27, 2010         Personal                       CONTINENTAL AIRLINES            Flight from NY to Quebec for QDI meetings                                                                                       $          20.00    Travel ‐ Airfare          Personal
    [1]   Friday, August 27, 2010         Personal                       CONTINENTAL AIRLINES            Flight from NY to Quebec for QDI meetings                                                                                       $       2,334.66    Travel ‐ Airfare          Personal
    [1]   Saturday, August 28, 2010       Personal                       Diner                           Dinner while working on weekend                                                                                                 $          23.00    Meals & Drinks            Personal
    [1]   Saturday, August 28, 2010       Personal                       REST ST AMOUR INC               Dinner with Gary Enzor, CEO of QDI to discuss acquisitions                                                                      $         175.75    Meals & Drinks            Personal
    [1]   Sunday, August 29, 2010         Personal                       LAFAYETTE ST PARTNERS LLC       Drinks with Matthew Stopnik of UBS to discuss financing for Boart                                                               $          76.00    Meals & Drinks            Personal
    [1]   Monday, August 30, 2010         Personal                       LEGACY EF INC                   Hotel in Quebec for QDI meetings                                                                                                $         564.39    Travel ‐ Hotel            Personal
    [1]   Tuesday, August 31, 2010        Personal                       AMERICAN AIRLINES INC           Flight from NY to LA for Metals USA meetings                                                                                    $       5,333.40    Travel ‐ Airfare          Personal
    [1]   Tuesday, August 31, 2010        Personal                       TRAVEL AGENCY SERVICE FEE                                                                                                                                       $          50.00    Miscellaneous             Personal
    [1]   Tuesday, August 31, 2010        Personal                       TRAVEL AGENCY SERVICE FEE                                                                                                                                       $           2.00    Miscellaneous             Personal
    [1]   Thursday, September 09, 2010    Personal                       BARNES & NOBLE INC              Research books for QDI                                                                                                          $          42.51    Goods & Services          Personal
    [1]   Thursday, September 09, 2010    Personal                       LONDONER AT THE BEACH                                                                                                                                           $          80.00    Goods & Services          Personal
    [1]   Saturday, September 11, 2010    Personal                       CAL DEL                         New shoes that were ruined on a trip for Metals USA                                                                             $         433.51    Goods & Services          Personal
    [1]   Sunday, September 12, 2010      Personal                       In‐n‐Out Burger                 Meal while in CA for business meetings                                                                                          $          10.92    Meals & Drinks            Personal
    [1]   Monday, September 13, 2010      Personal                       BEACH TRADING CO INC            Printer supplies and toner                                                                                                      $         306.68    Goods & Services          Personal
    [1]   Tuesday, September 14, 2010     Personal                       STARBUCKS CORPORATION           Snack while working late                                                                                                        $          24.00    Meals & Drinks            Personal
    [1]   Tuesday, September 14, 2010     Personal                       VIRGIN AMERICA INC              Flight from JFK to Las Vegas for QDI meeting                                                                                    $         169.10    Travel ‐ Airfare          Personal
    [1]   Friday, September 17, 2010      Personal                       RUBYS UNITED LLC                Drinks with John Mirshikari, Joel Tillinghurst and Bob Bertelson of Fidelity to discuss QDI financing                           $          80.43    Meals & Drinks            Personal
    [1]   Saturday, September 18, 2010    Personal                       T‐BONE RESTAURANT LLC           Dinner with Matthew Stopnik of UBS to discuss Metals financing                                                                  $         188.49    Meals & Drinks            Personal
    [1]   Sunday, September 19, 2010      Personal                       CHELSEA HOSP PARTNERS LLC       Dinner with John Mirshikari, Joel Tillinghurst and Bob Bertelson of Fidelity to discuss QDI financing                           $         535.63    Meals & Drinks            Personal
    [1]   Sunday, September 19, 2010      Personal                       Big Daddy's Diner               Lunch while working on weekend                                                                                                  $          14.00    Meals & Drinks            Personal
    [1]   Wednesday, September 22, 2010   Personal                       MTA/NYC TRANSIT                 Metrocard for trips home while UN was in session and car service was bad                                                        $          24.00    Transportation expenses   Personal
    [1]   Saturday, September 25, 2010    Personal                       M. E. G. RESTAURANT ENTER       Drinks and appetizers with Paul Brunner of RockPool Capital to discuss financing                                                $         172.61    Meals & Drinks            Personal
    [1]   Saturday, September 25, 2010    Personal                       Saravanaa Bhavan                Dinner while working on weekend                                                                                                 $          19.00    Meals & Drinks            Personal
    [1]   Saturday, September 25, 2010    Personal                       Subway                          Lunch while working on weekend                                                                                                  $           5.55    Meals & Drinks            Personal
    [1]   Monday, September 27, 2010      Personal                       STARBUCKS CORPORATION           Refill of Starbucks card for coffee while working late during the week                                                          $          24.00    Meals & Drinks            Personal
    [1]   Monday, September 27, 2010      Personal                       POWER MAX                       Gift for Lourenco Goncalves, CEO of Metals USA for his son's college graduation. Ali was invited to the graduation and couldn't $         189.00
                                                                                                         go, so he sent an iPod.                                                                                                                             Goods & Services          Personal
    [1]   Monday, September 27, 2010      Personal                       Dos Toros                       Dinner while working late                                                                                                       $           9.00    Meals & Drinks            Personal
    [1]   Tuesday, September 28, 2010     Personal                       Haru                            Dinner while working late                                                                                                       $          37.00    Meals & Drinks            Personal
    [1]   Wednesday, September 29, 2010   Personal                       THESSABUL LLC                   Drinks with Matthew Stopnik of UBS to discuss Metals financing                                                                  $          62.82    Meals & Drinks            Personal
    [1]   Saturday, October 02, 2010      Personal                       Lenny's                         Dinner while working late                                                                                                       $          11.98    Meals & Drinks            Personal
    [1]   Sunday, October 03, 2010        Personal                       RATTAN INC                      Dinner with Metals USA team ‐ Rick Press and Rushin Shah to discuss acquisitions                                                $         118.30    Goods & Services          Personal
    [1]   Monday, October 04, 2010        Personal                       STARBUCKS CORPORATION           Refill of Starbucks card for coffee during the week while working late                                                          $          23.00    Meals & Drinks            Personal
    [1]   Wednesday, October 06, 2010     Personal                       XO RESTAURANT ASSOCIATES        Dinner with Lourenco Goncalves, CEO of Metals USA and Robert McPherson, CFO of Metals USA to discuss recent results             $         297.94    Meals & Drinks            Personal
    [1]   Friday, October 08, 2010        Partial Business Expense       AIRLINES RPRTING CORPTAF                                                                                                                                        $          45.00    Travel ‐ Airfare          Personal
    [1]   Friday, October 08, 2010        Partial Business Expense       TRAVEL AGENCY SERVICE FEE                                                                                                                                       $           2.00    Miscellaneous             Personal
    [1]   Friday, October 08, 2010        Personal                       Vegas‐Western Cab Inc.          Taxi to meeting while in Las Vegas for Metals USA                                                                               $          28.00    Transportation expenses   Personal
    [1]   Friday, October 08, 2010        Personal                       Desert Cab Inc.                 Taxi to meeting while in Las Vegas for Metals USA                                                                               $          32.00    Transportation expenses   Personal
    [1]   Friday, October 08, 2010        Personal                       ODS Chauferred Transportation   Taxi to meeting while in Las Vegas for Metals USA                                                                               $          32.00    Transportation expenses   Personal
    [1]   Friday, October 08, 2010        Partial Business Expense       AIRLINES RPRTING CORPTAF                                                                                                                                        $          45.00    Travel ‐ Airfare          Personal
    [1]   Friday, October 08, 2010        Personal                       SOUTHWEST AIRLINES              Flight from Las Vegas to LA for Metals meetings                                                                                 $         161.70    Travel ‐ Airfare          Personal
    [1]   Friday, October 08, 2010        Partial Business Expense       TRAVEL AGENCY SERVICE FEE                                                                                                                                       $          50.00    Miscellaneous             Personal
    [1]   Friday, October 08, 2010        Personal                       DELTA AIR LINES                 Flight from Salt Lake City to LA after Metals meeting                                                                           $         292.70    Travel ‐ Airfare          Credit/Refund
    [1]   Sunday, October 10, 2010        Personal                       TAXIPASS LASVEGAS               Taxi from airport to hotel in Las Vegas for Metals meetings                                                                     $          23.70    Transportation expenses   Personal
    [1]   Monday, October 11, 2010        Personal                       SOHO HOUSE WEST HOLLYWOOD       Lunch with Dave Hannah of Reliance Steel to discuss recent results                                                              $         108.20    Meals & Drinks            Personal
    [1]   Thursday, October 14, 2010      Personal                       DELTA AIR LINES                 Refund of flight from Salt Lake City to LA after Metals meeting                                                                 $        (292.70)   Travel ‐ Airfare          Credit/Refund
    [1]   Saturday, October 16, 2010      Personal                       STARBUCKS CORPORATION           Refill of Starbucks card for coffee while working late during the week                                                          $          23.00    Meals & Drinks            Personal
    [1]   Saturday, October 16, 2010      Personal                       Maialino                        Lunch while working in the office on weekend                                                                                    $          36.00    Meals & Drinks            Personal



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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                                                             Total: $    250,126.01
Colum     Date                           Expense Classification         Merchant                    Long Description                                                                                                               Tran. Amount            STOUT ‐ CATEGORY          STOUT ‐ CLASSIFICATION
n1
    [1]   Sunday, October 17, 2010       Personal                       PAREA GROUP LLC             Drinks with Larry Powers, Metals USA board member to discuss acquisitions                                                      $           50.00    Meals & Drinks            Personal
    [1]   Tuesday, October 19, 2010      Personal                       Greenwich Taxi Inc          Taxi to Realogy meeting                                                                                                        $           29.00    Transportation expenses   Personal
    [1]   Tuesday, October 19, 2010      Personal                       Greenwich Taxi Inc          Taxi from Realogy meeting                                                                                                      $           33.00    Transportation expenses   Personal
    [1]   Wednesday, October 20, 2010    Personal                       Sushi You                   Dinner with Gary Enzor, CEO and Joe Troy, CFO of QDI to discuss financing                                                      $          333.00    Meals & Drinks            Personal
    [1]   Friday, October 22, 2010       Personal                       FOOD 2 LEX LLC              Drinks with Gary Enzor, CEO; Steve Attwood, CFO; and Joe Troy of QDI to discuss refinancing                                    $          160.00    Meals & Drinks            Personal
    [1]   Saturday, October 23, 2010     Personal                       STARBUCKS CORPORATION       Coffee and meal while working late                                                                                             $           23.89    Meals & Drinks            Personal
    [1]   Tuesday, October 26, 2010      Personal                       FOODCRAFT LLC               Dinner with Gary Enzor, CEO of QDI to discuss the roadshow                                                                     $          195.00    Meals & Drinks            Business
    [1]   Friday, October 29, 2010       Personal                       THESSABUL LLC               Dinner with Steve Attwood, CFO of QDI to discuss the roadshow                                                                  $          138.00    Meals & Drinks            Personal
    [1]   Saturday, October 30, 2010     Personal                       STARBUCKS CORPORATION       Refill of Starbucks card for coffee while working late during the week                                                         $           24.00    Meals & Drinks            Personal
    [1]   Monday, November 01, 2010      Personal                       MARRIOTT GROSVENOR HOUSE    Drinks with Lourenco Goncalves, CEO of Metals USA to discuss financing while in London for commodities fundraising             $          127.09    Meals & Drinks            Personal
    [1]   Wednesday, November 03, 2010   Personal                       SUPERIOR RESTAURANT NYCLP   Drinks with Alex Perriello and Tony Hull of Realogy to discuss financing                                                       $          111.51    Meals & Drinks            Personal
    [1]   Friday, November 05, 2010      Personal                       AVENUE SPOON INC            Drinks and appetizers with Tony Hull of Realogy to discuss financing                                                           $          107.55    Meals & Drinks            Personal
    [1]   Thursday, November 11, 2010    Personal                       QING SHAN JU SRT SHOP       Lunch with Swiss Li of Apollo Asia while in China for commodities fundraising                                                  $          108.13    Meals & Drinks            Business
    [1]   Thursday, November 11, 2010    Personal                       QING SHAN JU SRT SHOP       Tea with Swiss Li of Apollo Asia while in China for commodities fundraising                                                    $           46.34    Meals & Drinks            Business
    [1]   Sunday, November 14, 2010      Personal                       1 PERRY STREET RESTAURANT   Drinks with Mike Schwartz of Skadden to discuss Realogy financing                                                              $           57.45    Meals & Drinks            Personal
    [1]   Monday, November 15, 2010      Personal                       Rohm                        Dinner while working late                                                                                                      $           20.00    Meals & Drinks            Personal
    [1]   Friday, November 19, 2010      Personal                       LUCYS RESTAURANT            Drinks with John Mirshekari from Fidelity to discuss QDI financing                                                             $          132.06    Meals & Drinks            Personal
    [1]   Saturday, November 20, 2010    Personal                       STARBUCKS CORPORATION       Coffee and snack while working on the weekend                                                                                  $           20.00    Meals & Drinks            Personal
    [1]   Tuesday, November 23, 2010     Personal                       TRAVEL AGENCY SERVICE FEE                                                                                                                                  $           50.00    Miscellaneous             Personal
    [1]   Tuesday, November 23, 2010     Personal                       HERSHA HOSP MNGMT LP        Dinner with Steve Attwood, CFO of QDI to discuss budget                                                                        $          118.15    Meals & Drinks            Personal
    [1]   Tuesday, November 23, 2010     Personal                       AMERICAN AIRLINES INC       Flight from NY to LA for Metals USA meetings                                                                                   $        2,674.70    Travel ‐ Airfare          Personal
    [1]   Tuesday, November 23, 2010     Personal                       TRAVEL AGENCY SERVICE FEE                                                                                                                                  $            2.00    Miscellaneous             Personal
    [1]   Saturday, November 27, 2010    Personal                       MONTAGE BEVERLY HILLS       Lunch with Andy Kieffer of UBS to discuss Metals USA financing                                                                 $           78.00    Meals & Drinks            Personal
    [1]   Monday, November 29, 2010      Personal                       Unknown                     Lunch bought when travelling for Asco meetings                                                                                 $           24.00    Meals & Drinks            Personal
    [1]   Saturday, December 04, 2010    Personal                       STARBUCKS 7540              Coffee while working late                                                                                                      $            1.52    Meals & Drinks            Personal
    [1]   Saturday, December 04, 2010    Personal                       STARBUCKS 7540              Coffee and snacks while working late                                                                                           $           20.00    Meals & Drinks            Personal
    [1]   Saturday, December 04, 2010    Personal                       UNION SQUARE CAFE CORP      Lunch with Tony Hull, CFO of Realogy to discuss financing                                                                      $           64.00    Meals & Drinks            Personal
    [1]   Sunday, December 05, 2010      Personal                       Laut                        Dinner while working late on QDI                                                                                               $           45.00    Meals & Drinks            Personal
    [1]   Monday, December 06, 2010      Personal                       Zen Palate                  Dinner with Metals USA Controller to discuss acquisitions                                                                      $          112.60    Meals & Drinks            Personal
    [1]   Tuesday, December 07, 2010     Partial Business Expense       Z CHEMISTS LLC              Passport photos for visa to Brazil and other upcoming trips for Metals USA                                                     $           99.38    Goods & Services          Personal
    [1]   Wednesday, December 08, 2010   Personal                       ALEJANDRO AND SONS          Dinner with the QDI deal team                                                                                                  $           90.00    Meals & Drinks            Personal
    [1]   Thursday, December 09, 2010    Personal                       STARBUCKS CORPORATION       Refill of Starbucks card for coffee for the week while working late                                                            $           22.00    Meals & Drinks            Personal
    [1]   Friday, December 10, 2010      Personal                       LAPAN SATU LAPAN INC        Dinner with the Aleris deal team                                                                                               $           89.30    Meals & Drinks            Personal
    [1]   Saturday, December 11, 2010    Personal                       Parking Garage              Parking garage for car used for meetings                                                                                       $           50.00    Transportation expenses   Personal
    [1]   Saturday, December 11, 2010    Personal                       LUCYS RESTAURANT            Dinner with Gary Enzor, CEO of QDI to discuss recent results                                                                   $          168.12    Meals & Drinks            Personal
    [1]   Thursday, December 16, 2010    Personal                       Laut                        Dinner while working late                                                                                                      $           20.00    Meals & Drinks            Business
    [1]   Friday, December 17, 2010      Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                   $           45.00    Travel ‐ Airfare          Personal
    [1]   Friday, December 17, 2010      Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                   $           45.00    Travel ‐ Airfare          Personal
    [1]   Friday, December 17, 2010      Personal                       UNITED AIRLINES             Flight from NY to LA for Metals USA meetings                                                                                   $        2,784.70    Travel ‐ Airfare          Personal
    [1]   Friday, December 17, 2010      Personal                       KOREAN AIRLINES INC         Flight from LA to Brazil for Metals USA meetings                                                                               $        7,222.00    Travel ‐ Airfare          Credit/Refund
    [1]   Friday, December 17, 2010      Personal                       STARBUCKS CORPORATION       Coffee and snacks while working late                                                                                           $           24.00    Meals & Drinks            Personal
    [1]   Saturday, December 18, 2010    Personal                       Diner                       Meal while working on weekend                                                                                                  $           14.00    Meals & Drinks            Personal
    [1]   Sunday, December 19, 2010      Personal                       Diner                       Meal while working on weekend                                                                                                  $           18.00    Meals & Drinks            Personal
    [1]   Monday, December 20, 2010      Personal                       Greenwich Taxi Inc.         Taxi from Realogy meeting                                                                                                      $           31.00    Transportation expenses   Business
    [1]   Monday, December 20, 2010      Personal                       Greenwich Taxi Inc.         Taxi to Realogy meeting                                                                                                        $           33.00    Transportation expenses   Business
    [1]   Tuesday, December 21, 2010     Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                   $           45.00    Travel ‐ Airfare          Personal
    [1]   Tuesday, December 21, 2010     Personal                       Greenwich Taxi Inc.         Taxi from Realogy meeting                                                                                                      $           35.00    Transportation expenses   Personal
    [1]   Tuesday, December 21, 2010     Personal                       Greenwich Taxi Inc.         Taxi to Realogy meeting                                                                                                        $           37.00    Transportation expenses   Personal
    [1]   Tuesday, December 21, 2010     Personal                       CALCRAFT,LLC                Lunch with Jeff Davidson to discuss QDI financing                                                                              $          158.99    Meals & Drinks            Personal
    [1]   Tuesday, December 21, 2010     Personal                       AMERICAN AIRLINES INC       Flight from Brazil to NY after Metals USA meetings                                                                             $        6,396.60    Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, December 23, 2010    Personal                       AMERICAN AIRLINES INC       AA Flight refunded                                                                                                             $       (6,396.60)   Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, December 23, 2010    Personal                       KOREAN AIRLINES INC         Refund for flight                                                                                                              $       (7,222.00)   Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, December 23, 2010    Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                   $           45.00    Travel ‐ Airfare          Personal
    [1]   Thursday, December 23, 2010    Personal                       UNITED AIRLINES                                                                                                                                            $           49.00    Travel ‐ Airfare          Personal
    [1]   Thursday, December 23, 2010    Personal                       555 EAST                    Realogy dinner meeting with Bruce Zipf                                                                                         $          168.99    Meals & Drinks            Personal
    [1]   Thursday, December 23, 2010    Personal                       UNITED AIRLINES             Credit for flight                                                                                                              $         (648.37)   Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, December 23, 2010    Personal                       UNITED AIRLINES             United Flight from LAX to Cancun, later cancelled and refunded                                                                 $          648.37    Travel ‐ Airfare          Credit/Refund
    [1]   Friday, December 24, 2010      Personal                       STAPLES 90                  Taxi from the office on holiday working on Realogy                                                                             $           20.90    Goods & Services          Personal
    [1]   Friday, December 24, 2010      Personal                       BARNES & NOBLE INC          Books and publications bought for research on Metals USA                                                                       $           72.53    Goods & Services          Personal
    [1]   Friday, December 24, 2010      Personal                       HOTEL FASANO                1 night stay in Hotel Fasano, Brazil, Metals trip was cancelled last minute, however charge occurred as per the cancellation   $          472.70
                                                                                                    policy                                                                                                                                              Travel ‐ Hotel            Personal
    [1]   Saturday, December 25, 2010    Personal                       CONTINENTAL AIRLINES        Contintental Flight from LAX to Cancun for Metals USA                                                                          $          773.87    Travel ‐ Airfare          Personal
    [1]   Sunday, December 26, 2010      Personal                       The Habit Burger Grill      Meal while working on holiday                                                                                                  $           17.89    Meals & Drinks            Personal
    [1]   Sunday, December 26, 2010      Personal                       AMERICAN AIRLINES INC       AA flight from Cancun to JFK for Metals USA meetings                                                                           $          870.15    Travel ‐ Airfare          Personal
    [1]   Tuesday, December 28, 2010     Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                   $           18.00    Travel ‐ Airfare          Personal
    [1]   Tuesday, December 28, 2010     Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                   $           18.00    Travel ‐ Airfare          Personal
    [1]   Wednesday, December 29, 2010   Personal                       AMERICAN AIRLINES INC                                                                                                                                      $           80.00    Travel ‐ Airfare          Personal
    [1]   Monday, January 03, 2011       Personal                       WEST VILLAGE OASIS INC      Dinner meeting with Gary Malin on Realogy                                                                                      $          168.80    Meals & Drinks            Personal
    [1]   Tuesday, January 04, 2011      Personal                       ALLIN Delivery              Meal working late on QDI                                                                                                       $           16.22    Meals & Drinks            Business
    [1]   Tuesday, January 04, 2011      Personal                       Burger Joint                Lunch with Bob Weinrich and Dan Henneke to discuss Metals USA results                                                          $           45.00    Meals & Drinks            Personal
    [1]   Wednesday, January 05, 2011    Personal                       Diner                       Meal while working late                                                                                                        $            6.00    Meals & Drinks            Personal
    [1]   Thursday, January 06, 2011     Personal                       Greenwich Taxi Inc          Taxi to meeting for Realogy                                                                                                    $           29.00    Transportation expenses   Business
    [1]   Saturday, January 08, 2011     Personal                       MINETTA LANE LLC            Brunch with Steve Attwood from QDI                                                                                             $          237.77    Meals & Drinks            Personal
    [1]   Saturday, January 08, 2011     Personal                       Diner                       Meal while working on weekend                                                                                                  $           19.73    Meals & Drinks            Personal
    [1]   Sunday, January 09, 2011       Personal                       STARBUCKS CORPORATION       Meal while working on weekend on Asco                                                                                          $           24.00    Meals & Drinks            Personal



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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                                                      Total: $      250,126.01
Colum     Date                           Expense Classification         Merchant                     Long Description                                                                                                         Tran. Amount           STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Monday, January 10, 2011       Personal                       MTA/NYC TRANSIT              Metrocard purchased for travel to various meetings in NYC                                                                $           20.00   Transportation expenses   Personal
    [1]   Wednesday, January 12, 2011    Personal                       ERMENEGILDO ZEGNABEV HLS     Gifts for senior executives at QDI, Metals USA, Aleris and Realogy                                                       $          600.00   Goods & Services          Personal
    [1]   Wednesday, January 12, 2011    Personal                       ERMENEGILDO ZEGNABEV HLS     Gifts for senior executives at QDI, Metals USA, Aleris and Realogy                                                       $          950.00   Goods & Services          Personal
    [1]   Wednesday, January 12, 2011    Personal                       ERMENEGILDO ZEGNABEV HLS     Gifts for senior executives at QDI, Metals USA, Aleris and Realogy                                                       $        1,100.00   Goods & Services          Personal
    [1]   Wednesday, January 12, 2011    Personal                       ERMENEGILDO ZEGNABEV HLS     Gifts for senior executives at QDI, Metals USA, Aleris and Realogy                                                       $        1,200.00   Goods & Services          Personal
    [1]   Thursday, January 13, 2011     Personal                       Laut                         Meal while working late                                                                                                  $           18.00   Meals & Drinks            Business
    [1]   Friday, January 14, 2011       Personal                       CRAFT LLC                    Metals USA dinner meeting with Geoff o'Malley                                                                            $          189.00   Meals & Drinks            Personal
    [1]   Sunday, January 16, 2011       Personal                       228 WEST 10TH ST LLC         Realogy dinner meeting wiht Art Robinson and Skadden                                                                     $          155.65   Meals & Drinks            Personal
    [1]   Tuesday, January 18, 2011      Personal                       Laut                         Meal while working late                                                                                                  $           40.00   Meals & Drinks            Personal
    [1]   Wednesday, January 19, 2011    Personal                       APPLE INC                    Gifts for senior executives at QDI and Realogy                                                                           $          200.00   Goods & Services          Personal
    [1]   Wednesday, January 19, 2011    Personal                       APPLE INC                    Gifts for senior executives at QDI and Realogy                                                                           $          200.00   Goods & Services          Personal
    [1]   Wednesday, January 19, 2011    Personal                       APPLE INC                    Gifts for senior executives at QDI and Realogy                                                                           $          200.00   Goods & Services          Personal
    [1]   Wednesday, January 19, 2011    Personal                       APPLE INC                    Gifts for senior executives at QDI and Realogy                                                                           $          200.00   Goods & Services          Personal
    [1]   Wednesday, January 19, 2011    Personal                       RIEU CAFE INC                Meal while working late on Welspun                                                                                       $            7.50   Meals & Drinks            Personal
    [1]   Thursday, January 20, 2011     Personal                       STARBUCKS CORPORATION        Meal while working late on Welspun                                                                                       $           23.43   Meals & Drinks            Personal
    [1]   Thursday, January 20, 2011     Personal                       Greenwich Taxi Inc           Taxi to meeting for Realogy                                                                                              $           25.00   Transportation expenses   Personal
    [1]   Friday, January 21, 2011       Personal                       AMERICAN AIRLINES INC        AA Flight from Newark to Miami for Metals USA meetings                                                                   $          338.70   Travel ‐ Airfare          Personal
    [1]   Saturday, January 22, 2011     Personal                       STARBUCKS 8557               Meal while working late on Metals USA                                                                                    $            2.38   Meals & Drinks            Personal
    [1]   Saturday, January 22, 2011     Personal                       STARBUCKS 8557               Meal while working late on QDI                                                                                           $           20.00   Meals & Drinks            Personal
    [1]   Saturday, January 22, 2011     Personal                       Louis Bar and Lounge         Meal ‐ Metals USA, Lourenco Gomcaver, Robert McPherson, Keith Koti, Dan Hendrick, Bob Weiner, Will Smith, Roger Kreton   $          786.01
                                                                                                                                                                                                                                                  Meals & Drinks            Personal
    [1]   Sunday, January 23, 2011       Personal                       JETBLUE AIRWAYS                                                                                                                                       $           35.00   Travel ‐ Airfare          Personal
    [1]   Sunday, January 23, 2011       Personal                       ALBERT FRAIS                 Taxi to airport for Metals USA meetings                                                                                  $           82.00   Transportation expenses   Personal
    [1]   Sunday, January 23, 2011       Personal                       JETBLUE AIRWAYS                                                                                                                                       $           40.00   Travel ‐ Airfare          Personal
    [1]   Sunday, January 23, 2011       Personal                       JETBLUE AIRWAYS              Jet Blue from Florida to LGA for Metals USA meetings                                                                     $          383.70   Travel ‐ Airfare          Personal
    [1]   Sunday, January 23, 2011       Personal                       SANDY LANE RSDNTL LLC        3 nights accommodation in Gansevoort Miami Beach Hotel for Metals USA meetings                                           $          811.95   Travel ‐ Hotel            Personal
    [1]   Wednesday, January 26, 2011    Personal                       FOOD 2 LEX LLC               Metals USA dinner with David Ellis                                                                                       $           62.89   Meals & Drinks            Personal
    [1]   Friday, January 28, 2011       Personal                       CERULEAN MANAGEMENT LLC      Realogy dinner with Don Casey and Seth Truwitt                                                                           $            8.62   Meals & Drinks            Personal
    [1]   Friday, January 28, 2011       Personal                       STARBUCKS CORPORATION        Meal while working late on Metals USA                                                                                    $           22.83   Meals & Drinks            Personal
    [1]   Friday, January 28, 2011       Personal                       CERULEAN MANAGEMENT LLC      Realogy dinner with Don Casey and Seth Truwitt                                                                           $          266.46   Meals & Drinks            Personal
    [1]   Sunday, January 30, 2011       Personal                       CRAFT LLC                    QDI dinner with Joe Troy                                                                                                 $          157.38   Meals & Drinks            Personal
    [1]   Monday, January 31, 2011       Personal                       NY CITY DEPT OF FINANCE      Parking ticket for car when waiting for QDI meeting to finish                                                            $           37.00   Miscellaneous             Personal
    [1]   Tuesday, February 01, 2011     Personal                       United Cabs                  Taxi to meetings in LA, for QDI                                                                                          $           36.00   Transportation expenses   Business
    [1]   Wednesday, February 02, 2011   Personal                       Cab Company                  Taxi to meetings in LA, for QDI                                                                                          $           36.00   Transportation expenses   Business
    [1]   Wednesday, February 02, 2011   Personal                       Liberty Cab                  Taxi to meetings in LA, for QDI                                                                                          $           28.00   Transportation expenses   Business
    [1]   Wednesday, February 02, 2011   Personal                       Cab Company                  Taxi to meetings in LA, for QDI                                                                                          $           26.00   Transportation expenses   Business
    [1]   Friday, February 04, 2011      Partial Business Expense       AMERICAN AIRLINES INC        AA Flight from LAX to JFK for commodities fundraising                                                                    $        2,660.25   Travel ‐ Airfare          Partial Business
    [1]   Friday, February 04, 2011      Personal                       Kerian Tobe                  Metals USA                                                                                                               $            5.00   Meals & Drinks            Personal
    [1]   Friday, February 04, 2011      Personal                       RITZ‐CARLTON HOTEL CO LLC    Metals USA ‐ drinks and dinner with David Hannah and Greg Mullins                                                        $          342.13   Travel ‐ Hotel            Personal
    [1]   Friday, February 04, 2011      Personal                       UMAMI BURGER LLC             Meal while travelling in LA for Metals USA meetings                                                                      $           62.14   Meals & Drinks            Personal
    [1]   Tuesday, February 08, 2011     Personal                       EL MONO/IRVING               QDI dinner meeting with Gold                                                                                             $          145.12   Meals & Drinks            Personal
    [1]   Wednesday, February 09, 2011   Personal                       Junior's Restaurant          Meal working late on Ascometal                                                                                           $            7.45   Meals & Drinks            Personal
    [1]   Thursday, February 10, 2011    Personal                       STARBUCKS CORPORATION        Meal while working late on Realogy                                                                                       $           21.00   Meals & Drinks            Personal
    [1]   Friday, February 11, 2011      Personal                       MADISON SQUARE GARDEN        Dinner with Dan Duyer on Metals USA                                                                                      $           18.00   Meals & Drinks            Personal
    [1]   Friday, February 11, 2011      Personal                       MADISON SQUARE GARDEN        Dinner with Dan Duyer on Metals USA                                                                                      $           13.00   Meals & Drinks            Personal
    [1]   Friday, February 11, 2011      Personal                       MADISON SQUARE GARDEN        Dinner with Dan Duyer on Metals USA                                                                                      $           12.00   Meals & Drinks            Personal
    [1]   Saturday, February 12, 2011    Personal                       A D WINE CORP                Realogy dinner with Tony Hull                                                                                            $          167.51   Meals & Drinks            Personal
    [1]   Tuesday, February 15, 2011     Partial Business Expense       AMERICAN AIRLINES INC        AA Flight from Las Vegas to LAX for commodities fundraising                                                              $          773.55   Travel ‐ Airfare          Partial Business
    [1]   Wednesday, February 16, 2011   Personal                       RED O MELROSE LLC            Dinner with Sean Stack for Commodities Fundraising                                                                       $          130.85   Meals & Drinks            Personal
    [1]   Thursday, February 17, 2011    Personal                       Dunkin Donuts                Meal taken whilst working late on Realogy                                                                                $            4.06   Meals & Drinks            Personal
    [1]   Thursday, February 17, 2011    Personal                       Mondrian Hotel South Beach   Hotel tips whilst staying in the Mondrian Hotel South Beach, Florida for Metals USA conference                           $            8.00   Travel ‐ Hotel            Business
    [1]   Saturday, February 19, 2011    Partial Business Expense       DELTA AIR LINES                                                                                                                                       $           25.00   Travel ‐ Airfare          Partial Business
    [1]   Saturday, February 19, 2011    Partial Business Expense       DELTA AIR LINES              Delta Flight from New Orleans to LGA for commodities fundraising                                                         $          562.70   Travel ‐ Airfare          Partial Business
    [1]   Saturday, February 19, 2011    Partial Business Expense       UNITED AIRLINES              United Airlines flight from LAX to New Orleans for Commodities Fundraising                                               $        1,130.70   Travel ‐ Airfare          Partial Business
    [1]   Sunday, February 20, 2011      Personal                       JAFFE REST LLC               Drinks with Walter Basco for QDI                                                                                         $           66.90   Meals & Drinks            Personal
    [1]   Monday, February 21, 2011      Personal                       RITZ‐CARLTON HOTEL CO LLC    1 night Ritz Carlton LA for commodities fundraising                                                                      $          355.14   Travel ‐ Hotel            Personal
    [1]   Monday, February 21, 2011      Personal                       STARBUCKS CORPORATION        Lunch while working on QDI on Presidents day                                                                             $           23.00   Meals & Drinks            Personal
    [1]   Monday, February 21, 2011      Personal                       CA ONE SERVICES INC          Taxi to office on holiday for work on Ascometal                                                                          $           18.06   Meals & Drinks            Personal
    [1]   Wednesday, February 23, 2011   Personal                       Greenwich Taxi Inc           Taxi to meeting for Realogy                                                                                              $           32.00   Transportation expenses   Business
    [1]   Wednesday, February 23, 2011   Personal                       Greenwich Taxi Inc           Taxi to meeting for Realogy                                                                                              $           34.00   Transportation expenses   Business
    [1]   Friday, February 25, 2011      Personal                       Indian Restaurant            Dinner whilst working late on Metals USA                                                                                 $           19.73   Meals & Drinks            Personal
    [1]   Saturday, February 26, 2011    Personal                       GANS‐MEX LLC                 QDI dinner with Gary Enzor, Steve Attwood and Joe Troy                                                                   $          404.57   Meals & Drinks            Personal
    [1]   Sunday, February 27, 2011      Personal                       SKY BAR ‐ MIAMI              Metals USA dinner with Keith Koci                                                                                        $          184.66   Meals & Drinks            Personal
    [1]   Wednesday, March 02, 2011      Personal                       PORTUGA REST GROUP LLC       Realogy dinner at Aldea with Tory Hill and Alicia Swift                                                                  $          368.00   Meals & Drinks            Personal
    [1]   Thursday, March 03, 2011       Personal                       STARBUCKS CORPORATION        Meal while working late on Realogy                                                                                       $           20.00   Meals & Drinks            Personal
    [1]   Saturday, March 05, 2011       Personal                       Oriental Garden              Meal working late on Ascometal                                                                                           $           35.83   Meals & Drinks            Personal
    [1]   Saturday, March 05, 2011       Personal                       ESPINDOLA RESTAURANTE CO     Realogy dinner meeting with Palto                                                                                        $          183.78   Meals & Drinks            Personal
    [1]   Tuesday, March 08, 2011        Personal                       BCRE GRAND RESTURANT LLC     Dinner with Hull on Realogy                                                                                              $          197.85   Meals & Drinks            Personal
    [1]   Thursday, March 10, 2011       Personal                       Central Market               Meal working late on Ascometal                                                                                           $            5.97   Meals & Drinks            Personal
    [1]   Monday, March 14, 2011         Personal                       Central Market               Meal working late on Ascometal                                                                                           $            5.97   Meals & Drinks            Personal
    [1]   Tuesday, March 15, 2011        Personal                       PATINA GROUP LLC             Taxi home for working late on Ascometal                                                                                  $           12.96   Transportation expenses   Personal
    [1]   Wednesday, March 16, 2011      Personal                       STARBUCKS CORPORATION        Meal while working late on QDI                                                                                           $           23.00   Meals & Drinks            Personal
    [1]   Friday, March 18, 2011         Personal                       VIRGIN ATLANTIC AIRWAYS      Roundtrip from JFK to London to Newark for Asco meetings in London                                                       $          694.50   Travel ‐ Airfare          Personal
    [1]   Saturday, March 19, 2011       Personal                       GROUPO BODEGA LLC            QDI dinner with Atwood                                                                                                   $          198.74   Meals & Drinks            Personal
    [1]   Saturday, March 19, 2011       Personal                       LUCYS RESTAURANT             Dinner with Seth Truwitt on Realogy                                                                                      $          171.54   Meals & Drinks            Personal



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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                                                             Total: $     250,126.01
Colum     Date                        Expense Classification           Merchant                       Long Description                                                                                                              Tran. Amount           STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Monday, March 21, 2011      Personal                         AMERICAN EXPRESS TKT FEE                                                                                                                                     $           39.00   Miscellaneous             Personal
    [1]   Tuesday, March 22, 2011     Personal                         SCODITTI CONSULTING GROUP      Dinner with Stack on Aleris                                                                                                   $           50.55   Meals & Drinks            Personal
    [1]   Wednesday, March 23, 2011   Personal                         Starbucks                      Lunch while travelling for Asco meetings in London                                                                            $           33.57   Meals & Drinks            Business
    [1]   Thursday, March 24, 2011    Personal                         BOOTS THE CHEMIST              Medication bought when travelling to India for Welspun meeings                                                                $           88.85   Goods & Services          Personal
    [1]   Friday, March 25, 2011      Personal                         COLBEH RESTAURANT LTD          Meal with Nussbaumwhilst travelling in London for Asco meetings                                                               $          135.13   Meals & Drinks            Partial Business
    [1]   Saturday, March 26, 2011    Personal                         OZER RESTAURANT                Lunch while travelling for Asco meetings in London                                                                            $           54.20   Meals & Drinks            Partial Business
    [1]   Saturday, March 26, 2011    Personal                         THE RED FORT                   Meal with Rouzar and Mosshie while travelling in London for Asco                                                              $          333.05   Meals & Drinks            Partial Business
    [1]   Sunday, March 27, 2011      Partial Business Expense         Fuel Bar                       Meal whilst travelling in London for ASCO                                                                                     $           54.40   Meals & Drinks            Partial Business
    [1]   Sunday, March 27, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $            9.72   Transportation expenses   Partial Business
    [1]   Sunday, March 27, 2011      Partial Business Expense         London Hotel                   Hotel tips whilst staying in London for Asco Meetings                                                                         $           23.00   Travel ‐ Hotel            Partial Business
    [1]   Sunday, March 27, 2011      Partial Business Expense         Elegance Cars                  Taxi to meetings in London for Asco                                                                                           $           21.06   Transportation expenses   Partial Business
    [1]   Sunday, March 27, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meeting regarding ASCO                                                                                                $           17.82   Transportation expenses   Partial Business
    [1]   Sunday, March 27, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           11.34   Transportation expenses   Partial Business
    [1]   Sunday, March 27, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           10.53   Transportation expenses   Partial Business
    [1]   Sunday, March 27, 2011      Personal                         HAKKASAN                       Dinner with Goncalve and Tellman on Asco                                                                                      $          345.08   Meals & Drinks            Partial Business
    [1]   Monday, March 28, 2011      Partial Business Expense         Licensed London Taxi           Licensed London taxi                                                                                                          $           16.20   Transportation expenses   Partial Business
    [1]   Monday, March 28, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meeting regarding ASCO                                                                                                $           12.15   Transportation expenses   Partial Business
    [1]   Monday, March 28, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           19.44   Transportation expenses   Partial Business
    [1]   Monday, March 28, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           13.77   Transportation expenses   Partial Business
    [1]   Monday, March 28, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $            8.00   Transportation expenses   Partial Business
    [1]   Monday, March 28, 2011      Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           17.82   Transportation expenses   Partial Business
    [1]   Monday, March 28, 2011      Partial Business Expense         Neptune Taxis                  Taxi to meeting regarding ASCO                                                                                                $           12.15   Transportation expenses   Partial Business
    [1]   Monday, March 28, 2011      Personal                         HARRODS LIMITED.               Lunch while travelling for Asco meetings in London                                                                            $           49.29   Meals & Drinks            Partial Business
    [1]   Monday, March 28, 2011      Personal                         Selfridges                     Meal whilst travelling in London for ASCO                                                                                     $           13.29   Meals & Drinks            Partial Business
    [1]   Tuesday, March 29, 2011     Partial Business Expense         LANGHAM HOTEL, LONDON          3 nights stay in the Langham, London for Asco meetings                                                                        $        5,279.49   Travel ‐ Hotel            Partial Business
    [1]   Tuesday, March 29, 2011     Partial Business Expense         Licensed London Taxi           Taxi to meeting regarding ASCO                                                                                                $            9.72   Transportation expenses   Partial Business
    [1]   Tuesday, March 29, 2011     Partial Business Expense         Licensed London Taxi           Taxi to meeting regarding ASCO                                                                                                $           17.82   Transportation expenses   Partial Business
    [1]   Tuesday, March 29, 2011     Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           11.00   Transportation expenses   Partial Business
    [1]   Tuesday, March 29, 2011     Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           11.34   Transportation expenses   Partial Business
    [1]   Tuesday, March 29, 2011     Partial Business Expense         Licensed London Taxi           Taxi to meetings in London for Asco                                                                                           $           12.96   Transportation expenses   Partial Business
    [1]   Thursday, March 31, 2011    Personal                         STARBUCKS CORPORATION          Meal while working late on QDI                                                                                                $           23.00   Meals & Drinks            Personal
    [1]   Friday, April 01, 2011      Personal                         DON NYC. INC                   QDI dinner meeting with Enzor                                                                                                 $          216.19   Meals & Drinks            Personal
    [1]   Tuesday, April 05, 2011     Partial Business Expense         LANGHAM HOTEL, LONDON          Meal while traveling in London for Asco meetings                                                                              $          175.22   Travel ‐ Hotel            Partial Business
    [1]   Thursday, April 07, 2011    Personal                         STARBUCKS CORPORATION          Meal whilst working late on Asco                                                                                              $           23.00   Meals & Drinks            Personal
    [1]   Friday, April 08, 2011      Personal                         PQ BROADWAY INC                Lunch Board Meting with McPherson on Metals USA                                                                               $           31.51   Meals & Drinks            Personal
    [1]   Sunday, April 10, 2011      Personal                         CAFE NACIONAL                  Dinner with Gonrdres on Welspun                                                                                               $          186.01   Meals & Drinks            Personal
    [1]   Thursday, April 14, 2011    Personal                         Greenwich Taxi Inc             Taxi to Realogy meetings                                                                                                      $           38.00   Transportation expenses   Partial Business
    [1]   Sunday, April 17, 2011      Personal                         AZA MENS                       Meal while travelling in Mumbai for Welspun meetings                                                                          $          535.92   Goods & Services          Personal
    [1]   Sunday, April 17, 2011      Personal                         RITU KUMAR                     Meal while travelling in Mumbai for Welspun meetings                                                                          $          495.41   Goods & Services          Personal
    [1]   Sunday, April 17, 2011      Personal                         LA Hotel                       Hotel tips whilst staying in LA for Commodities Fundraising                                                                   $            7.00   Travel ‐ Hotel            Partial Business
    [1]   Tuesday, April 19, 2011     Personal                         Greenwich Taxi Inc             Taxi to Welspun meetings                                                                                                      $           34.00   Transportation expenses   Partial Business
    [1]   Friday, April 29, 2011      Personal                         Greenwich Taxi Inc             Taxi to Realogy meetings                                                                                                      $           33.00   Transportation expenses   Personal
    [1]   Tuesday, May 10, 2011       Personal                         Greenwich Taxi Inc             Taxi to Realogy meetings                                                                                                      $           36.00   Transportation expenses   Business
    [1]   Thursday, May 19, 2011      Personal                         Greenwich Taxi Inc             Taxi to Realogy meetings                                                                                                      $           41.00   Transportation expenses   Business
    [1]   Thursday, May 26, 2011      Personal                         Greenwich Taxi Inc             Taxi to Realogy meetings                                                                                                      $           37.00   Transportation expenses   Business
    [1]   Saturday, May 28, 2011      Personal                         Shalimar Sweets Restaurant     Dinner with Tony Hull from Realogy                                                                                            $           62.86   Meals & Drinks            Personal
    [1]   Tuesday, May 31, 2011       Personal (prev. paid back)       ANNUAL MEMBERSHIP FEE          Personal                                                                                                                      $          395.00   Miscellaneous             Personal
    [1]   Tuesday, June 07, 2011      Personal                         Greenwich Taxi                 Taxi to Realogy meeting                                                                                                       $           38.00   Transportation expenses   Personal
    [1]   Thursday, June 09, 2011     Personal                         Greenwich Taxi                 Taxi to Realogy meeting                                                                                                       $           43.00   Transportation expenses   Personal
    [1]   Friday, June 10, 2011       Personal                         Greenwich Taxi                 Taxi to Realogy meeting                                                                                                       $           39.00   Transportation expenses   Personal
    [1]   Friday, June 10, 2011       Personal                         LENNYS                         Employee meal taken whilst working late on Asco                                                                               $           14.64   Meals & Drinks            Personal
    [1]   Saturday, June 18, 2011     Personal                         Personal Trainer               Personal training session was cancelled due to a conference call which overran. Due to timing the trainer was not cancelled   $          125.00
                                                                                                      and the full amount of the session had to be paid.                                                                                                Goods & Services          Personal
    [1]   Monday, June 20, 2011       Personal                         unknown                        Postage for Pakistani visa                                                                                                    $           32.00   Miscellaneous             Personal
    [1]   Monday, June 20, 2011       Personal                         Consulate Gen of Pakistan      Cost of acquiring Pakistani visa required for business travel                                                                 $          123.00   Miscellaneous             Personal
    [1]   Monday, June 20, 2011       Personal                         Imperial Parking               Taxi to Realogy meeting                                                                                                       $            6.00   Transportation expenses   Personal
    [1]   Tuesday, June 21, 2011      Personal                         Greenwich Taxi                 Taxi to Realogy meeting                                                                                                       $           35.00   Transportation expenses   Personal
    [1]   Wednesday, June 29, 2011    Personal                         big apple                      Taxi to Asco                                                                                                                  $            8.50   Transportation expenses   Business
    [1]   Thursday, July 07, 2011     Personal                         In n Out burger                Lunch                                                                                                                         $           18.71   Meals & Drinks            Personal
    [1]   Thursday, July 07, 2011     Personal                         Lawry's Carvery                Lunch ‐ Alderon                                                                                                               $           13.58   Meals & Drinks            Personal
    [1]   Thursday, July 07, 2011     Personal                         Panera Bread                   Lunch                                                                                                                         $            5.35   Meals & Drinks            Personal
    [1]   Friday, July 08, 2011       Personal                         San Francisco parking garage   Parking garage                                                                                                                $           21.00   Transportation expenses   Personal
    [1]   Wednesday, July 13, 2011    Personal                         golden gate bridge             Golden gate bridge toll                                                                                                       $            6.00   Transportation expenses   Personal
    [1]   Wednesday, July 13, 2011    Personal                         Gwich taxi                     Taxi to Gwich BofA meeting                                                                                                    $           36.00   Transportation expenses   Personal
    [1]   Wednesday, July 13, 2011    Personal                         big apple                      Cab to BofA                                                                                                                   $           10.00   Transportation expenses   Personal
    [1]   Thursday, July 14, 2011     Personal                         big apple                      Cab to JPM                                                                                                                    $           10.00   Transportation expenses   Business
    [1]   Saturday, July 16, 2011     Personal                         Acqua beauty bar               Appointment at Acqua Beauty Bar that was missed due to an Alderon call                                                        $          209.00   Goods & Services          Personal
    [1]   Saturday, July 16, 2011     Personal                         big apple                      Cab to Novocento to meet client                                                                                               $            9.00   Transportation expenses   Personal
    [1]   Monday, July 18, 2011       Personal                         Juniors Restaurant             Lunch                                                                                                                         $            5.78   Meals & Drinks            Personal
    [1]   Friday, July 22, 2011       Personal                         3417972 CANADA INC             Lunch with Tom Larsen at Labrador                                                                                             $          110.42   Meals & Drinks            Personal
    [1]   Friday, July 22, 2011       Personal                         AU BON PAIN HARVARD VNGRD      Lunch‐Labrador                                                                                                                $           11.94   Meals & Drinks            Personal
    [1]   Friday, July 22, 2011       Personal                         L J C DEVELOPMENT CORP         one night lodging in Montreal to meet with Labrador                                                                           $          325.20   Travel ‐ Hotel            Personal
    [1]   Friday, July 22, 2011       Personal                         L J C DEVELOPMENT CORP         one night lodging in Montreal to meet with Labrador ‐ room tax                                                                $           58.25   Travel ‐ Hotel            Personal
    [1]   Saturday, July 23, 2011     Personal                         L J C DEVELOPMENT CORP         one night lodging in Montreal to meet with Labrador ‐ room tax                                                                $           58.26   Travel ‐ Hotel            Personal
    [1]   Saturday, July 23, 2011     Personal                         L J C DEVELOPMENT CORP         one night lodging in Montreal to meet with Labrador                                                                           $          325.21   Travel ‐ Hotel            Personal



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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                       Total: $    250,126.01
Colum     Date                            Expense Classification           Merchant                                  Long Description                                                        Tran. Amount            STOUT ‐ CATEGORY          STOUT ‐ CLASSIFICATION
n1
    [1]   Saturday, July 23, 2011         Personal                         ERMENEGILDO ZEGNABEV HLS                  Personal purchase.                                                      $          485.00    Goods & Services          Personal
    [1]   Saturday, July 23, 2011         Personal                         ERMENEGILDO ZEGNABEV HLS                  Bought shoes to replace shoes ruined on a site visit.                   $          485.00    Goods & Services          Personal
    [1]   Saturday, July 23, 2011         Personal                         Greenwich Taxi                            Cab to site visit                                                       $          105.00    Transportation expenses   Personal
    [1]   Saturday, July 23, 2011         Personal                         San Francisco parking garage              Garage parking‐Montreal                                                 $           23.00    Transportation expenses   Personal
    [1]   Tuesday, July 26, 2011          Personal                         Maialino restaurant                       Lunch‐Metals                                                            $           29.00    Meals & Drinks            Personal
    [1]   Thursday, July 28, 2011         Personal                         Greenwich Taxi                            Meeting                                                                 $           38.00    Transportation expenses   Personal
    [1]   Thursday, July 28, 2011         Personal                         XO RESTAURANT ASSOCIATES,                 Drinks with seagall ‐ Welspun                                           $          150.00    Meals & Drinks            Personal
    [1]   Friday, July 29, 2011           Personal                         LE PAIN QUOTIDIEN                         Lunch                                                                   $            5.17    Meals & Drinks            Personal
    [1]   Saturday, July 30, 2011         Personal                         GFB RESTAURANT CORP                       Dinner with Enzor ‐ QDI                                                 $          198.75    Meals & Drinks            Personal
    [1]   Sunday, July 31, 2011           Personal                         FISHTANK OPERATING INC                    Lunch with Feltman ‐ Asco                                               $          131.05    Meals & Drinks            Personal
    [1]   Tuesday, August 02, 2011        Personal                         SSP AMERICA INC                           Dinner                                                                  $           30.40    Meals & Drinks            Personal
    [1]   Tuesday, August 02, 2011        Personal                         VIRGIN AMERICA INC                        JFK to SFO ‐ Metals USA                                                 $        1,886.00    Travel ‐ Airfare          Personal
    [1]   Thursday, August 04, 2011       Personal                         Green Cab                                 Meeting                                                                 $            6.00    Transportation expenses   Personal
    [1]   Friday, August 05, 2011         Personal                         STARBUCKS 5836                            Lunch                                                                   $           26.80    Meals & Drinks            Personal
    [1]   Monday, August 08, 2011         Personal                         AMERICAN AIRLINES INC                                                                                             $           25.00    Travel ‐ Airfare          Personal
    [1]   Monday, August 08, 2011         Personal                         AMERICAN AIRLINES INC                     Trip to Dusseldorf, various meetings                                    $        3,417.38    Travel ‐ Airfare          Personal
    [1]   Monday, August 08, 2011         Personal                         MISSION & STUART HOTEL PA                 Dinner with Keilho and Kohl ‐ Metals                                    $          342.35    Travel ‐ Hotel            Personal
    [1]   Tuesday, August 09, 2011        Personal                         CONTINENTAL AIRLINES                                                                                              $           50.00    Travel ‐ Airfare          Personal
    [1]   Wednesday, August 10, 2011      Personal                         CONTINENTAL AIRLINES                      Electronic ticket                                                       $            2.50    Travel ‐ Airfare          Personal
    [1]   Saturday, August 13, 2011       Personal                         PEI MUSSEL KITCHEN LLC                    Drinks with Ferdman ‐ Asco                                              $           56.18    Meals & Drinks            Personal
    [1]   Sunday, August 14, 2011         Personal                         Hale and Hearty                           Lunch                                                                   $            9.99    Meals & Drinks            Personal
    [1]   Monday, August 15, 2011         Personal                         CREDIT PENDING INVESTIGATION OF DISPUTE   Investigating charge                                                    $         (395.00)   Miscellaneous             Personal
    [1]   Tuesday, August 16, 2011        Personal                         FIG & OLIVE THIRTEEN STRE                 Dinner with Beddows and Vaughn ‐ Welspun                                $          265.09    Meals & Drinks            Personal
    [1]   Wednesday, August 17, 2011      Personal                         APPLE INC                                 Antoine Vermersch, Franck Bazus                                         $           17.42    Goods & Services          Personal
    [1]   Wednesday, August 17, 2011      Personal                         APPLE INC                                 Apple gifts ‐ Pascal Nerbonne, Bertrand Rose                            $        1,000.00    Goods & Services          Personal
    [1]   Wednesday, August 17, 2011      Personal                         APPLE INC                                 Marcel‐Luc Bromberger, Jacques Coet, Paolo Falcone                      $        1,000.00    Goods & Services          Personal
    [1]   Wednesday, August 17, 2011      Personal                         APPLE INC                                 Michel Larrecq, Frank Dourlens, Laure Bevierre, Pascal Philippe         $          200.00    Goods & Services          Personal
    [1]   Wednesday, August 17, 2011      Personal                         APPLE INC                                 Philippe Cruiziat                                                       $           17.42    Goods & Services          Personal
    [1]   Sunday, August 21, 2011         Personal                         BARNES & NOBLE INC                        Books for clients                                                       $           59.31    Goods & Services          Personal
    [1]   Sunday, August 21, 2011         Personal                         hotel taxes                               Hotel snack                                                             $            7.00    Travel ‐ Hotel            Personal
    [1]   Monday, August 22, 2011         Personal                         KOSUGI RESTAURANT GROUP I                 Dinner with Smith ‐ Realogy                                             $          192.00    Meals & Drinks            Personal
    [1]   Tuesday, August 23, 2011        Personal                         Number 7 Sub                              Lunch                                                                   $           19.60    Meals & Drinks            Personal
    [1]   Tuesday, August 23, 2011        Personal                         THESSABUL LLC                             Drinks with Bharti ‐ Welspun                                            $          127.00    Meals & Drinks            Personal
    [1]   Tuesday, August 23, 2011        Personal                         TLC                                       Taxi home                                                               $            8.00    Transportation expenses   Personal
    [1]   Wednesday, August 24, 2011      Personal                         TLC                                       Taxi home                                                               $            9.00    Transportation expenses   Personal
    [1]   Wednesday, August 24, 2011      Personal                         TLC                                       Taxi home                                                               $            9.00    Transportation expenses   Personal
    [1]   Monday, August 29, 2011         Personal                         LGA AIRPORT RESTAURANTS                   Airport meal for Ascometal trip                                         $           22.17    Meals & Drinks            Personal
    [1]   Monday, August 29, 2011         Personal                         COSTCO GAS 9300476                        Gas in CA for QDI meeting                                               $           37.99    Transportation expenses   Personal
    [1]   Monday, August 29, 2011         Personal                         STAPLES 90                                Prnter toner cartridge ‐ Ascometal                                      $          116.66    Goods & Services          Personal
    [1]   Thursday, September 01, 2011    Personal                         PROVIDENCE REST MGMNT LLC                 Dinner for QDI ‐ Enzor, Troy                                            $          311.00    Meals & Drinks            Personal
    [1]   Friday, September 02, 2011      Personal                         COSTCO GAS 9300476                        Gas for car for QDI trip                                                $           55.51    Transportation expenses   Personal
    [1]   Saturday, September 03, 2011    Personal                         Original pancake House                    meal in CA                                                              $           46.09    Meals & Drinks            Personal
    [1]   Sunday, September 04, 2011      Personal                         BRISTOL FARMS INC                         meal while traveling for QDI                                            $           63.51    Goods & Services          Personal
    [1]   Tuesday, September 06, 2011     Personal                         Greenwich Taxi Inc                        Taxi home                                                               $           10.00    Transportation expenses   Personal
    [1]   Wednesday, September 07, 2011   Personal (prev. paid back)       REBILLING OF OUR PREV. ISSUED CREDIT      Annual charge                                                           $          395.00    Miscellaneous             Personal
    [1]   Friday, September 09, 2011      Personal                         STARBUCKS CORPORATION                     realogy                                                                 $           15.00    Meals & Drinks            Personal
    [1]   Saturday, September 10, 2011    Personal                         LEVY RESTAURANT                           Taxi to Realogy meeting                                                 $           29.00    Meals & Drinks            Personal
    [1]   Tuesday, September 13, 2011     Personal                         ABG STANDARD OPERATOR                     Dinner with Guillermo Vogel RE Welspun                                  $          200.35    Meals & Drinks            Personal
    [1]   Saturday, September 17, 2011    Personal                         205 E 75TH ST LLC                         Lunch with Gordon Moodie for Ascometal                                  $           90.00    Meals & Drinks            Personal
    [1]   Saturday, September 17, 2011    Personal                         CITIZEN ARTS CLUB INC                     Drinks with Balak Hirsran RE Welspun                                    $          110.00    Miscellaneous             Personal
    [1]   Tuesday, September 20, 2011     Personal                         Park and Lock                             parking at office                                                       $           16.00    Transportation expenses   Business
    [1]   Saturday, September 24, 2011    Personal                         LUCKY 13 LLC                              Dinner while working on Ascometal                                       $          110.36    Meals & Drinks            Personal
    [1]   Wednesday, September 28, 2011   Personal                         RATTAN INC                                business meal for ascometals                                            $          132.96    Goods & Services          Personal
    [1]   Thursday, September 29, 2011    Personal                         Izakaya Ten                               Meal                                                                    $          229.62    Meals & Drinks            Personal
    [1]   Thursday, September 29, 2011    personal                         Peter Luger                               Meal                                                                    $          360.00    Meals & Drinks            Personal
    [1]   Wednesday, October 05, 2011     Personal                         NOBU 57 LLC                               dinner while working on ascometals                                      $           49.00    Meals & Drinks            Personal
    [1]   Monday, October 10, 2011        Personal                         Joy Restauant                             meal working late                                                       $           20.00    Meals & Drinks            Personal
    [1]   Monday, October 10, 2011        Personal                         EQUIVASHELL CAT                           gas for trip to Realogy meeting                                         $           51.98    Transportation expenses   Personal
    [1]   Monday, October 10, 2011        Personal                         HERTZ CORPORATION                         car rental for ascometals meeting at CEO's                              $          341.60    Transportation expenses   Personal
    [1]   Monday, October 10, 2011        Personal                         Imperial Garden                           meal working late                                                       $           33.00    Meals & Drinks            Personal
    [1]   Monday, October 10, 2011        Personal                         Kabab King                                Meal                                                                    $           79.62    Meals & Drinks            Personal
    [1]   Monday, October 10, 2011        Personal                         Kati Roll                                 meal working late                                                       $           52.00    Meals & Drinks            Personal
    [1]   Saturday, October 15, 2011      Personal                         50 CARMINE RESTAURANT ASS                 business dinner for ascometals                                          $          124.90    Meals & Drinks            Personal
    [1]   Sunday, October 16, 2011        Personal                         ATS CONSOLIDATED INC                      parking for ascometals meeting                                          $           21.85    Transportation expenses   Personal
    [1]   Thursday, October 20, 2011      Personal                         CRAFTSTEAK NY, LLC                        business dinner for ascometals                                          $          230.98    Meals & Drinks            Personal
    [1]   Thursday, October 20, 2011      Personal                         STARBUCKS CORPORATION                     coffee while working on ascometals                                      $           17.52    Meals & Drinks            Personal
    [1]   Thursday, October 20, 2011      Personal                         UNITED AIRLINES                           flight charge for Ascometals trip                                       $        3,165.70    Travel ‐ Airfare          Personal
    [1]   Saturday, October 22, 2011      Personal                         PPQ INC                                   dinner in CA for Ascometals trip                                        $          246.36    Meals & Drinks            Personal
    [1]   Saturday, October 22, 2011      Personal                         HMS HOST CORP                             coffee in CA for Ascometals trip                                        $            4.79    Meals & Drinks            Personal
    [1]   Sunday, October 23, 2011        Personal                         CA Taxi                                   taxi in San Francisco for Realogy meeting                               $           29.00    Transportation expenses   Personal
    [1]   Sunday, October 23, 2011        Personal                         GOTHAM ENTERPRISES LLC                    snack in CA for Ascometals trip                                         $            8.03    Meals & Drinks            Personal
    [1]   Monday, October 24, 2011        Personal                         CAREY INTERNATIONAL, INC.                 car service in CA for Ascometals trip                                   $          131.92    Transportation expenses   Personal
    [1]   Monday, October 24, 2011        Personal                         RED O MELROSE LLC                         dinner in CA for Ascometals trip                                        $          156.85    Meals & Drinks            Personal
    [1]   Tuesday, October 25, 2011       Personal                         AULLA LLC                                 dinner in CA for Ascometals trip                                        $          155.85    Meals & Drinks            Personal
    [1]   Tuesday, October 25, 2011       Personal                         COFFEE BEAN #230                          coffee in CA for Ascometals                                             $            3.55    Meals & Drinks            Personal


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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                Total: $    250,126.01
Colum     Date                           Expense Classification           Merchant                    Long Description                                                Tran. Amount            STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Wednesday, October 26, 2011    Personal                         MR CHOW ENTERPRISES LTD     business dinner in CA for Ascometals                            $          245.89    Meals & Drinks            Personal
    [1]   Wednesday, October 26, 2011    Personal                         COFFEE BEAN #230            coffee in CA for Ascometals                                     $            3.55    Meals & Drinks            Personal
    [1]   Friday, October 28, 2011       Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for QDI meeting                               $           45.00    Travel ‐ Airfare          Personal
    [1]   Friday, October 28, 2011       Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for QDI meeting                               $           45.00    Travel ‐ Airfare          Personal
    [1]   Friday, October 28, 2011       Personal                         AMERICAN AIRLINES INC       flight to CA for QDI meeting                                    $          921.75    Travel ‐ Airfare          Personal
    [1]   Friday, October 28, 2011       Personal                         BARNES & NOBLE INC          reading materials for QDI trip in ca                            $           25.49    Goods & Services          Personal
    [1]   Friday, October 28, 2011       Personal                         COFFEE BEAN & TEA LEAF 41   coffee in ca for QDI meeting                                    $           10.40    Meals & Drinks            Personal
    [1]   Saturday, October 29, 2011     Personal                         CONOCO PHILLIPS             gas in ca for metals usa trip                                   $           56.91    Transportation expenses   Personal
    [1]   Sunday, October 30, 2011       Personal                         AMERICAN AIRLINES INC       airline charge for metals usa trip                              $           25.00    Travel ‐ Airfare          Personal
    [1]   Tuesday, November 01, 2011     Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for metals usa trip                           $           18.00    Travel ‐ Airfare          Personal
    [1]   Wednesday, November 02, 2011   Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for metals usa trip                           $           45.00    Travel ‐ Airfare          Personal
    [1]   Thursday, November 03, 2011    Personal                         2201 COLLINS NIGHTCLUB MA   drinks in miami for metals usa meeting                          $          110.84    Miscellaneous             Personal
    [1]   Thursday, November 03, 2011    Personal                         FONTAINEBLEAU RESORTS       dinner in miami for metals usa meeting                          $          143.09    Meals & Drinks            Personal
    [1]   Thursday, November 03, 2011    Personal                         PQ BROADWAY INC             breakfast while working on metals usa meeting                   $            7.62    Meals & Drinks            Personal
    [1]   Thursday, November 03, 2011    Personal                         VII MP MIAMI HOTEL OWNER    hotel in miami for metals usa trip                              $          425.00    Travel ‐ Hotel            Personal
    [1]   Thursday, November 03, 2011    Personal                         VII MP MIAMI HOTEL OWNER    hotel in miami for metals usa trip                              $           93.97    Travel ‐ Hotel            Personal
    [1]   Friday, November 04, 2011      Personal                         VII MP MIAMI HOTEL OWNER    hotel in miami for metals usa trip                              $          425.00    Travel ‐ Hotel            Personal
    [1]   Friday, November 04, 2011      Personal                         VII MP MIAMI HOTEL OWNER    hotel in miami for metals usa trip                              $           93.97    Travel ‐ Hotel            Personal
    [1]   Friday, November 04, 2011      Personal                         MDM BRICKELL HOTEL GROUP    snack in miami for metals usa meeting                           $           11.40    Meals & Drinks            Personal
    [1]   Saturday, November 05, 2011    Personal                         VII MP MIAMI HOTEL OWNER    hotel in miami for metals usa trip                              $          425.00    Travel ‐ Hotel            Personal
    [1]   Saturday, November 05, 2011    Personal                         VII MP MIAMI HOTEL OWNER    hotel in miami for metals usa trip                              $           93.97    Travel ‐ Hotel            Personal
    [1]   Sunday, November 06, 2011      Personal                         CA ONE SERVICES INC         snack in fl for metals usa trip                                 $            6.97    Meals & Drinks            Personal
    [1]   Sunday, November 06, 2011      Personal                         VII MP MIAMI HOTEL OWNER    Hotel Wizard: Parent                                            $            0.01    Travel ‐ Hotel            Personal
    [1]   Tuesday, November 08, 2011     Personal                         ABDUL M CHOWDHURY IT32      Taxi to Realogy meeting                                         $           11.60    Transportation expenses   Business
    [1]   Wednesday, November 09, 2011   Personal                         ALL TAXI MANAGEMENT INC     Taxi to Realogy meeting                                         $           12.40    Transportation expenses   Business
    [1]   Friday, November 11, 2011      Personal (prev. paid back)       GRUPO LATINO LLC            dinner while working on Realogy                                 $          265.81    Meals & Drinks            Personal
    [1]   Friday, November 11, 2011      Personal                         PACHANGA INC                coffee while working on asco metals                             $           23.75    Meals & Drinks            Personal
    [1]   Sunday, November 13, 2011      Personal                         KangSuh                     dinner in ny for realogy                                        $           38.00    Meals & Drinks            Personal
    [1]   Sunday, November 13, 2011      Personal                         Florida Hotel Tips          hotel tips for ascometals trip                                  $            9.00    Travel ‐ Hotel            Partial Business
    [1]   Monday, November 14, 2011      Personal                         CRAFT LLC                   dinner while working on asco metals                             $          197.67    Meals & Drinks            Personal
    [1]   Tuesday, November 15, 2011     Personal                         CAREY INTERNATIONAL, INC.   car in miami for asco metals trip                               $          189.42    Transportation expenses   Partial Business
    [1]   Friday, November 18, 2011      Personal                         AIRLINES RPRTING CORPTAF    airline service fee for asco metals trip                        $           45.00    Travel ‐ Airfare          Partial Business
    [1]   Friday, November 18, 2011      Partial Business Expense         LADUREE ROISSY              snack in airport for Asco metals trip                           $           44.20    Meals & Drinks            Partial Business
    [1]   Friday, November 18, 2011      Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for asco metals trip                          $           18.00    Travel ‐ Airfare          Partial Business
    [1]   Friday, November 18, 2011      Personal                         LAFAYETTE ST PARTNERS LLC   dinner while working on asco metals trip                        $           99.51    Meals & Drinks            Partial Business
    [1]   Friday, November 18, 2011      Personal                         AMERICAN AIRLINES INC       flight from CA to NY for metals usa trip                        $        5,760.60    Travel ‐ Airfare          Credit/Refund
    [1]   Saturday, November 19, 2011    Personal                         UNITED AIRLINES             airfare to CA for metals usa trip                               $           30.00    Travel ‐ Airfare          Personal
    [1]   Saturday, November 19, 2011    Personal                         UNITED AIRLINES             airfare for metals usa trip from NY to CA                       $        3,019.70    Travel ‐ Airfare          Personal
    [1]   Tuesday, November 22, 2011     Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for metals usa trip                           $           45.00    Travel ‐ Airfare          Personal
    [1]   Tuesday, November 22, 2011     Personal                         AMERICAN AIRLINES INC       airfare fee from NY to CA for metals usa trip                   $        2,900.30    Travel ‐ Airfare          Personal
    [1]   Wednesday, November 23, 2011   Personal                         AMERICAN AIRLINES INC       credit for flight not taken for realogy                         $       (5,760.60)   Travel ‐ Airfare          Credit/Refund
    [1]   Wednesday, November 23, 2011   Personal                         Sea Food Town               Dinner in CA while on ascometals trip                           $           18.12    Meals & Drinks            Personal
    [1]   Friday, November 25, 2011      Personal                         COFFEE BEAN/TEA LEAF 126    snack at coffee bean in CA for Metals USA meeting               $           24.25    Meals & Drinks            Personal
    [1]   Friday, November 25, 2011      Personal                         Panera Bread                snack in CA for ascometals meeting                              $           11.32    Meals & Drinks            Personal
    [1]   Tuesday, November 29, 2011     Personal                         PACHANGA INC                coffee gift card while working on relaogy                       $           25.00    Meals & Drinks            Business
    [1]   Thursday, December 01, 2011    Personal                         Otto                        dinner at office while working on realogy                       $           32.62    Meals & Drinks            Business
    [1]   Thursday, December 01, 2011    Personal                         Yank Sing                   dinner while working on Realogy                                 $           34.00    Meals & Drinks            Personal
    [1]   Friday, December 02, 2011      Personal                         PINE TREE HOUSE INC         dinner while working on Realogy                                 $          214.60    Meals & Drinks            Personal
    [1]   Saturday, December 03, 2011    Personal (prev. paid back)       NY Taxi                     Taxi to Realogy meeting                                         $            7.00    Transportation expenses   Personal
    [1]   Sunday, December 04, 2011      Personal                         THESSABUL LLC               dinner while working on Realogy                                 $          182.60    Meals & Drinks            Personal
    [1]   Wednesday, December 07, 2011   Personal                         BIRTH OF COOL LLC           dinner while working on ascometals                              $          284.08    Meals & Drinks            Business
    [1]   Thursday, December 08, 2011    Personal                         PACHANGA INC                lunch while working on ascometals                               $           20.00    Meals & Drinks            Business
    [1]   Friday, December 09, 2011      Partial Business Expense         BRILLA AJ RMB LLC           dinner in Miami for ascometals trip                             $          322.95    Travel ‐ Hotel            Partial Business
    [1]   Sunday, December 11, 2011      Personal                         21 HOMES KITCHEN INC        lunch while working on ascometals                               $           26.43    Meals & Drinks            Personal
    [1]   Sunday, December 11, 2011      Personal (prev. paid back)       NY Taxi                     taxi in NY for realogy meeting                                  $            8.00    Transportation expenses   Business
    [1]   Monday, December 12, 2011      Partial Business Expense         Made in Italy Restaurant    Dinner in London for asco metals meeting with Mr Goenke         $          259.55    Meals & Drinks            Partial Business
    [1]   Wednesday, December 14, 2011   Personal (prev. paid back)       NY Taxi                     Taxi to Realogy meeting                                         $            7.00    Transportation expenses   Personal
    [1]   Wednesday, December 14, 2011   Personal (prev. paid back)       NY Taxi                     Taxi to Realogy meeting                                         $            9.00    Transportation expenses   Personal
    [1]   Friday, December 16, 2011      Personal                         Yellow Cab                  taxi in Florida for realogy trip                                $           42.00    Transportation expenses   Business
    [1]   Saturday, December 17, 2011    Personal (prev. paid back)       CRAFT LLC                   dinner while working on ascometals                              $          283.47    Meals & Drinks            Personal
    [1]   Sunday, December 18, 2011      Personal                         BARNES & NOBLE INC          books at barnes and noble for ascometals trip                   $           65.99    Goods & Services          Personal
    [1]   Monday, December 19, 2011      Personal                         AMERICAN EXPRESS TKT FEE    license fee for realogy trip                                    $           39.00    Miscellaneous             Credit/Refund
    [1]   Monday, December 19, 2011      Personal                         AMERICAN EXPRESS TKT FEE    License fee for Reaolgy trip                                    $           39.00    Miscellaneous             Credit/Refund
    [1]   Monday, December 19, 2011      Personal (prev. paid back)       DELTA AIR LINES             flight to Atlanta for Reaolgy tirp                              $          447.10    Travel ‐ Airfare          Personal
    [1]   Monday, December 19, 2011      Personal                         DELTA AIR LINES             flight to paris for ascometals trip                             $       10,049.10    Travel ‐ Airfare          Personal
    [1]   Monday, December 19, 2011      Personal                         THESSABUL LLC               dinner while working on ascometals                              $          261.83    Meals & Drinks            Personal
    [1]   Tuesday, December 20, 2011     Personal                         LM 21 LLC                   office dinner while working on realogy                          $          171.93    Meals & Drinks            Personal
    [1]   Wednesday, December 21, 2011   Personal                         AMERICAN EXPRESS TKT FEE    credit for amex license fee for realogy trip                    $          (39.00)   Miscellaneous             Credit/Refund
    [1]   Wednesday, December 21, 2011   Personal                         AMERICAN EXPRESS TKT FEE    credit for amex license fee for reaogy trip                     $          (39.00)   Miscellaneous             Credit/Refund
    [1]   Thursday, December 22, 2011    Personal                         COPACABANA PALACE HOT       hotel in rio for realogy trip                                   $          357.31    Travel ‐ Hotel            Personal
    [1]   Thursday, December 22, 2011    Personal                         COPACABANA PALACE HOT       hotel in rio for realogy trip                                   $           73.18    Travel ‐ Hotel            Personal
    [1]   Thursday, December 22, 2011    Personal                         HOTEL FASANO                hotel in rio for realogy trip                                   $          675.56    Travel ‐ Hotel            Personal
    [1]   Thursday, December 22, 2011    Personal                         HOTEL FASANO                hotel in rio for realogy trip                                   $            7.21    Travel ‐ Hotel            Personal
    [1]   Thursday, December 22, 2011    Personal                         HOTEL FASANO                hotel in rio for realogy trip                                   $          693.50    Travel ‐ Hotel            Personal
    [1]   Thursday, December 22, 2011    Personal                         HOTEL FASANO                hotel in rio for realogy trip                                   $          142.48    Travel ‐ Hotel            Personal


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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                                                                        Total: $         250,126.01
Colum     Date                           Expense Classification           Merchant                         Long Description                                                                                                                        Tran. Amount           STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Thursday, December 22, 2011    Personal                         HOTEL FASANO                     hotel in rio for realogy trip                                                                                                           $          121.99   Travel ‐ Hotel            Personal
    [1]   Friday, December 23, 2011      Personal                         COPACABANA PALACE HOT            hotel in rio for realogy trip                                                                                                           $          357.30   Travel ‐ Hotel            Personal
    [1]   Friday, December 23, 2011      Personal                         COPACABANA PALACE HOT            hotel in rio for realogy trip                                                                                                           $           73.18   Travel ‐ Hotel            Personal
    [1]   Sunday, January 01, 2012       Personal (prev. paid back)       nyc taxi                         Taxi to Ascometals meeting                                                                                                              $            7.00   Transportation expenses   Personal
    [1]   Sunday, January 01, 2012       Personal                         CAESAR PARK SP INT AIR           meal in rio for ascometals                                                                                                              $           69.33   Meals & Drinks            Personal
    [1]   Tuesday, January 03, 2012      Personal                         BLT FISH LLC                     dinner while working on ascometals                                                                                                      $          190.00   Meals & Drinks            Personal
    [1]   Wednesday, January 04, 2012    Personal                         ALL TAXI MANAGEMENT INC          taxi for ascometals meeting                                                                                                             $           11.00   Transportation expenses   Personal
    [1]   Thursday, January 05, 2012     Personal                         HARJIT SIDHU                     taxi for ascometals meeting                                                                                                             $           11.85   Transportation expenses   Personal
    [1]   Thursday, January 05, 2012     Personal                         LUCKY 13 ASSOCIATES LLC          dinner while working on ascometals                                                                                                      $          200.00   Meals & Drinks            Personal
    [1]   Saturday, January 07, 2012     Personal (prev. paid back)       50 RESTAURANT GROUP LLC          dinner while working on ascometals                                                                                                      $          250.00   Meals & Drinks            Personal
    [1]   Sunday, January 08, 2012       Personal                         Royalcoop                        car service in Rio for ascometals trip                                                                                                  $           73.00   Transportation expenses   Personal
    [1]   Sunday, January 08, 2012       Personal                         Royalcoop                        car servioce in Rio for ascometals trip                                                                                                 $           73.00   Transportation expenses   Personal
    [1]   Sunday, January 08, 2012       Personal (prev. paid back)       nyc taxi                         Taxi to Realogy meeting                                                                                                                 $           11.30   Transportation expenses   Personal
    [1]   Sunday, January 08, 2012       Personal (prev. paid back)       Greenwich Taxi                   Taxi to Realogy meeting                                                                                                                 $           33.00   Transportation expenses   Personal
    [1]   Tuesday, January 10, 2012      Personal                         PACHANGA INC                     dinner while working on ascometals                                                                                                      $           30.00   Meals & Drinks            Personal
    [1]   Tuesday, January 10, 2012      Personal                         BIRTH OF COOL LLC                dinner while working on ascometals                                                                                                      $          280.30   Meals & Drinks            Personal
    [1]   Friday, January 13, 2012       Partial Business Expense         EMIRATES AIRLINES                airfare for welspun trip                                                                                                                $        2,314.10   Travel ‐ Airfare          Partial Business
    [1]   Friday, January 13, 2012       Personal (prev. paid back)       PSGS RESTAURANT CORP             dinner while working on welspun                                                                                                         $          176.43   Meals & Drinks            Personal
    [1]   Sunday, January 15, 2012       Personal                         LUCKY 13 ASSOCIATES LLC          dinner whilew orking on welspun                                                                                                         $          136.49   Meals & Drinks            Personal
    [1]   Sunday, January 22, 2012       Partial Business Expense         DUBAI INTERNATIONAL HOTEL ‐ T3   hotel for welspun meeting                                                                                                               $           41.86   Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 22, 2012       Partial Business Expense         DUBAI INTERNATIONAL HOTEL ‐ T3   hotel for welspun meeting                                                                                                               $          418.62   Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 22, 2012       Personal                         AMRAPALI‐JUHU CHRUCH ROAD        car service while in mumbai for welspun trip                                                                                            $          694.62   Goods & Services          Personal
    [1]   Monday, January 30, 2012       Personal                         PACHANGA INC                     snack while working on ascometals                                                                                                       $           25.00   Meals & Drinks            Personal
    [1]   Wednesday, February 01, 2012   Personal                         228 WEST 10TH ST LLC             diner while working on ascometals                                                                                                       $          164.53   Meals & Drinks            Personal
    [1]   Saturday, February 04, 2012    Personal (prev. paid back)       ABC CARPET & HOME #352ABC        dinner for ascometals meeting                                                                                                           $          323.10   Meals & Drinks            Personal
    [1]   Sunday, February 05, 2012      Personal                         PIE INC                          dinner while working on ascometals                                                                                                      $           63.50   Meals & Drinks            Personal
    [1]   Monday, February 06, 2012      Personal                         nyc taxi                         Taxi to Ascometals meeting                                                                                                              $            8.00   Transportation expenses   Personal
    [1]   Tuesday, February 07, 2012     Personal                         PACHANGA INC                     meal while working on ascometals                                                                                                        $           30.00   Meals & Drinks            Personal
    [1]   Tuesday, February 07, 2012     Personal (prev. paid back)       BLISS WORLD LLC                  4 $100 gift certificates to Bliss Spa as Holiday Gifts for 4 people Ali works closely with at Portfolio Companies. See list attached.   $          400.00
                                                                                                                                                                                                                                                                       Goods & Services          Personal
    [1]   Thursday, February 09, 2012    Personal (prev. paid back)       nyc taxi                         Taxi to Ascometals meeting                                                                                                              $            8.00   Transportation expenses   Personal
    [1]   Friday, February 10, 2012      Personal (prev. paid back)       nyc taxi                         Taxi to Ascometals meeting                                                                                                              $            8.10   Transportation expenses   Business
    [1]   Sunday, February 12, 2012      Personal                         LUCKY 13 ASSOCIATES LLC          meal while working on welspun                                                                                                           $          297.23   Meals & Drinks            Personal
    [1]   Sunday, February 12, 2012      Personal                         RAOULS RSTR CORP                 meal while working on welspun                                                                                                           $          300.00   Meals & Drinks            Personal
    [1]   Sunday, February 19, 2012      Personal (prev. paid back)       nyc taxi                         Taxi to Ascometals meeting                                                                                                              $            7.00   Transportation expenses   Personal
    [1]   Sunday, February 19, 2012      Personal (prev. paid back)       nyc taxi                         Taxi to Ascometals meeting                                                                                                              $            5.00   Transportation expenses   Personal
    [1]   Monday, February 20, 2012      Personal                         DEMA RESTAURANT LTD.             meal while working on welspun                                                                                                           $           92.30   Meals & Drinks            Personal
    [1]   Friday, February 24, 2012      Personal                         PACHANGA INC                     meal while working on ascometals                                                                                                        $           30.00   Meals & Drinks            Personal
    [1]   Saturday, February 25, 2012    Personal                         13th Street Cafe                 meal while working on welspun                                                                                                           $           20.00   Meals & Drinks            Personal
    [1]   Saturday, February 25, 2012    Personal (prev. paid back)       BCRE GRAND RESTURANT LLC         dinner while working on ascometals                                                                                                      $          203.12   Meals & Drinks            Personal
    [1]   Saturday, February 25, 2012    Personal                         Lunch Receipt                    meal while working on welspun                                                                                                           $           34.00   Meals & Drinks            Personal
    [1]   Saturday, February 25, 2012    Personal                         The Original Pancake House       meal while working on welspun                                                                                                           $           33.00   Meals & Drinks            Personal
    [1]   Saturday, February 25, 2012    Personal                         WOODSIDE MGMT INC                Taxi to Ascometals meeting                                                                                                              $           10.80   Transportation expenses   Personal
    [1]   Wednesday, February 29, 2012   Personal                         CITITAXI FUNDING LLC             taxi to gbc meeting                                                                                                                     $           11.20   Transportation expenses   Business
    [1]   Thursday, March 01, 2012       Personal                         WAILING MGMT INC                 taxi to gbc meeting                                                                                                                     $           11.60   Transportation expenses   Business
    [1]   Friday, March 02, 2012         Personal                         PACHANGA INC                     lunch while working on gbc                                                                                                              $           30.00   Meals & Drinks            Personal
    [1]   Saturday, March 03, 2012       Personal                         nyc taxi                         Taxi to Welspun meeting                                                                                                                 $           10.50   Transportation expenses   Personal
    [1]   Saturday, March 03, 2012       Personal (prev. paid back)       OSTERIA GRANO LLC                dinner whileworking on GBC                                                                                                              $          174.60   Meals & Drinks            Personal
    [1]   Friday, March 09, 2012         Personal (prev. paid back)       EXECUTIVE OWNERS HOLDING         tai to metals usa meeting                                                                                                               $           10.40   Transportation expenses   Personal
    [1]   Friday, March 09, 2012         Personal (prev. paid back)       nyc taxi                         Taxi to Welspun meeting                                                                                                                 $            7.00   Transportation expenses   Personal
    [1]   Saturday, March 10, 2012       Personal (prev. paid back)       WASHINGTON PLACE LLC             dinner while working on metals usa                                                                                                      $          179.43   Meals & Drinks            Personal
    [1]   Saturday, March 10, 2012       Personal (prev. paid back)       nyc taxi                         Taxi to Welspun meeting                                                                                                                 $            8.00   Transportation expenses   Personal
    [1]   Monday, March 12, 2012         Personal (prev. paid back)       nyc taxi                         Taxi to Welspun meeting                                                                                                                 $            8.00   Transportation expenses   Business
    [1]   Tuesday, March 13, 2012        Personal                         EL MONO LLC                      dinner while working on gbc                                                                                                             $          132.23   Meals & Drinks            Personal
    [1]   Saturday, March 17, 2012       Personal                         nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            7.00   Transportation expenses   Personal
    [1]   Saturday, March 17, 2012       Personal                         nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            8.00   Transportation expenses   Personal
    [1]   Saturday, March 17, 2012       Personal                         nyc taxi                         Taxi to Realogy meeting                                                                                                                 $           10.00   Transportation expenses   Personal
    [1]   Saturday, March 17, 2012       Personal                         nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            8.00   Transportation expenses   Personal
    [1]   Sunday, March 18, 2012         Personal                         PARLOR CLUB NYC LLC              dinner while working on gbc                                                                                                             $          127.00   Meals & Drinks            Personal
    [1]   Tuesday, March 20, 2012        Personal                         GRAMERCY TAVERN CORP             dinner with richard smith for realogy meeting                                                                                           $          351.42   Meals & Drinks            Personal
    [1]   Tuesday, March 20, 2012        Personal                         TELEFLORA LLC                    Personal charge                                                                                                                         $          122.30   Goods & Services          Personal
    [1]   Wednesday, March 21, 2012      Personal                         PACHANGA INC                     dinner while working on Realogy                                                                                                         $           30.00   Meals & Drinks            Personal
    [1]   Thursday, March 22, 2012       Personal                         WAILING MGMT INC                 Taxi to Realogy meeting                                                                                                                 $           11.60   Transportation expenses   Personal
    [1]   Sunday, March 25, 2012         Personal                         GANS WINE CONCEPT LLC            gift for richard smith realogy                                                                                                          $          251.91   Meals & Drinks            Personal
    [1]   Friday, March 30, 2012         Personal                         ABC CARPET & HOME #352ABC        Realogy dinner with Richard Smith                                                                                                       $          173.91   Meals & Drinks            Personal
    [1]   Saturday, March 31, 2012       Personal                         GRAMERCY TAVERN CORP             GBC dinner with John Walker                                                                                                             $          327.59   Meals & Drinks            Personal
    [1]   Sunday, April 01, 2012         Personal (prev. paid back)       DEVA INC                         New shoes due to ones ruined on GBC site visit                                                                                          $          687.50   Goods & Services          Personal
    [1]   Monday, April 02, 2012         Personal                         FOOD 2 LEX LLC                   Meal while working on GBC with John Walker and John Wasz                                                                                $          190.58   Meals & Drinks            Personal
    [1]   Tuesday, April 03, 2012        Personal (prev. paid back)       nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            6.00   Transportation expenses   Personal
    [1]   Tuesday, April 03, 2012        Personal (prev. paid back)       nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            7.00   Transportation expenses   Personal
    [1]   Tuesday, April 03, 2012        Personal (prev. paid back)       nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            9.00   Transportation expenses   Personal
    [1]   Friday, April 06, 2012         Personal (prev. paid back)       nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            7.00   Transportation expenses   Personal
    [1]   Friday, April 06, 2012         Personal (prev. paid back)       nyc taxi                         Taxi to Realogy meeting                                                                                                                 $            9.00   Transportation expenses   Personal
    [1]   Friday, April 06, 2012         Personal                         PENINSULA CHICAGO, LLC           drinks at bar for GBC trip                                                                                                              $          123.00   Meals & Drinks            Personal
    [1]   Saturday, April 07, 2012       Personal                         CRAFT LLC                        dinner whilew orking on Realogy with Don Casey and Seth Truwit                                                                          $          210.00   Meals & Drinks            Personal



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                                                                                                                                                                                   Total: $    250,126.01
Colum     Date                        Expense Classification           Merchant                    Long Description                                                                      Tran. Amount            STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Monday, April 09, 2012      Personal                         Greenwich Taxi              Taxi to Realogy meeting                                                               $           39.00    Transportation expenses   Business
    [1]   Monday, April 09, 2012      Personal                         WHEN ITS CHILE ITS HOT      dinner while working on Realogy with Richard Smith and Tony Hull                      $          220.53    Meals & Drinks            Business
    [1]   Tuesday, April 10, 2012     Personal                         Greenwich Taxi              Taxi to Realogy meeting                                                               $           36.00    Transportation expenses   Personal
    [1]   Thursday, April 12, 2012    Personal                         PACHANGA INC                lunch while working on ascometals wth Phillippe Cruizait and Pascale Philippe         $           30.00    Meals & Drinks            Business
    [1]   Friday, April 13, 2012      Personal                         HEARTH RESTAURANT           dinner while working on ascometals with Pascal Nerbonne and Akin Kavur                $          223.99    Meals & Drinks            Personal
    [1]   Saturday, April 21, 2012    Personal                         AUGUST VENTURES LLC         dinner with QDI ‐ Gary Enzore and Joe Troy                                            $          434.19    Meals & Drinks            Personal
    [1]   Monday, April 23, 2012      Personal                         PACHANGA INC                dinner while working on ascometals                                                    $           30.00    Meals & Drinks            Personal
    [1]   Wednesday, April 25, 2012   Personal                         Greenwich Taxi              Taxi to Ascometals meeting                                                            $           37.00    Transportation expenses   Business
    [1]   Thursday, April 26, 2012    Personal                         UNITED AIRLINES INC         fee for ascometals trip                                                               $            7.00    Travel ‐ Airfare          Personal
    [1]   Friday, April 27, 2012      Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for ascometals trip                                                 $           45.00    Travel ‐ Airfare          Personal
                                                                                                   Holdiay Gi s:
    [1]
                                                                                                   Metals USA

                                                                                                   Lourenco Goncalves

                                                                                                   Keith Koci

                                                                                                   Robert McPherson

                                                                                                   Will Smith

                                                                                                   Dan Hennekke

                                                                                                   Hugh Gray

                                                                                                   Joe Stewart

                                                                                                   Roger Krohn

                                                                                                   Dave Martens




                                                                                                   QDI

                                                                                                   Gary Enzor

                                                                                                   Joe Troy
        Friday, April 27, 2012        Personal (prev. paid back)       ERMENEGILDO ZEGNABEV HLS                                                                                          $        3,500.00 Goods & Services             Personal
    [1] Friday, April 27, 2012        Personal                         UNITED AIRLINES, INC        flight to SF for Ascometals flight                                                    $        4,128.60 Travel ‐ Airfare             Partial Business
    [1] Friday, April 27, 2012        Personal                         AMERICAN AIRLINES INC       flight for ascometals trip                                                            $        3,149.80 Travel ‐ Airfare             Credit/Refund
    [1]                                                                                            meal with Lourenco Goncalves and Keith Koci
        Saturday, April 28, 2012      Personal                         SUPERIOR RESTAURANT NYCLP   Metals USA                                                                            $          296.54    Meals & Drinks            Personal
    [1] Thursday, May 03, 2012        Personal                         CAREY INTERNATIONAL, INC.   car in SF for metals usa trip                                                         $          123.27    Transportation expenses   Partial Business
    [1] Thursday, May 03, 2012        Personal                         Limon Peruvian Rotisserie   Business meal with Metals USA ‐ Ali Rasid, Gonculves, McPer                           $          331.13    Meals & Drinks            Partial Business
    [1] Friday, May 04, 2012          Personal                         Desoto Cab                  Cab in California during business meetings re: Ascometals                             $           14.00    Transportation expenses   Partial Business
    [1] Sunday, May 06, 2012          Personal                         SMARTE CARTE INC            car in ca for metals usa trip                                                         $            5.00    Travel ‐ Airfare          Partial Business
    [1] Sunday, May 06, 2012          Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for metals usa                                                      $           25.00    Travel ‐ Airfare          Partial Business
    [1] Sunday, May 06, 2012          Personal                         AMERICAN AIRLINES INC       fligth from sf to la for metals usa                                                   $          608.35    Travel ‐ Airfare          Partial Business
    [1] Monday, May 07, 2012          Partial Business Expense         CAREY INTERNATIONAL, INC.   car service for metals usa meeting                                                    $          289.03    Transportation expenses   Partial Business
    [1] Monday, May 07, 2012          Personal                         COFFEE BEAN & TEA LEAF 41   coffee while on metals usa trip                                                       $           17.00    Meals & Drinks            Partial Business
    [1] Monday, May 07, 2012          Personal                         HERTZ CORPORATION           car rental in ca for metals usa trip                                                  $          130.21    Transportation expenses   Partial Business
    [1] Monday, May 07, 2012          Personal                         MOZZA LLC                   dinner while traveling for metals usa                                                 $          147.89    Meals & Drinks            Partial Business
    [1] Monday, May 07, 2012          Personal                         UNITED AIRLINES, INC        Credit                                                                                $         (854.80)   Travel ‐ Airfare          Partial Business
    [1] Wednesday, May 09, 2012       Personal                         FOXTAIL LLC                 meal while working on metals usa                                                      $          109.44    Meals & Drinks            Partial Business
    [1] Wednesday, May 09, 2012       Personal                         AIRLINES RPRTING CORPTAF    travel agency trip for metals usa                                                     $           45.00    Travel ‐ Airfare          Partial Business
    [1] Wednesday, May 09, 2012       Personal                         VIRGIN AMERICA INC          flight to ca for metals usa trip                                                      $        1,779.80    Travel ‐ Airfare          Partial Business
    [1] Wednesday, May 09, 2012       Personal                         DELTA AIR LINES             flight for metlas usa trip                                                            $          618.80    Travel ‐ Airfare          Credit/Refund
    [1] Wednesday, May 09, 2012       Personal                         UNITED AIRLINES, INC        fligth to ca for metals usa trip                                                      $        1,554.80    Travel ‐ Airfare          Credit/Refund
    [1] Thursday, May 10, 2012        Personal                         Mendocino Farms             Meal employee during business travel                                                  $           22.57    Meals & Drinks            Partial Business
    [1] Thursday, May 10, 2012        Personal                         The Sunset                  Parking during meetings re asometals                                                  $            2.00    Transportation expenses   Partial Business
    [1] Friday, May 11, 2012          Personal                         COSTCO GAS 9300476          gas for car rented for metals usa meeting                                             $           35.68    Transportation expenses   Partial Business
    [1] Saturday, May 12, 2012        Personal                         AMERICAN AIRLINES INC       Credit                                                                                $       (3,149.80)   Travel ‐ Airfare          Credit/Refund
    [1] Saturday, May 12, 2012        Personal                         AIRLINES RPRTING CORPTAF    travel agency fee for metals usa trip                                                 $           25.00    Travel ‐ Airfare          Partial Business
    [1] Saturday, May 12, 2012        Personal                         COFFEE BEAN/TEA LEAF 126    coffee while working on metals usa                                                    $           25.00    Meals & Drinks            Partial Business
    [1] Saturday, May 12, 2012        Personal                         UNITED AIRLINES, INC        flight to CA for metals usa meeting                                                   $        3,123.80    Travel ‐ Airfare          Partial Business
    [1] Sunday, May 13, 2012          Personal                         Diner                       Employee meal during business travel re: ascometals                                   $           18.23    Meals & Drinks            Partial Business
    [1] Monday, May 14, 2012          Personal                         AMERICAN AIRLINES INC       flight to CA for metals usa meeting                                                   $          827.90    Travel ‐ Airfare          Partial Business
    [1] Monday, May 14, 2012          Personal                         DELTA AIR LINES             Credit                                                                                $         (618.80)   Travel ‐ Airfare          Credit/Refund
    [1] Friday, May 18, 2012          Personal                         LUCKY 13 ASSOCIATES LLC     Client meal                                                                           $          241.87    Meals & Drinks            Personal
    [1] Sunday, May 20, 2012          Personal                         PRINCE SULLIVAN LLC         Client meal                                                                           $          388.44    Meals & Drinks            Personal
    [1] Monday, May 21, 2012          Partial Business Expense         AMERICAN AIRLINES INC       Airefare                                                                              $        7,444.30    Travel ‐ Airfare          Partial Business
    [1] Wednesday, May 23, 2012       Partial Business Expense         AMERICAN AIRLINES INC       Airefare                                                                              $          581.75    Travel ‐ Airfare          Partial Business
    [1] Thursday, May 24, 2012        Partial Business Expense         AIRLINES RPRTING CORPTAF                                                                                          $           25.00    Travel ‐ Airfare          Partial Business
    [1] Saturday, May 26, 2012        Personal                         ZUMA JAPANESE REST MIAMI    Client meal                                                                           $          254.00    Meals & Drinks            Personal
    [1] Sunday, May 27, 2012          Partial Business Expense         HERTZ CORPORATION           Car rental while in Florida working on..                                              $          198.49    Transportation expenses   Personal


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                                                                                                                                                                                                                             Total: $       250,126.01
Colum     Date                            Expense Classification         Merchant                        Long Description                                                                                                             Tran. Amount            STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Sunday, May 27, 2012            Personal                       UNITED AIRLINES, INC            Credit                                                                                                                       $       (1,554.80)   Travel ‐ Airfare          Credit/Refund
    [1]   Sunday, May 27, 2012            Personal                       AMERICAN AIRLINES INC                                                                                                                                        $            4.15    Travel ‐ Airfare          Partial Business
    [1]   Sunday, May 27, 2012            Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                     $           25.00    Travel ‐ Airfare          Partial Business
    [1]   Sunday, May 27, 2012            Personal                       AMERICAN AIRLINES INC           Credit for Travel agent                                                                                                      $          (36.00)   Travel ‐ Airfare          Partial Business
    [1]   Sunday, May 27, 2012            Personal                       DELTA AIR LINES                 JFK‐ SF for                                                                                                                  $        1,745.80    Travel ‐ Airfare          Credit/Refund
    [1]   Monday, May 28, 2012            Personal                       BAL HARBOUR HOTEL LLC           Hotel Lodging and accomodation                                                                                               $        1,451.88    Travel ‐ Hotel            Personal
    [1]   Monday, May 28, 2012            Personal                       SADA TWO LLC                    Client meal                                                                                                                  $          181.82    Meals & Drinks            Personal
    [1]   Thursday, May 31, 2012          Personal                       DELTA AIR LINES                 Credit                                                                                                                       $       (1,745.80)   Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, May 31, 2012          Personal                       AMERICAN AIRLINES INC           Airfare                                                                                                                      $        1,524.15    Travel ‐ Airfare          Personal
    [1]   Monday, June 04, 2012           Personal                       AVIS RENT A CAR CORP            Car rental                                                                                                                   $           80.65    Transportation expenses   Personal
    [1]   Monday, June 04, 2012           Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                     $           25.00    Travel ‐ Airfare          Personal
    [1]   Monday, June 04, 2012           Personal                       AIRLINES RPRTING CORPTAF                                                                                                                                     $           25.00    Travel ‐ Airfare          Personal
    [1]   Monday, June 04, 2012           Personal                       AMERICAN AIRLINES INC           Credit                                                                                                                       $         (107.07)   Travel ‐ Airfare          Personal
    [1]   Sunday, June 24, 2012           Personal                       PRINCE SULLIVAN LLC             Client meeting regarding Ascometals with                                                                                     $          149.06    Meals & Drinks            Personal
    [1]   Friday, June 29, 2012           Personal                       DELTA AIR LINES                 Difference in airfare for Columbia trip ‐ Metals                                                                             $          277.90    Travel ‐ Airfare          Personal
    [1]   Friday, June 29, 2012           Personal                       DELTA AIR LINES                 Roundtrip flight to Columbia for Metals USA                                                                                  $        3,532.90    Travel ‐ Airfare          Personal
    [1]   Saturday, June 30, 2012         Personal                       AIRLINES RPRTING CORPTAF        Airline change fee ‐Asco                                                                                                     $            5.00    Travel ‐ Airfare          Personal
    [1]   Saturday, June 30, 2012         Personal                       AIRLINES RPRTING CORPTAF        Airline change fee ‐ Asco                                                                                                    $           25.00    Travel ‐ Airfare          Personal
    [1]   Saturday, June 30, 2012         Personal                       ANNUAL MEMBERSHIP RENEWAL FEE   Personal                                                                                                                     $          395.00    Miscellaneous             Personal
    [1]   Sunday, July 01, 2012           Personal                       AIRLINES RPRTING CORPTAF        Airline change fee Asco trip                                                                                                 $           25.00    Travel ‐ Airfare          Personal
    [1]   Sunday, July 01, 2012           Personal                       AVIANCA INC 33166               Difference in airfare for trip taken for Metals USA                                                                          $          119.30    Travel ‐ Airfare          Personal
    [1]   Sunday, July 01, 2012           Personal                       AIRLINES RPRTING CORPTAF        Airline change fee ‐ Asco trip                                                                                               $          (20.00)   Travel ‐ Airfare          Credit/Refund
    [1]   Sunday, July 01, 2012           Personal                       AIRLINES RPRTING CORPTAF        Airline change fee ‐ Asco trip                                                                                               $           20.00    Travel ‐ Airfare          Credit/Refund
    [1]   Monday, July 02, 2012           Personal                       AIRLINES RPRTING CORPTAF        Airline change fee ‐ Asco trip                                                                                               $           25.00    Travel ‐ Airfare          Personal
    [1]   Monday, July 02, 2012           Personal                       HOTEL SOFITEL VICTORIA REGIA    1 night hotel charge for Ali while traveling for                                                                             $          334.07    Travel ‐ Hotel            Personal
    [1]   Monday, July 02, 2012           Personal                       HOTEL SOFITEL VICTORIA REGIA    taxes for hotel stay for ali while traveling for                                                                             $            0.18    Travel ‐ Hotel            Personal
    [1]   Tuesday, July 03, 2012          Personal                       HOTEL SOFITEL VICTORIA REGIA    1 night hotel charge for Ali while traveling for                                                                             $          334.07    Travel ‐ Hotel            Personal
    [1]   Tuesday, July 03, 2012          Personal                       HOTEL SOFITEL VICTORIA REGIA    taxes for hotel stay for ali while traveling for                                                                             $            0.18    Travel ‐ Hotel            Personal
    [1]   Tuesday, July 03, 2012          Personal                       UNITED AIRLINES, INC            Flight home to Newark from MEtals meegtings                                                                                  $        2,427.20    Travel ‐ Airfare          Personal
    [1]   Friday, July 06, 2012           Personal                       AMERICAN AIRLINES INC           Airfare for flight from LAX to JFK RE: Metals USA                                                                            $        2,773.12    Travel ‐ Airfare          Personal
    [1]   Friday, July 06, 2012           Personal                       AMERICAN EXPRESS TKT FEE        Travel Leaders ticketing fee ‐ Asco Metals                                                                                   $           39.00    Miscellaneous             Personal
    [1]   Friday, July 06, 2012           Personal                       AMERICAN EXPRESS TKT FEE        Travel Leaders ticketing fee ‐ Asco Metals                                                                                   $           39.00    Miscellaneous             Personal
    [1]   Friday, July 06, 2012           Personal                       HOTEL CHARLESTON                1 night hotel charge for Ali while traveling for                                                                             $            0.15    Travel ‐ Hotel            Personal
    [1]   Friday, July 06, 2012           Personal                       HOTEL CHARLESTON                One night hotel stay ‐ Metals                                                                                                $          317.49    Travel ‐ Hotel            Personal
    [1]   Friday, July 06, 2012           Personal                       HOTEL CHARLESTON                taxes for hotel stay for ali while traveling for                                                                             $            0.03    Travel ‐ Hotel            Personal
    [1]   Wednesday, July 11, 2012        Personal                       AMERICAN AIRLINES INC           Business travel to Californica re: QDI                                                                                       $        2,773.12    Travel ‐ Airfare          Personal
    [1]   Sunday, July 22, 2012           Personal                       CHEVRON USA INC                 Gas during butiness travelre QDI                                                                                             $           64.80    Transportation expenses   Personal
    [1]   Tuesday, July 24, 2012          Personal                       CAREY INTERNATIONAL, INC.       Ground Transportation during Foraco Drilling meetings                                                                        $          170.41    Transportation expenses   Personal
    [1]   Thursday, July 26, 2012         Personal                       CAREY INTERNATIONAL, INC.       Ground Transportation for business meetings in Paris re: Foraco Drilling                                                     $          167.36    Transportation expenses   Business
    [1]   Friday, August 03, 2012         Personal                       AIRLINES RPRTING CORPTAF        Travel Agency Fee                                                                                                            $           45.00    Travel ‐ Airfare          Personal
    [1]   Friday, August 03, 2012         Personal                       AMERICAN AIRLINES INC           Business travel to Los Angeles re: QDI                                                                                       $        5,534.10    Travel ‐ Airfare          Personal
    [1]   Friday, August 03, 2012         Personal                       CAREY INTERNATIONAL, INC.       Ground transporation for business meetings re: Realology                                                                     $          155.77    Transportation expenses   Personal
    [1]   Wednesday, August 08, 2012      Personal                       RAKU RESTAURANT INC             Lunch meeting regaring Reaology                                                                                              $           87.60    Meals & Drinks            Personal
    [1]   Tuesday, August 14, 2012        Personal                       Business Dinner with QDI        QDI dinner =: Johnathan Gold, Gearld Detter, Bo Leslie, Steve ttwood, Denny Copeland, Gary Enzor, Thomas inkibiner, Debbie   $          332.28
                                                                                                         Kend                                                                                                                                              Meals & Drinks            Personal
    [1]   Sunday, August 19, 2012         Personal                       AIRLINES RPRTING CORPTAF        Travel Agency Fee                                                                                                            $           25.00    Travel ‐ Airfare          Personal
    [1]   Sunday, August 19, 2012         Personal                       AUNT PAUL INC                   For Business meetings re: Realology                                                                                          $          121.26    Meals & Drinks            Personal
    [1]   Tuesday, August 21, 2012        Personal                       43 W 24TH ST REST LLC           Business meal regardinsg QDi                                                                                                 $           84.13    Meals & Drinks            Personal
    [1]   Tuesday, August 21, 2012        Personal                       AIRLINES RPRTING CORPTAF        Travel Agency Booking Fee                                                                                                    $           25.00    Travel ‐ Airfare          Personal
    [1]   Wednesday, August 22, 2012      Personal                       ANTON‐JFK‐AIRPORT               Meals self while at airport                                                                                                  $            4.79    Meals & Drinks            Personal
    [1]   Wednesday, August 22, 2012      Personal                       SURREY CADILLAC LIMOSINE        Taxi for business meeting re: QDI                                                                                            $          153.88    Transportation expenses   Personal
    [1]   Thursday, August 23, 2012       Personal                       SUNNYS LIMOSUINE SVC            Taxi for business meeting re: QDI                                                                                            $           90.83    Transportation expenses   Personal
    [1]   Saturday, August 25, 2012       Personal                       HMS HOST CORP                   employee meals                                                                                                               $           19.42    Meals & Drinks            Personal
    [1]   Tuesday, August 28, 2012        Personal                       HERTZ CORPORATION               Personal                                                                                                                     $          127.73    Transportation expenses   Personal
    [1]   Wednesday, August 29, 2012      Personal                       AIRLINES RPRTING CORPTAF        Travel Agency Fee                                                                                                            $           25.00    Travel ‐ Airfare          Personal
    [1]   Tuesday, September 04, 2012     Personal                       AREAS USA LAX LLC               Meal self for travel in LA office re Reology                                                                                 $            7.29    Meals & Drinks            Personal
    [1]   Tuesday, September 04, 2012     Personal                       VALERO PAYMENT SERVICES C       Personal                                                                                                                     $           35.01    Transportation expenses   Personal
    [1]   Wednesday, September 12, 2012   Personal                       1170 BROADWAY TENANT LLC        Lunch meeting regarding QDI                                                                                                  $           62.08    Meals & Drinks            Personal
    [1]   Thursday, September 20, 2012    Personal                       LINDSEY BUFFET RESTAURANT       Dinner with QDI (Steve Atwood and Denny Copeland                                                                             $          158.70    Meals & Drinks            Personal
    [1]   Wednesday, September 26, 2012   Personal                       AURORA CATERING INC             Dinner with Paul Brunner from Ascometals                                                                                     $          138.65    Meals & Drinks            Personal
    [1]   Thursday, September 27, 2012    Personal                       ABC CARPET & HOME #352ABC       Busines Dinner meeting with Welspun Management                                                                               $          361.26    Meals & Drinks            Personal
    [1]                                                                                                  meal for employee duirng buisness travel for mee ngs related to
          Tuesday, October 02, 2012       Personal                       PAIN D`AVIGNON PLAZA LLC        Reaology                                                                                                                     $            9.25    Meals & Drinks            Business
    [1]   Thursday, October 04, 2012      Personal                       BLTMAIN STREET LLC              Buisness dinner with Realogy with Skadden to discusoss IPO                                                                   $          311.47    Meals & Drinks            Personal
    [1]   Tuesday, October 09, 2012       Partial Business Expense       KOI NY                          Dinner with Realogy re: IPO discussion (Ryan Gorman, David Weaving)                                                          $          248.26    Meals & Drinks            Personal
    [1]   Friday, October 12, 2012        Personal                       SEAMLESS NORTH AMERICA LL       Late night working meal                                                                                                      $           25.03    Meals & Drinks            Personal
    [1]   Thursday, October 18, 2012      Personal                       VESTA SERVICE INC               meal during bus travel to London meetings with Ascometals                                                                    $           36.70    Meals & Drinks            Business
    [1]   Friday, October 19, 2012        Personal                       EDIBLE KITCHENS INC             Employee meal during business meetings re: QDI                                                                               $           37.10    Meals & Drinks            Personal
    [1]   Tuesday, October 23, 2012       Personal                       LANGHAM HOTEL, LONDON            (Other Expenses)                                                                                                            $           44.69    Travel ‐ Hotel            Business
    [1]   Thursday, October 25, 2012      Personal                       LUKES LOBSTER VII LLC           Employee meal during business meetings re: QDI                                                                               $           18.50    Meals & Drinks            Personal
    [1]   Friday, October 26, 2012        Personal                       1170 BROADWAY TENANT LLC        Dinner with metals usa ‐ ali rashid & Lourenco Goncalves                                                                     $          148.30    Meals & Drinks            Personal
    [1]   Sunday, October 28, 2012        Personal                       228 WEST 10TH ST LLC            dinner with QDI ‐ ali rashid, John Wilson, Johnathan Gold & Joseph Troy                                                      $          250.13    Meals & Drinks            Personal
    [1]   Thursday, November 01, 2012     Personal                       NACT MANAGEMENT CO LLC          employee meal during business meetings re QDI                                                                                $            7.51    Transportation expenses   Business
    [1]   Thursday, November 08, 2012     Personal                       PARK CAKE INC                   Employee meal during bus meetings re: QDI                                                                                    $           26.96    Meals & Drinks            Business
    [1]   Saturday, November 10, 2012     Partial Business Expense       HARRODS LIMITED                 Lunch with Ascometals London with P. Nerbonne                                                                                $          147.86    Meals & Drinks            Business



                                                                                                                                          Page 12 of 14
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Securities and Exchange Commission v. Mohammed Ali Rashid
Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                                                            Total: $    250,126.01
Colum     Date                           Expense Classification         Merchant                    Long Description                                                                                                              Tran. Amount            STOUT ‐ CATEGORY          STOUT ‐ CLASSIFICATION
n1
    [1]   Wednesday, November 14, 2012   Personal                       PLAZA SUB LLC               Empliyee meal during business meetings re QDI                                                                                 $           16.33    Meals & Drinks            Personal
    [1]   Wednesday, November 14, 2012   Personal                       RF HUDSON LLC               Business lunch with Steve Atwood from QDI                                                                                     $          134.87    Meals & Drinks            Personal
    [1]   Thursday, November 15, 2012    Personal                       AIRLINES RPRTING CORPTAF    Travel agency booking fee re Metals USA                                                                                       $           45.00    Travel ‐ Airfare          Personal
    [1]   Thursday, November 15, 2012    Personal                       AMERICAN AIRLINES INC       Airfare for travel to Stl Louis for business meettings with Metals USA                                                        $        1,053.60    Travel ‐ Airfare          Personal
    [1]   Thursday, November 15, 2012    Personal                       DELTA AIR LINES             Return flight from St Louis re business meetings with metals usa                                                              $        1,195.80    Travel ‐ Airfare          Credit/Refund
    [1]   Friday, November 16, 2012      Personal                       UNITED AIRLINES, INC        Airfare refund                                                                                                                $         (634.80)   Travel ‐ Airfare          Credit/Refund
    [1]   Friday, November 16, 2012      Personal                       AIRLINES RPRTING CORPTAF    Travel Agency Booking Fee                                                                                                     $           45.00    Travel ‐ Airfare          Personal
    [1]   Friday, November 16, 2012      Personal                       AMERICAN AIRLINES INC       Business meetings in London with Ascometals                                                                                   $        1,013.03    Travel ‐ Airfare          Personal
    [1]   Friday, November 16, 2012      Personal                       UNITED AIRLINES, INC        Flight to florida for business meetings with metals usa                                                                       $          634.80    Travel ‐ Airfare          Credit/Refund
    [1]   Monday, November 19, 2012      Personal                       DELTA AIR LINES             flight to florida for metals usa meetings                                                                                     $        1,083.80    Travel ‐ Airfare          Personal
    [1]   Monday, November 19, 2012      Personal                       GRILLADE LLC                Lunch with Gldman Sachs re metals usa ‐. Peter Lyon, Ali Rashid, David Leach, Alastair Hunt, Jason Herman, Brian Kennedy      $          480.00
                                                                                                                                                                                                                                                       Meals & Drinks            Business
    [1]   Tuesday, November 20, 2012     Personal                       SURREY CADILLAC LIMOSINE    Metals USA                                                                                                                    $          271.42    Transportation expenses   Personal
    [1]   Tuesday, November 20, 2012     Personal                       SURREY CADILLAC LIMOSINE    Taxi to/from airport Metals USA meeting in Florida                                                                            $          168.03    Transportation expenses   Personal
    [1]   Tuesday, November 20, 2012     Personal                       SURREY CADILLAC LIMOSINE    Car service to/from airport for meeigns with Metals USA in Florida                                                            $          128.62    Transportation expenses   Personal
    [1]   Wednesday, November 21, 2012   Personal                       Super Yellow Cab            Taxi to business meetings with Metals USA in Florida                                                                          $           48.00    Transportation expenses   Personal
    [1]   Thursday, November 22, 2012    Personal                       BAL HARBOUR HOTEL LLC       Employee meal at hotel for business meetings in Florida with Metals USA.                                                      $           11.43    Travel ‐ Hotel            Personal
    [1]   Thursday, November 22, 2012    Personal                       BAL HARBOUR HOTEL LLC       Taxes for Lodging for hotel stay in Florida for business meetings with Metals USA                                             $           47.13    Travel ‐ Hotel            Personal
    [1]   Thursday, November 22, 2012    Personal                       BAL HARBOUR HOTEL LLC       Lodging for hotel stay in Florida for business meetings with Metals USA                                                       $          428.40    Travel ‐ Hotel            Personal
    [1]   Thursday, November 22, 2012    Personal                       BAL HARBOUR HOTEL LLC       client dinner with meals usa in florida ‐ Alid Rashid, Lourenco Goncalves, Keith Koci, Robert McPherson, Bob Weinrich         $          447.04    Travel ‐ Hotel            Personal
    [1]   Friday, November 23, 2012      Personal                       BAL HARBOUR HOTEL LLC       Employee meal at hotel during stay for meetings with Metals USA                                                               $            4.28    Travel ‐ Hotel            Personal
    [1]   Friday, November 23, 2012      Personal                       AIRLINES RPRTING CORPTAF    Travel Agency Booking Fee                                                                                                     $           25.00    Travel ‐ Airfare          Personal
    [1]   Friday, November 23, 2012      Personal                       AIRLINES RPRTING CORPTAF    Travel Agency Booking Fee                                                                                                     $           25.00    Travel ‐ Airfare          Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Employee dinner while at hotel for business meetings in Florida with Metals USA                                               $            5.08    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Employee meal during hotel stay for bus meetings with Metals USA                                                              $            5.08    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Employee dinner while at hotel for business meetings in Florida with Metals USA                                               $           32.11    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Employee dinner while at hotel for business meetings in Florida with Metals USA                                               $           38.10    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Taxes for Lodging for hotel stay in Florida for business meetings with Metals USA                                             $           47.13    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Partial Business Expense       BAL HARBOUR HOTEL LLC       Parking at hotel while there for business meetings with Metals USA in Florida.                                                $          162.64    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Laundry while lodging for business meetings in Florida with Metals USA                                                        $           47.30    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Employee dinner while at hotel for business meetings in Florida with Metals USA                                               $           48.02    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Employee dinner while at hotel for business meetings in Florida with Metals USA                                               $           48.02    Travel ‐ Hotel            Personal
    [1]   Saturday, November 24, 2012    Personal                       BAL HARBOUR HOTEL LLC       Lodging for hotel stay in Florida for business meetings with Metals USA                                                       $          428.40    Travel ‐ Hotel            Personal
    [1]   Sunday, November 25, 2012      Partial Business Expense       HERTZ CORPORATION           car rental for meetings in Florida with Metals USA                                                                            $          297.00    Transportation expenses   Personal
    [1]   Sunday, November 25, 2012      Personal                       Flamingo Taxi               Taxi from business meetings with Metals USA in Florida                                                                        $           38.00    Transportation expenses   Personal
    [1]   Sunday, November 25, 2012      Personal                       BAL HARBOUR HOTEL LLC       Taxes for Lodging during meetings in Florida with Metals USA.                                                                 $           47.13    Travel ‐ Hotel            Personal
    [1]   Sunday, November 25, 2012      Personal                       BAL HARBOUR HOTEL LLC       Lodging during meetings in Florida with Metals USA.                                                                           $          428.40    Travel ‐ Hotel            Personal
    [1]   Sunday, November 25, 2012      Personal                       SMARTE CARTE ‐ MIAMI        Metals usa meetings ‐ parking                                                                                                 $            5.00    Travel ‐ Airfare          Personal
    [1]   Monday, November 26, 2012      Partial Business Expense       ASIA LAS VEGAS LLC          Lunch with Gary Enzor re QDI                                                                                                  $          159.93    Meals & Drinks            Personal
    [1]   Thursday, November 29, 2012    Personal                       AMERICAN AIRLINES INC       credit for airfare ‐ metals usa                                                                                               $       (1,053.60)   Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, November 29, 2012    Personal                       DELTA AIR LINES             Flight to St. Louis ‐ Metals                                                                                                  $        1,345.80    Travel ‐ Airfare          Personal
    [1]   Friday, November 30, 2012      Personal                       DELTA AIR LINES             credit for airfare ‐ metals usa                                                                                               $       (1,195.80)   Travel ‐ Airfare          Credit/Refund
    [1]   Friday, November 30, 2012      Personal                       AMERICAN AIRLINES INC       flight from florida for meetings with Metals USA                                                                              $        1,053.60    Travel ‐ Airfare          Credit/Refund
    [1]   Saturday, December 01, 2012    Personal                       HEI ST LOUIS                Lodging taxes                                                                                                                 $           12.10    Travel ‐ Hotel            Personal
    [1]   Saturday, December 01, 2012    Personal                       HEI ST LOUIS                Lodging                                                                                                                       $          114.07    Travel ‐ Hotel            Personal
    [1]   Sunday, December 02, 2012      Personal                       HEI ST LOUIS                Lodging taxes                                                                                                                 $           12.10    Travel ‐ Hotel            Personal
    [1]   Sunday, December 02, 2012      Personal                       HEI ST LOUIS                Lodging                                                                                                                       $          114.07    Travel ‐ Hotel            Personal
    [1]   Monday, December 03, 2012      Personal                       CAREY INTERNATIONAL, INC.   Ground transportation for bus meetings re: metals usa in St Louis                                                             $          118.90    Transportation expenses   Personal
    [1]   Saturday, December 15, 2012    Personal                       VUELING WEB                 Airfare from Paris to Barcelona for meetings with Welspun                                                                     $          339.75    Travel ‐ Airfare          Credit/Refund
    [1]   Monday, December 17, 2012      Personal                       PLAZA FOOD HALL LLC         Ground transporation for business meetings re metals usa                                                                      $           26.13    Meals & Drinks            Personal
    [1]   Wednesday, December 26, 2012   Personal                       UNITED AIRLINES INC         Travel Agency Fee                                                                                                             $           25.00    Travel ‐ Airfare          Personal
    [1]   Wednesday, December 26, 2012   Personal                       UNITED AIRLINES INC         airfar for meetings with metals usa                                                                                           $          632.22    Travel ‐ Airfare          Personal
    [1]   Thursday, December 27, 2012    Personal                       JETBLUE AIRWAYS CORPORATI   meal during flight                                                                                                            $            7.99    Travel ‐ Airfare          Personal
    [1]   Wednesday, January 02, 2013    Personal                       AIRLINES RPRTING CORPTAF    Travel Agency Booking Fee                                                                                                     $           45.00    Travel ‐ Airfare          Personal
    [1]   Wednesday, January 02, 2013    Personal                       UNITED AIRLINES INC         aifare to Houston for metals usa meetings                                                                                     $          620.68    Travel ‐ Airfare          Personal
    [1]   Wednesday, January 02, 2013    Personal                       UNITED AIRLINES, INC        airfare for metals usa meetings                                                                                               $          776.40    Travel ‐ Airfare          Personal
    [1]   Wednesday, January 02, 2013    Personal                       ANTON AIRFOODS INC          drink during travel ‐ metals usa                                                                                              $            6.14    Meals & Drinks            Personal
    [1]   Thursday, January 03, 2013     Personal                       AMERICAN AIRLINES INC       airfare fund                                                                                                                  $       (2,777.62)   Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, January 03, 2013     Personal                       LA MADELEINE MANAGEMENT C   meal during traval re metals usa                                                                                              $            4.10    Meals & Drinks            Personal
    [1]   Thursday, January 03, 2013     Personal                       LA MADELEINE MANAGEMENT C   metals usa ‐ meal during travel                                                                                               $           29.99    Meals & Drinks            Personal
    [1]   Thursday, January 03, 2013     Personal                       AMERICAN AIRLINES INC       aifare metals meeting ((will be refunded)                                                                                     $        2,777.62    Travel ‐ Airfare          Credit/Refund
    [1]   Friday, January 04, 2013       Personal                       AMERICAN AIRLINES INC       Airfare refund                                                                                                                $       (3,564.52)   Travel ‐ Airfare          Credit/Refund
    [1]   Friday, January 04, 2013       Personal                       JETBLUE AIRWAYS CORPORATI   employee meal during travel re metals usa                                                                                     $            5.99    Travel ‐ Airfare          Personal
    [1]   Friday, January 04, 2013       Personal                       SELECT HOTELS GROUP LLC     hotel taxes ‐ meetings with metals usa                                                                                        $           14.75    Travel ‐ Hotel            Personal
    [1]   Friday, January 04, 2013       Personal                       SOUTHWEST AIRLINES          aifare for metals usa meetings                                                                                                $          237.90    Travel ‐ Airfare          Personal
    [1]   Friday, January 04, 2013       Personal                       SELECT HOTELS GROUP LLC     hotel lodging for bus meetings with metals usa                                                                                $          209.00    Travel ‐ Hotel            Personal
    [1]   Friday, January 04, 2013       Personal                       AMERICAN AIRLINES INC       airfare for metals usa meetings                                                                                               $        3,564.52    Travel ‐ Airfare          Credit/Refund
    [1]   Saturday, January 05, 2013     Personal                       DELTA AIR LINES             airfare for metals usa meetings                                                                                               $          209.90    Travel ‐ Airfare          Personal
    [1]   Saturday, January 05, 2013     Personal                       SOUTHWEST AIRLINES          airfare for metals usa meetings                                                                                               $          237.90    Travel ‐ Airfare          Personal
    [1]   Saturday, January 05, 2013     Personal                       AMERICAN AIRLINES INC       airfare for metals usa meetings                                                                                               $        2,777.62    Travel ‐ Airfare          Personal
    [1]   Sunday, January 06, 2013       Personal                       AMERICAN AIRLINES INC       Airline Refund                                                                                                                $          (10.47)   Travel ‐ Airfare          Personal
    [1]   Tuesday, January 08, 2013      Personal                       212 LLC                     Ground transportation ‐ metals usa meetings                                                                                   $           85.76    Transportation expenses   Personal
    [1]   Tuesday, January 08, 2013      Personal                       UNITED AIRLINES INC         Meal during travel for business meetings re metals usa                                                                        $            5.49    Travel ‐ Airfare          Personal
    [1]   Friday, January 18, 2013       Personal                       AIRLINES RPRTING CORPTAF    Travel Agency Fees                                                                                                            $           55.00    Travel ‐ Airfare          Personal
    [1]   Friday, January 18, 2013       Personal                       DELTA AIR LINES             Airfare for meetings Ascometals                                                                                               $        1,927.80    Travel ‐ Airfare          Personal



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Detail of Relevant Expenses
Exhibit D

                                                                                                                                                                                                                                  Total: $     250,126.01
Colum     Date                           Expense Classification           Merchant                          Long Description                                                                                                             Tran. Amount            STOUT ‐ CATEGORY           STOUT ‐ CLASSIFICATION
n1
    [1]   Saturday, January 19, 2013     Personal                         CAREY INTERNATIONAL, INC.         ground trans portation for ascometals meetings                                                                               $          110.03    Transportation expenses   Personal
    [1]   Monday, January 21, 2013       Partial Business Expense         BRITISH AIRWAYS ARC US            aifare for business travel re: ascometals                                                                                    $        8,399.50    Travel ‐ Airfare          Partial Business
    [1]   Monday, January 21, 2013       Personal                         WESTIN HOTEL PEACHTREE            Hotel taxes for loding                                                                                                       $           11.31    Travel ‐ Hotel            Personal
    [1]   Monday, January 21, 2013       Personal                         WESTIN HOTEL PEACHTREE            Loding for meetings with metals usa                                                                                          $          182.00    Travel ‐ Hotel            Personal
    [1]   Tuesday, January 22, 2013      Personal                         PANE SARDO LLC                    Lunch meeting re metals: Ali Rashid, Andy Nussbaum M. Gordon                                                                 $          100.92    Meals & Drinks            Business
    [1]   Wednesday, January 23, 2013    Partial Business Expense         CAREY INTERNATIONAL, INC.         Transportation to airport for business meetings with ascometatals                                                            $          184.38    Transportation expenses   Business
    [1]   Thursday, January 24, 2013     Personal                         BRITISH AIRWAYS ARC US            flight change for travel for ascometals in london                                                                            $          764.70    Travel ‐ Airfare          Partial Business
    [1]   Friday, January 25, 2013       Partial Business Expense         CAREY INTERNATIONAL, INC.         Ground transportation from business meetings in London with ascometals                                                       $          184.38    Transportation expenses   Business
    [1]   Saturday, January 26, 2013     Personal                         VUELING CAC                       refunded airfare                                                                                                             $         (346.96)   Travel ‐ Airfare          Credit/Refund
    [1]   Sunday, January 27, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   touris tax in london during bus trip to meet with asometals                                                                  $            3.11    Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 27, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   employee meal meeting in Barcelona with Ascometals                                                                           $            8.98    Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 27, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   meal during bus trip to barcelona for meetings with Ascometals                                                               $            8.98    Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 27, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   Laundery expense during loding in Barcelona for bus meetings with Ascometals                                                 $           39.57    Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 27, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   Laundry expense during loding in Barcelona for bus meetings with Ascometals                                                  $           42.71    Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 27, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   Hotel Loding taxes                                                                                                           $          101.44    Travel ‐ Hotel            Partial Business
    [1]   Sunday, January 27, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   Hotel Lodging for business meetings with Ascometals in Barcelona                                                             $          462.90    Travel ‐ Hotel            Partial Business
    [1]   Monday, January 28, 2013       Partial Business Expense         AIRLINES RPRTING CORPTAF          Travel Agency Fee                                                                                                            $          170.00    Miscellaneous             Partial Business
    [1]   Monday, January 28, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   Hotel Lodging taxes for meetings with Ascometals in Barcelona                                                                $            3.11    Travel ‐ Hotel            Partial Business
    [1]   Monday, January 28, 2013       Partial Business Expense         MANDARIN ORIENTAL BCN RECEPCION   Hotel Loding for meetings with ascometals in barcelona                                                                       $          462.90    Travel ‐ Hotel            Partial Business
    [1]   Tuesday, January 29, 2013      Personal                         DELTA AIR LINES                   Refund for airfare                                                                                                           $       (1,565.90)   Travel ‐ Airfare          Credit/Refund
    [1]   Tuesday, January 29, 2013      Personal                         AIRLINES RPRTING CORPTAF          Travel Agency Fee                                                                                                            $           45.00    Travel ‐ Airfare          Partial Business
    [1]   Tuesday, January 29, 2013      Personal                         UNITED AIRLINES, INC              flight for business meetings in Lousiana                                                                                     $        1,548.90    Travel ‐ Airfare          Personal
    [1]   Tuesday, January 29, 2013      Personal                         DELTA AIR LINES                   aifare for bus meetings with QDI                                                                                             $        1,565.90    Travel ‐ Airfare          Credit/Refund
    [1]   Wednesday, January 30, 2013    Personal                         DELTA AIR LINES                   aifare busines meetings with QDI                                                                                             $        1,086.90    Travel ‐ Airfare          Personal
    [1]   Thursday, January 31, 2013     Personal                         MONIREH TEHRANI                   Emplyee meal while traveling for business                                                                                    $           49.36    Meals & Drinks            Personal
    [1]   Friday, February 01, 2013      Personal                         FRANGLO                           Late night working taxi                                                                                                      $            9.82    Transportation expenses   Personal
    [1]   Monday, February 04, 2013      Personal                         AIRLINES RPRTING CORPTAF          Travel Agency Fees                                                                                                           $           20.00    Travel ‐ Airfare          Personal
    [1]   Monday, February 04, 2013      Personal                         CA ONE SERVICES INC               Taxi for bus meetings                                                                                                        $           21.19    Meals & Drinks            Personal
    [1]   Wednesday, February 06, 2013   Personal                         PAIN D`AVIGNON PLAZA LLC          Employee meals during travel                                                                                                 $           14.15    Meals & Drinks            Personal
    [1]   Wednesday, February 27, 2013   Personal                         2201 COLLINS FEE LLC              Employee Meal during hotel stay                                                                                              $           88.90    Travel ‐ Hotel            Personal
    [1]   Wednesday, February 27, 2013   Personal (prev. paid back)       2201 COLLINS FEE LLC                (Other Expenses)                                                                                                           $           20.75    Travel ‐ Hotel            Personal
    [1]   Wednesday, March 06, 2013      Personal                         FOOD 2 LEX LLC                    Dinner re Ascomentasl with Ali Rashid, Richard Park (DB), Michael Reiss                                                      $           88.89    Meals & Drinks            Business
    [1]   Thursday, March 21, 2013       Personal                         AIRLINES RPRTING CORPTAF          Travel Agency Fee                                                                                                            $           45.00    Travel ‐ Airfare          Partial Business
    [1]   Thursday, March 21, 2013       Personal                         NATIONAL RR PSGR CORP             Refund rail ticket                                                                                                           $          (73.00)   Transportation expenses   Personal
    [1]   Thursday, March 21, 2013       Personal                         NATIONAL RR PSGR CORP             Rail ticket for bus travel to phildelphia re metals usa                                                                      $          170.00    Transportation expenses   Personal
    [1]   Friday, March 22, 2013         Personal                         VIP CONNECTION INC                Ground transporation for bus meetings in Phildelphia re metals usa                                                           $           98.01    Transportation expenses   Personal
    [1]   Friday, March 22, 2013         Personal                         NATIONAL RR PSGR CORP             Rail ticket for bus travel for meetings philadelphia with Metals USA                                                         $           99.00    Transportation expenses   Personal
    [1]   Monday, March 25, 2013         Partial Business Expense         IBERIA LINEAS AEREAS DE E         Airline Refund                                                                                                               $       (1,289.90)   Travel ‐ Airfare          Credit/Refund
    [1]   Monday, March 25, 2013         Partial Business Expense         IBERIA LINEAS AEREAS DE E         Airfare for bus travel to Germany for bus meetings with S+B                                                                  $        1,289.90    Travel ‐ Airfare          Credit/Refund
    [1]   Monday, March 25, 2013         Personal                         UNITED AIRLINES INC               Flight refund                                                                                                                $          (95.00)   Travel ‐ Airfare          Credit/Refund
    [1]   Monday, March 25, 2013         Personal                         AIRLINES RPRTING CORPTAF          Travel Agency Fee                                                                                                            $           45.00    Travel ‐ Airfare          Partial Business
    [1]   Monday, March 25, 2013         Partial Business Expense         DELTA AIR LINES                   flight for bus travel to Madrid (trip was changed and this will be refunded)                                                 $        6,444.20    Travel ‐ Airfare          Credit/Refund
    [1]   Tuesday, March 26, 2013        Partial Business Expense         IBERIA LINEAS AEREAS DE E         Aifare for bus travel to germany for meeings with S+B                                                                        $          939.90    Travel ‐ Airfare          Credit/Refund
    [1]   Friday, March 29, 2013         Partial Business Expense         DELTA AIR LINES                   Airfare credit for bus travel to Germany re S+B                                                                              $       (6,444.20)   Travel ‐ Airfare          Credit/Refund
    [1]   Friday, March 29, 2013         Partial Business Expense         IBERIA LINEAS AEREAS DE E         Airfare credit for bus travel to Germany re S+B                                                                              $         (939.90)   Travel ‐ Airfare          Credit/Refund
    [1]   Thursday, April 04, 2013       Personal                         CAREY INTERNATIONAL, INC.         Ground transportation for bus meetings in Germany re S+B                                                                     $          309.33    Transportation expenses   Business
    [1]   Friday, April 05, 2013         Personal                         CAREY INTERNATIONAL, INC.         Ground transportation for bus meetings in Germany re S+B                                                                     $          309.33    Transportation expenses   Business
    [2]   Thursday, April 11, 2013       Personal                         SAHARA PLAZA LLC                  Personal Expense                                                                                                             $           39.19    Goods & Services          Personal
    [2]   Friday, May 17, 2013           Personal                         HOTEL GEORGE V                    Laundry during Lodging during business travel to Paris, France for meetings with Ascometals. Laundry was for rush cleaning   $          161.68
                                                                                                            after spill and pressing of suit. (5/15‐17, 2013).                                                                                                Travel ‐ Hotel            Business
    [2] Tuesday, June 04, 2013           Personal                         YOART PLAZA LLC                   Meal with clients Kelly Mack and Pam Liberman , of Corcoran sunshing re Realogy.                                             $              11.32 Meals & Drinks            Personal



   [1] Plaintiff’s Exhibit 19 – APOLLO00109357.
   [2] APOLLO000043571.




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                            EXHIBIT E

   EXAMPLE 1 – TRAVEL – AIRFARE SUPPORTING DOCUMENTATION
                                                                Case 1:17-cv-08223-PKC Document 118-2 Filed 09/06/19 Page 28 of 79
Exhibit E
                                                                                       Draft: Attorney Work Product //Privileged//Confidential

     No.     Date                        Merchant                     Long Description                  Tran. Amount Personal   Payment   Project Name   Expense Classification   Allocation Suggestion/Comments
                                                                                                                                Type
        2408 Tuesday, January 29, 2013   UNITED AIRLINES, INC         flight for business meetings in       1,548.90 N          AMX       C013500        Personal
                                                                      Lousiana




                                                                                                                                                                                   Note: This is an extract from Plaintiff’s Exhibit 19
                                                                                                                                                                                   – APOLLO00109357.

                                                                                       Draft: Attorney Work Product //Privileged//Confidential
                                    Case 1:17-cv-08223-PKC Document 118-2 Filed 09/06/19 Page 29 of 79
  Exhibit E

           2                        3                                              4                                      9                             5                  6
Trans Date   Merchant                   Long Descr                                     Project   Project Name               Full Amount    Report ID        Expense Type
   1/29/2013 UNITED AIRLINES, INC       flight for business meetings in Lousiana       C013500   Quality Distribution, Inc          1548.9 0000016442       Airfare




                                                                                                                          Note: This is an extract from Plaintiff's Exhibit 10
                                                                                                                          - APOLLO00109071.
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                    Exhibit E




                                                                                                                        Expense Report Accounting Distributions                                                                                     4/ 19/2016
                                                                                                                                                                                                                                                    8:15:11 PM



  Employee: Rashid,Mohammed                                                                               Travel and Expenses                                                                                                  Repo1i            0000016442
 I Date             Expense Type                            'Merchant                                                      Currency    Department               Projecl                                             Le~al      Entity
  12i J1i2CJ 12     Trnin   :met   R::iil                   EUROSTAR llNTF.RNF.T USO)                       -446 .no       usn         .1001 Ofl     PF, N Y    CO J::"i411       A~c:ortv'"tal   SA                100:'i4    ~pnllo Mgt.1.P

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  12/20.12012       Research       S<.::rvit:- ~s           POl\(J RESF,ARCI I CO RPORATION                   74_19        usn         3001 ()()     Pr~   NY                                                       100S4       <\pnllo Mg1: I .P
                    Description:              R~seard1                                                                                                           .Billing: Type:        lntemal        Segment:     300        Private Eqi1ity

  01.12sno13        Hotel & . Lodging             l'OLR SEASONS llOTLL LONDO!\'                             695.32         USD         30010{)       PL NY      C025412      Ascoffi'.~tal SA                       10054      Apollo Mgt LP
                    Dcscripti<m:     Lodlng for bus meetings in London ·with Ascometals                                                                          .Billing Type:    Dillablc            Segment:     300        Private Equity

  01/25.1'.:W 11    Me :i ls -   Employee~                  fiOl:-R SEASONS ITOIT.L LONDO/\.-                 43.QS USD                1 001 00      "PCNY      C0254 l 2         A~con1 et:1I    SA                1005!1     Apollo MgtLP
                    Dcscription:              Emloyee meal during Loding for bus meetmg;, in London with Ascomet::ils                                            Billing Type:          Billabl e      Segment:     30(J       Private Equity

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                    Description:  Lading for'bm 111cdi11g'<in Ln11dn11 with A 5 COlll'3tal~                                                                       Billing Typc!         8illnMc        Segment:     .100       PriYatc Equity

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                    Description:              Employet' nlt'ail •vhile trnveling                                                                                 Billing    Ty1J~·.:    Biltabll'      Segment:     300        Private Equity

  01/28:2011        Meals - Employees           FOLR SE.ASO N S llOTr:L LONOOr\                               24 .25       USIJ        :1 0(!1 Ofl   rr.. NY    C0254 I 2   A~cometal SA                            10054      .~polio Mgl Lr
                    Description:   meal during travel                                                                                                            Billin~ Type:  Billable               SeJO:ment:   300        Private Eqi1ity


                                                                                                Total:            1,830.87 USD




                                                                                                                        l'ag~   1of1




FOIA CONFIDENTIAL TREATMENT REQUESTED BY APOLLO                                                                                                                                                                                                  APOLLO 00041204
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                            EXHIBIT F

    EXAMPLE 2 – TRAVEL – HOTEL SUPPORTING DOCUMENTATION
                                                          Case 1:17-cv-08223-PKC Document 118-2 Filed 09/06/19 Page 77 of 79
Exhibit F
                                                                                Draft: Attorney Work Product //Privileged//Confidential

     No.        Date                      Merchant              Long Description                Tran. Amount Personal   Payment   Project Name   Expense Classification   Allocation Suggestion/Comments
                                                                                                                        Type
            513 Sunday, August 22, 2010   HOTEL MARICEL         Hotel in Barcelona for Metals       1,832.90 N          AMX       Metals USA     Personal
                                                                meetings




                                                                                                                                                                              Note: This is an extract from Plaintiff’s Exhibit 19
                                                                                                                                                                              – APOLLO00109357.
                                                                                Draft: Attorney Work Product //Privileged//Confidential
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Exhibit F


           2                 3                                            4                            9                                5                     6
Trans Date   Merchant            Long Descr                                   Project   Project Name       Full Amount     Report ID        Expense Type
   8/22/2010 HOTEL MARICEL       Hotel in Barcelona for Metals meetings       12700     Metals USA                1832.900 0000004261       Hotel & Lodging




                                                                                                             Note: This is an extract from Plaintiff's Exhibit 10
                                                                                                             - APOLLO00109071.
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                        Exhibit F




                                                                                                                                                                                                                                                                                                                                             4/20/2016
                                                                                                                                                                                     Expense Report Accounting Distributions
                                                                                                                                                                                                                                                                                                                                            nosr ,\_cvl


  Employee:                 Rashid,Muharnrned                                                                                                           AMEX Monthly Allocation                                                                                                                                                Reporr:       0000004261

  Date                 Expense Type                                .M_crchant                                                                                                       An1-ount                  Currency                      Dcpartn1-cr1t                               Investment
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  i1F/ 18/ ;'.l,010    1\itfotr                                    S\'\-1SS1NI'                                                                                                                                                             30000                                                                       0053        Apollo Mgmt Ho dings,
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  0S/18/2Ci"l0         Airfaoc                                     sw·1ss1;-..T                                                                                                            721.75             L SD                          30000                                       j(l(l5Ci   !kart i..ongyrnr     0053        Apollo Mgmt Ho dings,
                                                                   Description:                                    J 1lighr f rnm 7.11rirh tn l\'brkirl fnr Mrt-al s                              mf' eting~                                                                                                                        LP
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                                                                   Description:                                    lli nrh.'.r ,,vH-- llohert \lcPhe;·'.-.nn, Cl ·()                               \let;i lt. US /\    to cfo.cuf, ~, flcquisitio.1 ~,   w ·1ile t n1ve+1g                                                           Lr>
                                                                   EL\XCO~f                                                                                                                                                                                                             13600      Rcalog;              0053        Apollo Mgmt Ho dings,
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  tJR/?.?//.010        Hrm·l & Tn-lgi·-g                           HO'TFT. M:\RTC:T.T.                                                                                                                                                                                                  1/.7011    l\fr t:ih T1SA       0053        /\polio Mgmt Ho dings,
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                                                                   Description:                                                                                                                                                                                                                                                     LP
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                                                                   Description:                                                                                                                                                                                                                                                     LP




FOIA CONFIDENTIAL TREATMENT REQUESTED BY APOLLO                                                                                                                                                                                                                                                                                            APOLLO 00041027
